                                                    Case 6:19-bk-05672-LVV                                       Doc 1         Filed 08/28/19                          Page 1 of 83


 Fill in this information to identify your case:

 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :

 M ID D L E D IS T R IC T O F F L O R ID A

 Ca se num be r                                                                                                   C h a p te r y o u a re filin g u n d e r:
                        (if known)
                                                                                                                      C h a p te r 7

                                                                                                                      C h a p te r 1 1

                                                                                                                      C h a p te r 1 2

                                                                                                                      C h a p te r 1 3                                                         C h e c k if th is is a n
                                                                                                                                                                                               a m e n d e d filin g




O ffic ia l F o rm 1 0 1
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                                                             12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.



 Part 1:         Identify Yourself


                                                        About Debtor 1:                                                                           About Debtor 2 (Spouse Only in a Joint Case):

 1.      Your full name

         W rite th e n a m e th a t is o n y o u r
                                                        Gail
         g o v e rn m e n t- is s u e d p ic tu re      F irs t n a m e                                                                           F irs t n a m e
         id e n tif ic a tio n (f o r e x a m p le ,
         y o u r d riv e r's lic e n s e o r
         p a s s p o rt).                               S.
                                                        M id d le n a m e                                                                         M id d le n a m e
         B rin g y o u r p ic tu re
         id e n tif ic a tio n to y o u r m e e tin g   Andre
         w ith th e tru s te e .                        L a s t n a m e a n d S u f f ix (S r., J r., II, III)                                    L a s t n a m e a n d S u f f ix (S r., J r., II, III)




 2.      All other names you have
         used in the last 8 years                       Gail Spencer Andre
         In c lu d e y o u r m a rrie d o r
         m a id e n n a m e s .




 3.      Only the last 4 digits of
         your Social Security
         number or federal                              xxx-xx-7688
         Individual Taxpayer
         Identification number (IT IN )



                                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              1
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                   pag e
                                 Case 6:19-bk-05672-LVV             Doc 1        Filed 08/28/19               Page 2 of 83
D e b to r 1                                                                                          C ase num ber
                 Gail S. Andre                                                                                        (if known)




                                           Voluntary Petition for Individuals Filing for Bankruptcy                                        2
O f f ic ia l F o rm 1 0 1                                                                                                         pag e
                                              Case 6:19-bk-05672-LVV                                              Doc 1                   Filed 08/28/19                  Page 3 of 83
D e b to r 1                                                                                                                                               C ase num ber
                 Gail S. Andre                                                                                                                                                   (if known)




                                               About Debtor 1:                                                                                    About Debtor 2 (Spouse Only in a Joint Case):


4.      Any business names and
        Employer Identification
        Numbers (EIN) you have                      I h a v e n o t u s e d a n y b u s in e s s n a m e o r E IN s .                                  I h a v e n o t u s e d a n y b u s in e s s n a m e o r E IN s .
        used in the last 8 years

        In c lu d e tra d e n a m e s a n d    B u s in e s s n a m e (s )                                                                        B u s in e s s n a m e (s )
        doing business as n a m e s

                                               E IN s                                                                                             E IN s




5.      Where you live                                                                                                                            If Debtor 2 lives at a different address:

                                               1431 Waterview Drive
                                               Deltona, FL 32738
                                               N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e                                             N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e

                                               Volusia
                                               C o u n ty                                                                                         C o u n ty


                                               If your mailing address is different from the one above,                                           If Debtor 2's mailing address is different from yours, fill it in
                                               fill it in here. N o te th a t th e c o u rt w ill s e n d a n y n o tic e s to y o u              here. N o te th a t th e c o u rt w ill s e n d a n y n o tic e s to th is m a ilin g
                                               a t th is m a ilin g a d d re s s .                                                                a d d re s s .



                                               N u m b e r, P .O . B o x , S tre e t, C ity , S ta te & Z IP C o d e                              N u m b e r, P .O . B o x , S tre e t, C ity , S ta te & Z IP C o d e




6.      Why you are choosing this              Check one:
                                                                                                                                                  Check one:
        district to file for
                                                            O v e r th e la s t 1 8 0 d a y s b e f o re f ilin g th is p e titio n , I
        bankruptcy                                          h a v e liv e d in th is d is tric t lo n g e r th a n in a n y o th e r                           O v e r th e la s t 1 8 0 d a y s b e f o re f ilin g th is p e titio n , I h a v e
                                                            d is tric t.                                                                                       liv e d in th is d is tric t lo n g e r th a n in a n y o th e r d is tric t.

                                                            I h a v e a n o th e r re a s o n .                                                                I h a v e a n o th e r re a s o n .
                                                            E x p la in . (S e e 2 8 U .S .C . § 1 4 0 8 .)                                                    E x p la in . (S e e 2 8 U .S .C . § 1 4 0 8 .)




                                                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                    3
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                                  pag e
                                     Case 6:19-bk-05672-LVV                                          Doc 1                 Filed 08/28/19                          Page 4 of 83
D e b to r 1                                                                                                                                               C ase num ber
                 Gail S. Andre                                                                                                                                             (if known)




Part 2:        Tell the Court About Your Bankruptcy Case

7.      The chapter of the              Check one. (F o r a b rie f d e s c rip tio n o f e a c h , s e e Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
        Bankruptcy Code you are         Bankruptcy (Form 2010)). A ls o , g o to th e to p o f p a g e 1 a n d c h e c k th e a p p ro p ria te b o x .
        choosing to file under              C h a p te r 7

                                            C h a p te r 1 1

                                            C h a p te r 1 2

                                            C h a p te r 1 3




8.      How you will pay the fee                 I will pay the entire fee when I file my petition. P le a s e c h e c k w ith th e c le rk ’ s o ffic e in y o u r lo c a l c o u rt fo r m o re d e ta ils
                                                 a b o u t h o w y o u m a y p a y . T y p ic a lly , if y o u a re p a y in g th e fe e y o u rs e lf, y o u m a y p a y w ith c a s h , c a s h ie r s c h e c k , o r m o n e y
                                                                                                                                                                                                       ’
                                                 o rd e r. If y o u r a tto rn e y is s u b m ittin g y o u r p a y m e n t o n y o u r b e h a lf, y o u r a tto rn e y m a y p a y w ith a c re d it c a rd o r c h e c k w ith
                                                 a p re - p rin te d a d d re s s .

                                                 I need to pay the fee in installments. If y o u c h o o s e th is o p tio n , s ig n a n d a tta c h th e Application for Individuals to Pay The
                                                                                     (O ffic ia l F o rm 1 0 3 A ).
                                                 Filing Fee in Installments
                                                 I request that my fee be waived (Y o u m a y re q u e s t th is o p tio n o n ly if y o u a re filin g fo r C h a p te r 7 . B y la w , a ju d g e m a y , b u t
                                                 is n o t re q u ire d to , w a iv e y o u r fe e , a n d m a y d o s o o n ly if y o u r in c o m e is le s s th a n 1 5 0 % o f th e o ffic ia l p o v e rty lin e th a t
                                                 a p p lie s to y o u r fa m ily s iz e a n d y o u a re u n a b le to p a y th e fe e in in s ta llm e n ts ). If y o u c h o o s e th is o p tio n , y o u m u s t fill o u t
                                                 th e                                                                         (O ffic ia l F o rm 1 0 3 B ) a n d file it w ith y o u r p e titio n .
                                                       Application to Have the Chapter 7 Filing Fee Waived



9.      Have you filed for                 No.
        bankruptcy within the last 8
                                           Y es.
        years?
                                                        D is tric t                                                       W hen                                              C ase num ber
                                                        D is tric t                                                       W hen                                              C ase num ber
                                                        D is tric t                                                       W hen                                              C ase num ber



10. Are any bankruptcy cases               No
        pending or being filed by a
                                           Y es.
        spouse who is not filing this
        case with you, or by a
        business partner, or by an
        affiliate?
                                                        D e b to r                                                                                                         R e la tio n s h ip to y o u
                                                        D is tric t                                                       W hen                                            C a s e n u m b e r, if k n o w n
                                                        D e b to r                                                                                                         R e la tio n s h ip to y o u
                                                        D is tric t                                                       W hen                                            C a s e n u m b e r, if k n o w n



11. Do you rent your                       No.            G o to lin e 1 2 .
        residence?                                        H a s y o u r la n d lo rd o b ta in e d a n e v ic tio n j u d g m e n t a g a in s t y o u ?
                                           Y es.
                                                                      N o . G o to lin e 1 2 .

                                                                      Y e s . F ill o u t Initial Statement About an Eviction Judgment Against You (F o rm 1 0 1 A ) a n d f ile it a s p a rt
                                                                      o f th is b a n k ru p tc y p e titio n .




                                                               Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     4
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                          pag e
                                                    Case 6:19-bk-05672-LVV                                           Doc 1                Filed 08/28/19                             Page 5 of 83
D e b to r 1                                                                                                                                                            C ase num ber
                  Gail S. Andre                                                                                                                                                         (if known)




Part 3:         Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor of
        any full- or part-time                              No.            G o to P a rt 4 .
        business?
                                                            Y es.          N a m e a n d lo c a tio n o f b u s in e s s
        A s o le p ro p rie to rs h ip is a
        b u s in e s s y o u o p e ra te a s a n                           N a m e o f b u s in e s s , if a n y
        in d iv id u a l, a n d is n o t a
        s e p a ra te le g a l e n tity s u c h a s a
        c o rp o ra tio n , p a rtn e rs h ip , o r
        L L C.
        If y o u h a v e m o re th a n o n e                               N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e
        s o le p ro p rie to rs h ip , u s e a
        s e p a ra te s h e e t a n d a tta c h it to
        th is p e titio n .
                                                                           Check the appropriate box to describe your business:
                                                                                 H e a lth C a re B u s in e s s (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (2 7 A ))
                                                                                        S in g le A s s e t R e a l E s ta te (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (5 1 B ))
                                                                                        S to c k b ro k e r (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (5 3 A ))
                                                                                        C o m m o d ity B ro k e r (a s d e f in e d in 1 1 U .S .C . § 1 0 1 (6 ))
                                                                                        N o n e o f th e a b o v e


13. Are you filing under                                                                                                                                                                                                                             If
                                                        If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate deadlines.
        Chapter 11 of the                               y o u in d ic a te th a t y o u a re a s m a ll b u s in e s s d e b to r, y o u m u s t a tta c h y o u r m o s t re c e n t b a la n c e s h e e t, s ta te m e n t o f o p e ra tio n s ,
        Bankruptcy Code and are                         c a s h - flo w s ta te m e n t, a n d fe d e ra l in c o m e ta x re tu rn o r if a n y o f th e s e d o c u m e n ts d o n o t e x is t, fo llo w th e p ro c e d u re in 1 1 U . S . C .
                                                        1 1 1 6 (1 )(B ).
        you a small business
        debtor?
                                                                           I a m n o t filin g u n d e r C h a p te r 1 1 .
                                                            No.
        F o r a d e f in itio n o f small
        business debtor, s e e 1 1                          No.            I a m filin g u n d e r C h a p te r 1 1 , b u t I a m N O T a s m a ll b u s in e s s d e b to r a c c o rd in g to th e d e fin itio n in th e B a n k ru p tc y
        U .S .C . § 1 0 1 (5 1 D ).                                        Code .

                                                            Yes.           I a m filin g u n d e r C h a p te r 1 1 a n d I a m a s m a ll b u s in e s s d e b to r a c c o rd in g to th e d e fin itio n in th e B a n k ru p tc y C o d e .



Part 4:         Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                                  No.
        property that poses or is                           Yes.
        alleged to pose a threat of                                    W h a t is th e h a z a rd ?
        imminent and identifiable
        hazard to public health or
        safety? Or do you own any
        property that needs                                            If im m e d ia te a tte n tio n is
        immediate attention?                                           n e e d e d , w h y is it n e e d e d ?

        For example, do you
        own perishable goods,
        or livestock that must be                                      W h e re is th e p ro p e rty ?
        fed, or a building that
        needs urgent repairs?
                                                                                                                      N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e




                                                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          5
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                              pag e
                                                    Case 6:19-bk-05672-LVV                                           Doc 1                 Filed 08/28/19                Page 6 of 83
D e b to r 1                                                                                                                                                C ase num ber
                   Gail S. Andre                                                                                                                                                 (if known)


Part 5:         Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                         About Debtor 1:                                                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether                               You must check one:                                                                           You must check one:
        you have received a                                  I received a briefing from an approved credit                                                  I received a briefing from an approved credit counseling
        briefing about credit                                counseling agency within the 180 days before I filed                                           agency within the 180 days before I filed this bankruptcy
        counseling.                                          this bankruptcy petition, and I received a certificate                                         petition, and I received a certificate of completion.
                                                             of completion.
        T h e la w re q u ire s th a t y o u                                                                                                                A tta c h a c o p y o f th e c e rtif ic a te a n d th e p a y m e n t p la n , if a n y ,
        re c e iv e a b rie f in g a b o u t c re d it       A tta c h a c o p y o f th e c e rtif ic a te a n d th e p a y m e n t p la n , if             th a t y o u d e v e lo p e d w ith th e a g e n c y .
        c o u n s e lin g b e f o re y o u f ile f o r       a n y , th a t y o u d e v e lo p e d w ith th e a g e n c y .
        b a n k ru p tc y . Y o u m u s t
        tru th f u l ly c h e c k o n e o f th e             I received a briefing from an approved credit                                                  I received a briefing from an approved credit counseling
        f o llo w in g c h o ic e s . If y o u
        c a n n o t d o s o , y o u a re n o t               counseling agency within the 180 days before I filed                                           agency within the 180 days before I filed this bankruptcy
        e lig ib le to f ile .                               this bankruptcy petition, but I do not have a                                                  petition, but I do not have a certificate of completion.
                                                             certificate of completion.
        If y o u f ile a n y w a y , th e c o u rt                                                                                                          W ith in 1 4 d a y s a f te r y o u f ile th is b a n k ru p tc y p e titio n , y o u
        c a n d is m is s y o u r c a s e , y o u                                                                                                           M U S T f ile a c o p y o f th e c e rtif ic a te a n d p a y m e n t p la n , if a n y .
                                                             W ith in 1 4 d a y s a f te r y o u f ile th is b a n k ru p tc y p e titio n ,
        w ill lo s e w h a te v e r f ilin g f e e
                                                             y o u M U S T f ile a c o p y o f th e c e rtif ic a te a n d p a y m e n t
        y o u p a id , a n d y o u r c re d ito rs
                                                             p la n , if a n y .
        c a n b e g i n c o lle c tio n a c tiv itie s
        a g a in .
                                                             I certify that I asked for credit counseling services                                          I certify that I asked for credit counseling services from an
                                                             from an approved agency, but was unable to obtain                                              approved agency, but was unable to obtain those services
                                                             those services during the 7 days after I made my                                               during the 7 days after I made my request, and exigent
                                                             request, and exigent circumstances merit a 30-day                                              circumstances merit a 30-day temporary waiver of the
                                                             temporary waiver of the requirement.                                                           requirement.

                                                             T o a s k f o r a 3 0 - d a y te m p o ra ry w a iv e r o f th e                               T o a s k f o r a 3 0 - d a y te m p o ra ry w a iv e r o f th e re q u ire m e n t, a tta c h
                                                             re q u ire m e n t, a tta c h a s e p a ra te s h e e t e x p la in in g w h a t               a s e p a ra te s h e e t e x p la in in g w h a t e f f o rts y o u m a d e to o b ta in th e
                                                             e f f o rts y o u m a d e to o b ta in th e b rie f in g , w h y y o u w e re                  b rie f in g , w h y y o u w e re u n a b le to o b ta in it b e f o re y o u f ile d f o r
                                                             u n a b le to o b ta in it b e f o re y o u f ile d f o r b a n k ru p tc y , a n d            b a n k ru p tc y , a n d w h a t e x ig e n t c irc u m s ta n c e s re q u ire d y o u to f ile
                                                             w h a t e x ig e n t c irc u m s ta n c e s re q u ire d y o u to f ile th is c a s e .        th is c a s e .

                                                             Y o u r c a s e m a y b e d i s m is s e d i f th e c o u rt is d i s s a tis f ie d           Y o u r c a s e m a y b e d i s m is s e d i f th e c o u rt is d i s s a tis f ie d w ith
                                                             w ith y o u r re a s o n s f o r n o t re c e iv in g a b rie f in g b e f o re y o u          y o u r re a s o n s f o r n o t re c e iv in g a b rie f in g b e f o re y o u f ile d f o r
                                                             f ile d f o r b a n k ru p tc y .                                                              b a n k ru p tc y .
                                                             If th e c o u rt is s a tis f ie d w ith y o u r re a s o n s , y o u m u s t s till
                                                             re c e iv e a b rie f in g w ith in 3 0 d a y s a f te r y o u f ile . Y o u                   If th e c o u rt is s a tis f ie d w ith y o u r re a s o n s , y o u m u s t s till re c e iv e
                                                             m u s t f ile a c e rtif ic a te f ro m th e a p p ro v e d a g e n c y , a lo n g             a b rie f in g w ith in 3 0 d a y s a f te r y o u f ile . Y o u m u s t f ile a
                                                             w ith a c o p y o f th e p a y m e n t p la n y o u d e v e lo p e d , if a n y .              c e rtif ic a te f ro m th e a p p ro v e d a g e n c y , a lo n g w ith a c o p y o f th e
                                                             If y o u d o n o t d o s o , y o u r c a s e m a y b e d is m is s e d .                       p a y m e n t p la n y o u d e v e lo p e d , if a n y . If y o u d o n o t d o s o , y o u r
                                                                                                                                                            c a s e m a y b e d i s m is s e d .
                                                             A n y e x te n s io n o f th e 3 0 - d a y d e a d lin e is g ra n te d o n ly f o r
                                                             c a u s e a n d is lim ite d to a m a x im u m o f 1 5 d a y s .                               A n y e x te n s io n o f th e 3 0 - d a y d e a d lin e is g ra n te d o n ly f o r c a u s e
                                                                                                                                                            a n d is lim ite d to a m a x im u m o f 1 5 d a y s .
                                                             I am not required to receive a briefing about credit                                           I am not required to receive a briefing about credit
                                                             counseling because of:                                                                         counseling because of:


                                                                       Incapacity.                                                                                  Incapacity.
                                                                       I h a v e a m e n ta l illn e s s o r a m e n ta l d e f ic ie n c y th a t                  I h a v e a m e n ta l illn e s s o r a m e n ta l d e f ic ie n c y th a t m a k e s
                                                                       m a k e s m e in c a p a b le o f re a liz in g o r m a k in g                               m e in c a p a b l e o f re a l iz i n g o r m a k in g ra tio n a l d e c is io n s
                                                                       ra tio n a l d e c is i o n s a b o u t f in a n c e s .                                     a b o u t f in a n c e s .

                                                                       Disability.                                                                                  Disability.
                                                                       M y p h y s ic a l d is a b ility c a u s e s m e to b e u n a b le to                       M y p h y s ic a l d is a b ility c a u s e s m e to b e u n a b le to
                                                                       p a rtic ip a te in a b rie f in g in p e rs o n , b y p h o n e , o r                       p a rtic ip a te in a b rie f in g in p e rs o n , b y p h o n e , o r th ro u g h
                                                                       th ro u g h th e in te rn e t, e v e n a f te r I re a s o n a b ly trie d                   th e in te rn e t, e v e n a f te r I re a s o n a b ly trie d to d o s o .
                                                                       to d o s o .


                                                                       Active duty.                                                                                 Active duty.
                                                                       I a m c u rre n tly o n a c tiv e m ilita ry d u ty in a                                     I a m c u rre n tly o n a c tiv e m ilita ry d u ty in a m ilita ry c o m b a t
                                                                       m ilita ry c o m b a t z o n e .                                                             zone.
                                                             If y o u b e lie v e y o u a re n o t re q u ire d to re c e i v e a b rie f in g              If y o u b e lie v e y o u a re n o t re q u ire d to re c e iv e a b rie f in g a b o u t
                                                             a b o u t c re d it c o u n s e lin g , y o u m u s t f ile a m o tio n f o r                  c re d it c o u n s e lin g , y o u m u s t f ile a m o tio n f o r w a iv e r o f c re d it
                                                             w a iv e r c re d it c o u n s e lin g w ith th e c o u rt.                                    c o u n s e lin g w ith th e c o u rt.




                                                                            Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                 6
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                                   pag e
                                      Case 6:19-bk-05672-LVV                                            Doc 1                Filed 08/28/19                            Page 7 of 83
D e b to r 1                                                                                                                                              C ase num ber
                 Gail S. Andre                                                                                                                                                 (if known)


Part 6:        Answer These Questions for Reporting Purposes

16. What kind of debts do you           16a.
                                                        Are your debts primarily consumer debts? Consumer debts a re d e f in e d in 1 1 U .S .C . § 1 0 1 (8 ) a s “ in c u rre d b y a n
        have?                                           in d iv id u a l p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .
                                                                                                                                                              ”

                                                              N o . G o to lin e 1 6 b .
                                                              Y e s . G o to lin e 1 7 .

                                        16b.            Are your debts primarily business debts? Business debts a re d e b ts th a t y o u in c u rre d to o b ta in m o n e y f o r a
                                                        b u s in e s s o r in v e s tm e n t o r th ro u g h th e o p e ra tio n o f th e b u s in e s s o r in v e s tm e n t.
                                                              N o . G o to lin e 1 6 c .
                                                              Y e s . G o to lin e 1 7 .
                                        16c.            S ta te th e ty p e o f d e b ts y o u o w e th a t a re n o t c o n s u m e r d e b ts o r b u s in e s s d e b ts




17. Are you filing under                     No.        I a m n o t f ilin g u n d e r C h a p te r 7 . G o to lin e 1 8 .
        Chapter 7?

        Do you estimate that after           Y es.      I a m f ilin g u n d e r C h a p te r 7 . D o y o u e s tim a te th a t a f te r a n y e x e m p t p ro p e rty is e x c lu d e d a n d a d m in is tra tiv e e x p e n s e s a re p a id
                                                        th a t f u n d s w ill b e a v a ila b le to d is trib u te to u n s e c u re d c re d ito rs ?
        any exempt property is
        excluded and                                          No
        administrative expenses
                                                              Yes
        are paid that funds will be
        available for distribution to
        unsecured creditors?


18. How many Creditors do you                1 -4 9                                                                      1 ,0 0 0 -5 ,0 0 0                                                   2 5 ,0 0 1 -5 0 ,0 0 0
        estimate that you owe?               5 0 -9 9                                                                    5 0 0 1 -1 0 ,0 0 0                                                  5 0 ,0 0 1 -1 0 0 ,0 0 0
                                             1 0 0 -1 9 9                                                                1 0 ,0 0 1 -2 5 ,0 0 0                                               M o re th a n 1 0 0 , 0 0 0
                                             2 0 0 -9 9 9


19. How much do you estimate                 $ 0 - $ 5 0 ,0 0 0                                                          $ 1 , 0 0 0 , 0 0 1 - $ 1 0 m illio n                                $ 5 0 0 , 0 0 0 , 0 0 1 - $ 1 b illio n
        your assets to be worth?             $ 5 0 ,0 0 1 - $ 1 0 0 ,0 0 0                                               $ 1 0 , 0 0 0 , 0 0 1 - $ 5 0 m illio n                              $ 1 , 0 0 0 , 0 0 0 , 0 0 1 - $ 1 0 b illio n
                                             $ 1 0 0 ,0 0 1 - $ 5 0 0 ,0 0 0                                             $ 5 0 , 0 0 0 , 0 0 1 - $ 1 0 0 m illio n                            $ 1 0 , 0 0 0 , 0 0 0 , 0 0 1 - $ 5 0 b illio n
                                             $ 5 0 0 , 0 0 1 - $ 1 m illio n                                             $ 1 0 0 , 0 0 0 , 0 0 1 - $ 5 0 0 m illio n                          M o re th a n $ 5 0 b illio n


20. How much do you estimate                 $ 0 - $ 5 0 ,0 0 0                                                          $ 1 , 0 0 0 , 0 0 1 - $ 1 0 m illio n                                $ 5 0 0 , 0 0 0 , 0 0 1 - $ 1 b illio n
        your liabilities to be?               $ 5 0 ,0 0 1 - $ 1 0 0 ,0 0 0                                              $ 1 0 , 0 0 0 , 0 0 1 - $ 5 0 m illio n                               $ 1 , 0 0 0 , 0 0 0 , 0 0 1 - $ 1 0 b illio n
                                             $ 1 0 0 ,0 0 1 - $ 5 0 0 ,0 0 0                                             $ 5 0 , 0 0 0 , 0 0 1 - $ 1 0 0 m illio n                             $ 1 0 , 0 0 0 , 0 0 0 , 0 0 1 - $ 5 0 b illio n
                                             $ 5 0 0 , 0 0 1 - $ 1 m illio n                                             $ 1 0 0 , 0 0 0 , 0 0 1 - $ 5 0 0 m illio n                           M o re th a n $ 5 0 b illio n



Part 7:        Sign Below

For you                                 I h a v e e x a m in e d th is p e titio n , a n d I d e c la re u n d e r p e n a lty o f p e rj u ry th a t th e in f o rm a tio n p ro v id e d is tru e a n d c o rre c t.

                                        If I h a v e c h o s e n to f ile u n d e r C h a p te r 7 , I a m a w a re th a t I m a y p ro c e e d , if e lig ib le , u n d e r C h a p te r 7 , 1 1 ,1 2 , o r 1 3 o f title 1 1 , U n ite d S ta te s
                                        C o d e . I u n d e rs ta n d th e re lie f a v a ila b le u n d e r e a c h c h a p te r, a n d I c h o o s e to p ro c e e d u n d e r C h a p te r 7 .

                                        If n o a tto rn e y re p re s e n ts m e a n d I d id n o t p a y o r a g re e to p a y s o m e o n e w h o is n o t a n a tto rn e y to h e lp m e f ill o u t th is d o c u m e n t, I h a v e
                                        o b ta in e d a n d re a d th e n o tic e re q u ire d b y 1 1 U .S .C . § 3 4 2 (b ).

                                        I re q u e s t re lie f in a c c o rd a n c e w ith th e c h a p te r o f title 1 1 , U n ite d S ta te s C o d e , s p e c if ie d in th is p e titio n .

                                        I u n d e rs ta n d m a k in g a f a ls e s ta te m e n t, c o n c e a lin g p ro p e rty , o r o b ta in in g m o n e y o r p ro p e rty b y f ra u d in c o n n e c tio n w ith a b a n k ru p tc y c a s e
                                        c a n re s u lt in f in e s u p to $ 2 5 0 ,0 0 0 , o r im p ris o n m e n t f o r u p to 2 0 y e a rs , o r b o th . 1 8 U .S .C . § § 1 5 2 , 1 3 4 1 , 1 5 1 9 , a n d 3 5 7 1 .
                                        /s/ Gail S. Andre
                                                                                                                                                S ig n a tu re o f D e b to r 2
                                        Gail S. Andre
                                        S ig n a tu re o f D e b to r 1


                                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                         7
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                              pag e
                                 Case 6:19-bk-05672-LVV                         Doc 1        Filed 08/28/19                   Page 8 of 83
D e b to r 1                                                                                                       C ase num ber
                 Gail S. Andre                                                                                                     (if known)


                                  E x e c u te d o n                                                     E x e c u te d o n
                                                       August 28, 2019
                                                       M M / DD / Y Y Y Y                                                     M M / DD / Y Y Y Y




                                                       Voluntary Petition for Individuals Filing for Bankruptcy                                            8
O f f ic ia l F o rm 1 0 1                                                                                                                         pag e
                                 Case 6:19-bk-05672-LVV                                             Doc 1                Filed 08/28/19                            Page 9 of 83
D e b to r 1                                                                                                                                             C ase num ber
                 Gail S. Andre                                                                                                                                             (if known)




For your attorney, if you are       I, th e a tto rn e y f o r th e d e b to r(s ) n a m e d in th is p e titio n , d e c la re th a t I h a v e in f o rm e d th e d e b to r(s ) a b o u t e lig ib ility to p ro c e e d u n d e r
                                    C h a p te r 7 , 1 1 , 1 2 , o r 1 3 o f title 1 1 , U n ite d S ta te s C o d e , a n d h a v e e x p la in e d th e re lie f a v a ila b le u n d e r e a c h c h a p te r f o r w h ic h th e p e rs o n
represented by one                  is e lig ib le . I a ls o c e rtif y th a t I h a v e d e liv e re d to th e d e b to r(s ) th e n o tic e re q u ire d b y 1 1 U .S .C . § 3 4 2 (b ) a n d , in a c a s e in w h ic h §
                                    7 0 7 (b )(4 )(D ) a p p lie s , c e rtif y th a t I h a v e n o k n o w le d g e a f te r a n in q u iry th a t th e in f o rm a tio n in th e s c h e d u le s f ile d w ith th e p e titio n is
If you are not represented by an    in c o rre c t.

attorney, you do not need to file                                                                                                              D a te
                                    /s/ Sheryl S Zust                                                                                                            August 28, 2019
this page.                          S ig n a tu re o f A tto rn e y f o r D e b to r                                                                             M M / DD / Y Y Y Y

                                    Sheryl S Zust 0934259
                                    P rin te d n a m e

                                    Sheryl S Zust PA
                                    F irm n a m e

                                    4649 Clyde Morris Blvd.
                                    Suite 610
                                    Port Orange, FL 32129
                                    N u m b e r, S tre e t, C ity , S ta te & Z IP C o d e

                                    C o n ta c t p h o n e                                                                           E m a il a d d re s s
                                                              (386) 258 3900
                                    0934259 FL
                                    B a r n u m b e r & S ta te




                                                                  Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                    9
O f f ic ia l F o rm 1 0 1                                                                                                                                                                                                            pag e
                                                    Case 6:19-bk-05672-LVV                                             Doc 1                Filed 08/28/19                              Page 10 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                  La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                                              C h e c k if th is is a n
                                                                                                                                                                                                              a m e n d e d f ilin g



O f f ic ia l F o rm 1 0 6 S u m
Summary of Y our Assets and L iabilities and Certain Statistical I nformation                                                                                                                           12/15
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. I f you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.

 P a rt 1 :           Summarize Y our A ssets

                                                                                                                                                                                                             Y our assets
                                                                                                                                                                                                             V a lu e o f w h a t y o u o w n

 1.         Schedule A /B: Property (O f f ic ia l F o rm 1 0 6 A /B )
            1 a . C o p y li n e 5 5 , T o ta l re a l e s ta te , f ro m S c h e d u le A /B ................................................................................................                $                     243,753.00

            1 b . C o p y li n e 6 2 , T o ta l p e rs o n a l p ro p e rty , f ro m S c h e d u le A /B .....................................................................................                $
                                                                                                                                                                                                                                         25,584.98
            1 c . C o p y li n e 6 3 , T o ta l o f a ll p ro p e rty o n S c h e d u le A /B ...............................................................................................                 $
                                                                                                                                                                                                                                    269,337.98
 P a rt 2 :           Summarize Y our L iabilities

                                                                                                                                                                                                             Y our liabilities
                                                                                                                                                                                                             A m ount y ou o w e

 2.         Schedule D: Creditors Who Have Claims Secured by Property (O f f ic ia l F o rm 1 0 6 D )
            2 a . C o p y th e to ta l y o u lis te d in C o lu m n A , Amount of claim, a t th e b o tto m o f th e la s t p a g e o f P a rt 1 o f Schedule D...                                            $                     259,286.00

 3.         Schedule E/F: Creditors Who Have Unsecured Claims (O f f ic ia l F o rm 1 0 6 E /F )
            3 a . C o p y th e to ta l c la im s f ro m P a rt 1 (p rio rity u n s e c u re d c la im s ) f ro m lin e 6 e o f Schedule E/F .................................                                 $                                     0.00

            3 b . C o p y th e to ta l c la im s f ro m P a rt 2 (n o n p rio rity u n s e c u re d c la im s ) f ro m lin e 6 j o f Schedule E/F ............................                                $
                                                                                                                                                                                                                                         72,865.00


                                                                                                                                                                                 Y our total liabilities $                      332,151.00

 P a rt 3 :           Summarize Y our I ncome and Expenses

 4.         Schedule I: Your Income (O f f ic ia l F o rm 1 0 6 I)
            C o p y y o u r c o m b in e d m o n th ly in c o m e f ro m lin e 1 2 o f Schedule I................................................................................                             $                           5,173.02

 5.         Schedule J: Your Expenses (O f f ic ia l F o rm 1 0 6 J )
            C o p y y o u r m o n th ly e x p e n s e s f ro m lin e 2 2 c o f Schedule J..........................................................................                                           $                           5,119.51

 P a rt 4 :           A nswer T hese Questions for A dministrative and Statistical Records

 6.         A re you filing for bankruptcy under Chapters 7, 11, or 13?
                  N o . Y o u h a v e n o th in g to re p o rt o n th is p a rt o f th e f o rm . C h e c k th is b o x a n d s u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s .

                      Y es
 7.         W hat kind of debt do you have?

                      Y our debts are primarily consumer debts. Consumer debts a re th o s e “ in c u rre d b y a n in d iv id u a l p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .”
                      1 1 U .S .C . § 1 0 1 (8 ). F ill o u t lin e s 8 - 9 g f o r s ta tis tic a l p u rp o s e s . 2 8 U .S .C . § 1 5 9 .


                                                             Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                         1        2
 O f f ic ia l F o rm 1 0 6 S u m                                                                                                                                                                                      pag e        of
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                          Doc 1                Filed 08/28/19                    Page 11 of 83
 D e b to r 1                                                                                                         C a s e n u m b e r (if known)
                        Gail S. Andre
                      Y our debts are not primarily consumer debts. Y o u h a v e n o th in g to re p o rt o n th is p a rt o f th e f o rm . Check this box a n d s u b m it th is f o rm to th e c o u rt w ith
                      y o u r o th e r s c h e d u le s .

 8.         From the Statement of Your Current Monthly Income: C o p y y o u r to ta l c u rre n t m o n th ly in c o m e f ro m O f f ic ia l F o rm 1 2 2 A - 1
            L in e 1 1 ; OR , F o rm 1 2 2 B L in e 1 1 ; OR , F o rm 1 2 2 C - 1 L in e 1 4 .                                                                                                   $          7,400.00


 9.         Copy the following special categories of claims from Part 4, line 6 of Schedule E/F :

                                                                                                                                                                    T otal claim
            From Part 4 on Schedule E/F , copy the following:

            9 a . D o m e s tic s u p p o rt o b lig a tio n s (C o p y lin e 6 a .)                                                                                 $
                                                                                                                                                                                          0.00
            9 b . T a x e s a n d c e rta in o th e r d e b ts y o u o w e th e g o v e rn m e n t. (C o p y lin e 6 b .)                                            $
                                                                                                                                                                                          0.00
            9 c . C la im s f o r d e a th o r p e rs o n a l in j u ry w h ile y o u w e re in to x ic a te d . (C o p y lin e 6 c .)                               $
                                                                                                                                                                                          0.00
            9 d . S tu d e n t lo a n s . (C o p y lin e 6 f .)                                                                                                      $
                                                                                                                                                                                     30,426.00
            9 e . O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt a s p rio rity
                  c la im s . (C o p y li n e 6 g .)                                                                                                                 $                    0.00

            9 f . D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts . (C o p y lin e 6 h .)                         +$                    0.00

            9 g . T otal. A d d lin e s 9 a th ro u g h 9 f .                                                                                                   $
                                                                                                                                                                                   30,426.00




O f f ic ia l F o rm 1 0 6 S u m                                                  Summary of Y our Assets and L iabilities and Certain Statistical I nformation                                                   pag e 2 of 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                         B e s t C a s e B a n k ru p tc y
                                                           Case 6:19-bk-05672-LVV                                                             Doc 1                   Filed 08/28/19             Page 12 of 83

 Fill in this information to identify your case and this filing:

 D e b to r 1
                                                Gail S. Andre
                                                F irs t N a m e                                             M id d le N a m e                                  La s t Na m e

 D e b to r 2
 (S p o u s e , if filin g )                    F irs t N a m e                                             M id d le N a m e                                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                                   M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r                                                                                                                                                                                                                                 C h e c k if th is is a n
                                                                                                                                                                                                                                                  a m e n d e d filin g



O f f ic ia l F o rm 1 0 6 A /B
Schedule A/B: Property                                                                                                                                                                                                                          12/15
I n each category, separately list and describe items. L ist an asset only once. If an asset fits in more than one category, list the asset in the category where you think it fits best. Be as
complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:            Describe Each Residence, Building, L and, or Other Real Estate Y ou Own or H ave an I nterest I n

1 . Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           N o . G o to P a rt 2 .

           Y e s . W h e re is th e p ro p e rty ?




 1 .1                                                                                                                    W hat is the property? C h e c k a ll th a t a p p ly
            1431 Waterview Drive                                                                                                   S i n g l e - f a m il y h o m e                             D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
            S tre e t a d d re s s , if a v a ila b le , o r o th e r d e s c rip tio n                                                                                                         a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
                                                                                                                                   D u p le x o r m u lti- u n it b u ild in g
                                                                                                                                                                                                Who Have Claims Secured by Property.
                                                                                                                                   C o n d o m in iu m o r c o o p e ra tiv e

                                                                                                                                   M a n u f a c tu re d o r m o b ile h o m e
                                                                                                                                                                                                Current value of the                       Current value of the
            Deltona                                                  FL                   32738-0000                               L and                                                        entire property?                           portion you own?
            C ity                                                    S ta te                 Z IP C o d e                          In v e s tm e n t p ro p e rty                                           $243,753.00                                  $243,753.00
                                                                                                                                   T im e s h a re
                                                                                                                                                                                                Describe the nature of your ownership interest (such
                                                                                                                                   O th e r
                                                                                                                                                                                                as fee simple, tenancy by the entireties, or a life
                                                                                                                         W ho has an interest in the property? C h e c k o n e                  estate), if known.
                                                                                                                                D e b to r 1 o n ly                                             Fee simple
            Volusia                                                                                                                D e b to r 2 o n ly
            C o u n ty                                                                                                             D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                                                                                                       Check if this is community property
                                                                                                                                   A t le a s t o n e o f th e d e b to rs a n d a n o th e r          (s e e i n s tru c tio n s )

                                                                                                                         Other information you wish to add about this item, such as local
                                                                                                                         property identification number:




 2.      A dd the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages you have
         attached for Part 1. W rite that number here...........................................................................= >                                                                                                                 $243,753.00


 Part 2:            Describe Y our V ehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? In c lu d e a n y v e h ic le s y o u o w n th a t s o m e o n e e ls e d riv e s .
If y o u le a s e a v e h ic le , a ls o re p o rt it o n Schedule G: Executory Contracts and Unexpired Leases.




O ffic ia l F o rm 1 0 6 A /B                                                                                                   S c h e d u le A /B : P ro p e rty                                                                                                        pa ge 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                                   Doc 1              Filed 08/28/19          Page 13 of 83
 D e b to r 1                                                                                                                                                                C a s e n u m b e r (if known)
                            Gail S. Andre
3 . Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Y es

                                                                                                                                                                                        D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
    3 .1       M ake:              Honda                                                                W ho has an interest in the property? C h e c k o n e                           a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
               M o d e l:          CR-V                                                                        D e b to r 1 o n ly                                                      Who Have Claims Secured by Property.
               Y e a r:            2014                                                                        D e b to r 2 o n ly
                                                                                                                                                                                        Current value of the                      Current value of the
               A p p ro x im a te m il e a g e :                           143,000                             D e b to r 1 a n d D e b to r 2 o n ly                                   entire property?                          portion you own?
               O th e r in f o rm a tio n :                                                                    A t l e a s t o n e o f th e d e b to rs a n d a n o th e r

              VIN No.: 2HKRM3H31EH540057
                                                                                                               Check if this is community property                                                     $8,375.00                                     $8,375.00
                                                                                                               (s e e in s tru c tio n s )



                                                                                                                                                                                        D o n o t d e d u c t s e c u re d c la im s o r e x e m p tio n s . P u t th e
    3 .2       M ake:              Nissan                                                               W ho has an interest in the property? C h e c k o n e                           a m o u n t o f a n y s e c u re d c la im s o n Schedule D: Creditors
               M o d e l:          Altima                                                                      D e b to r 1 o n ly                                                      Who Have Claims Secured by Property.
               Y e a r:            2011                                                                        D e b to r 2 o n ly
                                                                                                                                                                                        Current value of the                      Current value of the
               A p p ro x im a te m il e a g e :                           108,000                             D e b to r 1 a n d D e b to r 2 o n ly                                   entire property?                          portion you own?
               O th e r in f o rm a tio n :                                                                    A t l e a s t o n e o f th e d e b to rs a n d a n o th e r

              VIN No.: 1N4AL2AP4BC156519
                                                                                                               Check if this is community property                                                     $3,350.00                                     $3,350.00
                                                                                                               (s e e in s tru c tio n s )




4 . W atercraft, aircraft, motor homes, A T V s and other recreational vehicles, other vehicles, and accessories
    Examples: B o a ts , tra i le rs , m o to rs , p e rs o n a l w a te rc ra f t, f is h in g v e s s e ls , s n o w m o b ile s , m o to rc y c le a c c e s s o rie s

           No
           Y es



 5 A dd the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages you have
   .attached for Part 2. W rite that number here.............................................................................=>                                                                                                              $11,725.00

 Part 3:          Describe Y our Personal and H ousehold I tems
 Do you own or have any legal or equitable interest in any of the following items?                                                                                                                                            Current value of the
                                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                                              D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                                              c la i m s o r e x e m p tio n s .
6 . H ousehold goods and furnishings
     Examples: M a j o r a p p lia n c e s , f u rn itu re , lin e n s , c h in a , k itc h e n w a re
        No
             Y e s . D e s c rib e .....


                                                            Living Room Set, Dining Room Set, Kitchen Table & Chairs, Bedroom
                                                            Sets (4), Washer, Dryer, Refrigerator, Microwave, Small Appliances,
                                                            Misc. Kitchenware, Pictures.                                                                                                                                                                   $850.00


7 . Electronics
     Examples: T e le v is io n s a n d ra d io s ; a u d io , v id e o , s te re o , a n d d ig ita l e q u ip m e n t; c o m p u te rs , p rin te rs , s c a n n e rs ; m u s ic c o l le c tio n s ; e le c tro n ic d e v ic e s in c l u d in g c e l l
                 p h o n e s , c a m e ra s , m e d ia p la y e rs , g a m e s
        No
             Y e s . D e s c rib e .....


                                                            TV (2), Cell Phones (2), Computer (Broken).                                                                                                                                                    $185.00




O ffic ia l F o rm 1 0 6 A /B                                                                                            S c h e d u le A /B : P ro p e rty                                                                                                      pa ge 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1              Filed 08/28/19                         Page 14 of 83
 D e b to r 1                                                                                                                                                         C a s e n u m b e r (if known)
                           Gail S. Andre
8 . Collectibles of value
     Examples: A n tiq u e s a n d f ig u rin e s ; p a in tin g s , p rin ts , o r o th e r a rtw o rk ; b o o k s , p ic tu re s , o r o th e r a rt o b j e c ts ; s ta m p , c o in , o r b a s e b a ll c a rd c o lle c tio n s ; o th e r
                  c o l le c tio n s , m e m o ra b ilia , c o lle c tib le s
             No
             Y e s . D e s c rib e .....

9 . Equipment for sports and hobbies
     Examples: S p o rts , p h o to g ra p h ic , e x e rc is e , a n d o th e r h o b b y e q u ip m e n t; b ic y c l e s , p o o l ta b le s , g o lf c l u b s , s k is ; c a n o e s a n d k a y a k s ; c a rp e n try to o ls ; m u s ic a l
                 in s tru m e n ts
             No
             Y e s . D e s c rib e .....

1 0 . Firearms
       Examples: P is to ls , rif l e s , s h o tg u n s , a m m u n i tio n , a n d re la te d e q u i p m e n t
         No
         Y e s . D e s c rib e .....

1 1 . Clothes
       Examples: E v e ry d a y c l o th e s , f u rs , le a th e r c o a ts , d e s ig n e r w e a r, s h o e s , a c c e s s o rie s
        No
             Y e s . D e s c rib e .....


                                                            Clothes.                                                                                                                                                                                  $105.00


1 2 . Jewelry
       Examples: E v e ry d a y j e w e lry , c o s tu m e j e w e lry , e n g a g e m e n t rin g s , w e d d in g rin g s , h e irlo o m j e w e lry , w a tc h e s , g e m s , g o l d , s ilv e r
        No
             Y e s . D e s c rib e .....


                                                            Gold Earrings, Necklace & Charm, Misc. Costume Jewelry.                                                                                                                                     $50.00


1 3 . Non-farm animals
       Examples: D o g s , c a ts , b ird s , h o rs e s
        No
        Y e s . D e s c rib e .....

1 4 . A ny other personal and household items you did not already list, including any health aids you did not list
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n .....


 15.        A dd the dollar value of all of your entries from Part 3, including any entries for pages you have attached for Part 3.
            W rite that number here ..............................................................................                                                                                                                        $1,190.00


 Part 4:         Describe Y our Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                                                                            Current value of the
                                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                                        D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                                        c la i m s o r e x e m p tio n s .

1 6 . Cash
       Examples: M o n e y y o u h a v e in y o u r w a lle t, in y o u r h o m e , in a s a f e d e p o s it b o x , a n d o n h a n d w h e n y o u f ile y o u r p e titio n
        No
             Y e s ................................................................................................................


                                                                                                                                                                             Cash                                                                       $20.00

1 7 . Deposits of money
       Examples: C h e c k in g , s a v in g s , o r o th e r f in a n c ia l a c c o u n ts ; c e rtif ic a te s o f d e p o s it; s h a re s in c re d it u n io n s , b ro k e ra g e h o u s e s , a n d o th e r s im ila r in s titu tio n s . If y o u
                   h a v e m u ltip le a c c o u n ts w ith th e s a m e in s titu tio n , lis t e a c h .
        No
O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                                                          pa ge 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                            B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1                  Filed 08/28/19                         Page 15 of 83
 D e b to r 1                                                                                                                                                             C a s e n u m b e r (if known)
                           Gail S. Andre
             Y e s ........................                                                                          In s titu tio n n a m e :


                                                               1 7 .1 .       Checking                               Wells Fargo Bank                                                                               $2,915.36


                                                               1 7 .2 .       Savings                                Wells Fargo Bank                                                                                         $7.21


1 8 . Bonds, mutual funds, or publicly traded stocks
       Examples: B o n d f u n d s , in v e s tm e n t a c c o u n ts w ith b ro k e ra g e f irm s , m o n e y m a rk e t a c c o u n ts
        No
        Y e s ..................                        In s titu tio n o r is s u e r n a m e :

1 9 . Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an L L C, partnership, and joint venture
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...................
                                                     N a m e o f e n tity :                            % o f o w n e rs h ip :

2 0 . Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments in c lu d e p e rs o n a l c h e c k s , c a s h ie rs ’ c h e c k s , p ro m is s o ry n o te s , a n d m o n e y o rd e rs .
       Non-negotiable instruments a re th o s e y o u c a n n o t tra n s f e r to s o m e o n e b y s ig n in g o r d e liv e rin g th e m .
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m
                                                      Is s u e r n a m e :

2 1 . Retirement or pension accounts
       Examples: In te re s ts in IR A , E R IS A , K e o g h , 4 0 1 (k ), 4 0 3 (b ), th rif t s a v in g s a c c o u n ts , o r o th e r p e n s io n o r p ro f it- s h a rin g p la n s
        No
             Y e s . L is t e a c h a c c o u n t s e p a ra te ly .
                                                          T y p e o f a c c o u n t:                                 In s titu tio n n a m e :

                                                               Retirement Plan                                       Wells Fargo- Lowndes, Drosdick, Doster, Kantor &
                                                                                                                     Reed, PA                                                                                       $9,727.41


2 2 . Security deposits and prepayments
       Y o u r s h a re o f a ll u n u s e d d e p o s its y o u h a v e m a d e s o th a t y o u m a y c o n tin u e s e rv ic e o r u s e f ro m a c o m p a n y
       Examples: A g re e m e n ts w ith la n d lo rd s , p re p a id re n t, p u b lic u tilitie s (e le c tric , g a s , w a te r), te le c o m m u n ic a tio n s c o m p a n ie s , o r o th e rs
             No
             Y e s . .....................                                                                           In s titu tio n n a m e o r in d iv id u a l:

2 3 . A nnuities (A c o n tra c t f o r a p e rio d ic p a y m e n t o f m o n e y to y o u , e ith e r f o r lif e o r f o r a n u m b e r o f y e a rs )
         No
         Y e s .............          Is s u e r n a m e a n d d e s c rip tio n .

2 4 . I nterests in an education I RA , in an account in a qualified A BL E program, or under a qualified state tuition program.
       2 6 U .S .C . § § 5 3 0 (b )(1 ), 5 2 9 A (b ), a n d 5 2 9 (b )(1 ).
             No
             Y e s .............                     In s titu tio n n a m e a n d d e s c rip tio n . S e p a ra te ly f ile th e re c o rd s o f a n y in te re s ts .1 1 U .S .C . § 5 2 1 (c ):

2 5 . T rusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

2 6 . Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: In te rn e t d o m a in n a m e s , w e b s ite s , p ro c e e d s f ro m ro y a ltie s a n d lic e n s in g a g re e m e n ts
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

2 7 . L icenses, franchises, and other general intangibles
       Examples: B u ild in g p e rm its , e x c l u s iv e lic e n s e s , c o o p e ra tiv e a s s o c ia tio n h o ld in g s , liq u o r lic e n s e s , p ro f e s s io n a l lic e n s e s
         No

O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                             pa ge 4
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                               B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1              Filed 08/28/19                     Page 16 of 83
 D e b to r 1                                                                                                                                                       C a s e n u m b e r (if known)
                           Gail S. Andre
             Y e s . G iv e s p e c if ic in f o rm a tio n a b o u t th e m ...

 M oney or property owed to you?                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   D o n o t d e d u c t s e c u re d
                                                                                                                                                                                                                   c la i m s o r e x e m p tio n s .

2 8 . T ax refunds owed to you
         No
         Y e s . G iv e s p e c if ic i n f o rm a tio n a b o u t th e m , in c l u d in g w h e th e r y o u a lre a d y f ile d th e re tu rn s a n d th e ta x y e a rs .......



2 9 . Family support
       Examples: P a s t d u e o r lu m p s u m a lim o n y , s p o u s a l s u p p o rt, c h ild s u p p o rt, m a in te n a n c e , d iv o rc e s e ttle m e n t, p ro p e rty s e ttle m e n t
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n ......


3 0 . Other amounts someone owes you
       Examples: U n p a id w a g e s , d is a b ility in s u ra n c e p a y m e n ts , d is a b ility b e n e f its , s ic k p a y , v a c a tio n p a y , w o rk e rs ’ c o m p e n s a tio n , S o c ia l S e c u rity b e n e f its ; u n p a id lo a n s
                  y o u m a d e to s o m e o n e e ls e
             No
             Y e s . G iv e s p e c if ic in f o rm a tio n ..

3 1 . I nterests in insurance policies
        Examples: H e a lth , d is a b ility , o r lif e in s u ra n c e ; h e a lth s a v in g s a c c o u n t (H S A ); c re d it, h o m e o w n e r ’ s , o r re n te r’ s i n s u ra n c e
             No
             Y e s . N a m e th e in s u ra n c e c o m p a n y o f e a c h p o lic y a n d lis t its v a lu e .
                                                         C om pany nam e:                                                                           B e n e f ic ia ry :                                             S u rre n d e r o r re f u n d
                                                                                                                                                                                                                     v a lu e :

3 2 . A ny interest in property that is due you from someone who has died
       If y o u a re th e b e n e f ic i a ry o f a liv in g tru s t, e x p e c t p ro c e e d s f ro m a lif e in s u ra n c e p o l ic y , o r a re c u rre n tly e n title d to re c e i v e p ro p e rty b e c a u s e s o m e o n e h a s d ie d .
             No
             Y e s . G iv e s p e c if ic in f o rm a tio n ..


3 3 . Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: A c c id e n ts , e m p lo y m e n t d is p u te s , in s u ra n c e c la im s , o r rig h ts to s u e
        No
        Y e s . D e s c rib e e a c h c la im .........

3 4 . Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Y e s . D e s c rib e e a c h c la im .........

3 5 . A ny financial assets you did not already list
         No
         Y e s . G iv e s p e c if ic in f o rm a tio n ..


 36.        A dd the dollar value of all of your entries from Part 4, including any entries for pages you have attached for Part 4.
            W rite that number here.....................................................................................................................                                                                         $12,669.98

 Part 5:         Describe Any Business-Related Pr operty Y ou Own or H ave an I nterest I n. L ist any real estate in Part 1.

3 7 . Do you own or have any legal or equitable interest in any business-related property?
           N o . G o to P a rt 6 .
           Y e s . G o to lin e 3 8 .




O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                                                     pa ge 5
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                      B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1              Filed 08/28/19              Page 17 of 83
 D e b to r 1                                                                                                                                               C a s e n u m b e r (if known)
                           Gail S. Andre
 Part 6:         Describe Any Farm- and Commercial Fishing-Related Pr operty Y ou Own or H ave an I nterest I n.
                 If y o u o w n o r h a v e a n in te re s t in f a rm la n d , lis t it in P a rt 1 .

4 6 . Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
                N o . G o to P a rt 7 .
                Y e s . G o to lin e 4 7 .



 Part 7:                   Describe All Pr operty Y ou Own or H ave an I nterest in T hat Y ou Did Not L ist Above

5 3 . Do you have other property of any kind you did not already list?
       Examples: S e a s o n tic k e ts , c o u n try c lu b m e m b e rs h ip
        No
        Y e s . G iv e s p e c if ic in f o rm a tio n .........


 54.        A dd the dollar value of all of your entries from Part 7. W rite that number here ....................................                                                                                  $0.00

 Part 8:                L ist the T otals of Each Part of this Form

 55.        Part 1: T otal real estate, line 2 ......................................................................................................................                                      $243,753.00
 56.        Part 2: T otal vehicles, line 5                                                                                                 $11,725.00
 57.        Part 3: T otal personal and household items, line 15                                                                             $1,190.00
 58.        Part 4: T otal financial assets, line 36                                                                                        $12,669.98
 59.        Part 5: T otal business-related property, line 45                                                                                    $0.00
 60.        Part 6: T otal farm- and fishing-related property, line 52                                                                           $0.00
 61.        Part 7: T otal other property not listed, line 54                                                                 +
                                                                                                                                                 $0.00
 62.        T otal personal property. A d d lin e s 5 6 th ro u g h 6 1 ...                                                                               C o p y p e rs o n a l p ro p e rty to ta l
                                                                                                                                            $25,584.98                                                         $25,584.98

 63.        T otal of all property on Schedule A /B . A d d lin e 5 5 + lin e 6 2                                                                                                                       $269,337.98




O ffic ia l F o rm 1 0 6 A /B                                                                                  S c h e d u le A /B : P ro p e rty                                                                           pa ge 6
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                  Doc 1        Filed 08/28/19                       Page 18 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                      C h e c k if th is is a n
                                                                                                                                                                                                      a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 C
Schedule C: T he Property Y ou Claim as Exempt                                                                                                                                                      4/19
B e a s c o m p le te a n d a c c u ra te a s p o s s ib le . If tw o m a rrie d p e o p le a re filin g to g e th e r, b o th a re e q u a lly re s p o n s ib le fo r s u p p ly in g c o rre c t in fo rm a tio n . U s in g
th e p ro p e rty y o u lis te d o n                                  (O ffic ia l F o rm 1 0 6 A /B ) a s y o u r s o u rc e , lis t th e p ro p e rty th a t y o u c la im a s e x e m p t. If m o re s p a c e is
                                         Schedule A/B: Property
n e e d e d , fill o u t a n d a tta c h to th is p a g e a s m a n y c o p ie s o f                                 a s n e c e s s a ry . O n th e to p o f a n y a d d itio n a l p a g e s , w rite y o u r n a m e a n d
                                                                                     Part 2: Additional Page
c a s e n u m b e r (if k n o w n ).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. A lternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions— such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds— may be unlimited in dollar amount.
H owever, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

 Part 1:               I dentify the Property Y ou Claim as Exempt

 1 . W hich set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               Y o u a re c la im in g s ta te a n d fe d e ra l n o n b a n k ru p tc y e x e m p tio n s . 1 1 U . S . C . § 5 2 2 (b )(3 )

               Y o u a re c la im in g fe d e ra l e x e m p tio n s . 1 1 U . S . C . § 5 2 2 (b )(2 )

 2 . For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

         Brief description of the property and line on Schedule Current value of the                                             Amount of the exemption you claim                       Specific laws that allow exemption
         A/B that lists this property                           portion you own
                                                                C o p y th e v a lu e f ro m                                     Check only one box for each exemption.
                                                                                                        Schedule A/B

         1431 Waterview Drive Deltona, FL                                                                       $243,753.00                                      $243,753.00             Fla. Const. art. X, § 4(a)(1); Fla.
         32738 Volusia County                                                                                                                                                            Stat. Ann. §§ 222.01 & 222.02
         L in e fro m             :                                                                                                     1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 1.1
                                                                                                                                        a n y a p p lic a b le s ta tu to ry lim it


         Living Room Set, Dining Room Set,                                                                             $850.00                                          $660.00          Fla. Const. art. X, § 4(a)(2)
         Kitchen Table & Chairs, Bedroom Sets
         (4), Washer, Dryer, Refrigerator,                                                                                              1 0 0 % o f fa ir m a rk e t v a lu e , u p to
         Microwave, Small Appliances, Misc.                                                                                             a n y a p p lic a b le s ta tu to ry lim it
         Kitchenware, Pictures.
         L in e fro m             :
                      Schedule A/B 6.1

         TV (2), Cell Phones (2), Computer                                                                             $185.00                                          $185.00          Fla. Const. art. X, § 4(a)(2)
         (Broken).
         L in e fro m             :                                                                                                     1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 7.1
                                                                                                                                        a n y a p p lic a b le s ta tu to ry lim it


         Clothes.                                                                                                      $105.00                                          $105.00          Fla. Const. art. X, § 4(a)(2)
         L in e fro m                     :
                              Schedule A/B 11.1                                                                                         1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                        a n y a p p lic a b le s ta tu to ry lim it


O ffic ia l F o rm 1 0 6 C                                                                  Schedule C: The Property You Claim as Exempt                                                                                      pa ge          of
                                                                                                                                                                                                                                         1        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                       B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                 Doc 1       Filed 08/28/19                           Page 19 of 83
 D e b to r 1                                                                                                                                           C a s e n u m b e r (if k n o w n )
                      Gail S. Andre
         Brief description of the property and line on Schedule Current value of the                                            Amount of the exemption you claim                             Specific laws that allow exemption
         A/B that lists this property                           portion you own
                                                                C o p y th e v a lu e f ro m                                    Check only one box for each exemption.
                                                                                                        Schedule A/B

         Gold Earrings, Necklace & Charm, Misc.                                                                        $50.00                                               $50.00            Fla. Const. art. X, § 4(a)(2)
         Costume Jewelry.
         L in e fro m             :                                                                                                   1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 12.1
                                                                                                                                      a n y a p p lic a b le s ta tu to ry lim it


         Cash                                                                                                          $20.00                                               $20.00            Fla. Stat. Ann. § 222.11(2)(b)
         L in e fro m                    :
                             Schedule A/B 16.1                                                                                        1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                      a n y a p p lic a b le s ta tu to ry lim it


         Checking: Wells Fargo Bank                                                                             $2,915.36                                             $2,915.36               Fla. Stat. Ann. § 222.11(2)(b)
         L in e fro m             :
                      Schedule A/B 17.1                                                                                               1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                      a n y a p p lic a b le s ta tu to ry lim it


         Savings: Wells Fargo Bank                                                                                      $7.21                                                 $7.21           Fla. Stat. Ann. § 222.11(2)(b)
         L in e fro m             :
                      Schedule A/B 17.2                                                                                               1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                                                                                                                                      a n y a p p lic a b le s ta tu to ry lim it


         Retirement Plan: Wells Fargo- Lowndes,                                                                 $9,727.41                                             $9,727.41               Fla. Stat. Ann. § 222.21(2)
         Drosdick, Doster, Kantor & Reed, PA
         L in e fro m             :                                                                                                   1 0 0 % o f fa ir m a rk e t v a lu e , u p to
                      Schedule A/B 21.1
                                                                                                                                      a n y a p p lic a b le s ta tu to ry lim it


 3 . A re you claiming a homestead exemption of more than $170,350?
     (S u b je c t to a d ju s tm e n t o n 4 /0 1 /2 2 a n d e v e ry 3 y e a rs a fte r th a t fo r c a s e s file d o n o r a fte r th e d a te o f a d ju s tm e n t. )
                   No
                   Y e s . D id y o u a c q u ire th e p ro p e rty c o v e re d b y th e e x e m p tio n w ith in 1 , 2 1 5 d a y s b e fo re y o u file d th is c a s e ?
                                No
                                Yes




O ffic ia l F o rm 1 0 6 C                                                                  Schedule C: The Property You Claim as Exempt                                                                                         pa ge          of
                                                                                                                                                                                                                                            2        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1                 Filed 08/28/19                                    Page 20 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                                   La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                                   La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                                                        C h e c k if th is is a n
                                                                                                                                                                                                                                        a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 D
Schedule D: Creditors W ho H ave Claims Secured by Pr operty                                                                                                                                                                                                      12/15
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more space is needed, copy the
Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if known).
1. Do any creditors have claims secured by your property?
               N o . C h e c k th is b o x a n d s u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s . Y o u h a v e n o th in g e ls e to re p o rt o n th is f o rm .
               Y e s . F ill in a ll o f th e in f o rm a tio n b e lo w .

 Part 1:               L ist A ll Secured Claims
                                                                                                                                                                                 Column A                             Column B                      Column C
 2. L ist all secured claims. If a c re d ito r h a s m o re th a n o n e s e c u re d c la im , lis t th e c re d ito r s e p a ra te ly f o r e a c h
 c la im . If m o re th a n o n e c re d ito r h a s a p a rtic u la r c la im , lis t th e o th e r c re d ito rs in P a rt 2 . A s m u c h a s p o s s ib le , lis t           Amount of claim                      V alue of collateral          Unsecured
 th e c l a im s in a lp h a b e tic a l o rd e r a c c o rd in g to th e c re d ito r’ s n a m e .                                                                              D o n o t d e d u c t th e           that supports this            portion
                                                                                                                                                                                 v a l u e o f c o l l a te r a l .   claim                         If a n y
 2 .1       Capital One Auto Finance                                                Describe the property that secures the claim:                                                        $15,263.00                            $8,375.00                     $6,888.00
            C re d ito r's N a m e
                                                                                    2014 Honda CR-V 143,000 miles
                                                                                    VIN No.: 2HKRM3H31EH540057
            Attn: Bankruptcy
            Po Box 30285                                                            As of the date you file, the claim is: C h e c k a ll th a t a p p ly .
            Salt Lake City, UT 84130                                                      C o n tin g e n t
            N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e                        U n liq u id a te d
                                                                                          D is p u te d
 W ho owes the debt? C h e c k o n e .                                              Nature of lien. C h e c k a ll th a t a p p ly .
        D e b to r 1 o n ly                                                               A n a g re e m e n t y o u m a d e (s u c h a s m o rtg a g e o r s e c u re d c a r
        D e b to r 2 o n ly                                                                lo a n )

        D e b to r 1 a n d D e b to r 2 o n ly                                            S ta tu to ry lie n (s u c h a s ta x lie n , m e c h a n ic 's lie n )
        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                       J u d g m e n t lie n f ro m a la w s u it
        Check if this claim relates to a community                                        O th e r (in c lu d in g a rig h t to o f f s e t)
         debt

                                                  Opened
                                                  08/17 Last
                                                  Active
 Date debt was incurred                           6/21/19                                       L ast 4 digits of account number                                1001




                                                                                                                                                                                                                                                                               of
O f f ic ia l F o rm 1 0 6 D                                                      Schedule D: Creditors W ho H ave Claims Secured by Property                                                                                                                     pag e 1           3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1                 Filed 08/28/19                              Page 21 of 83

 D e b to r 1                                                                                                                                                                C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
                       F irs t N a m e                               M id d le N a m e                                  L ast N am e


 2 .2       Capital One Auto Finance                                                Describe the property that secures the claim:                                                         $4,794.00                   $3,350.00           $1,444.00
            C re d ito r's N a m e
                                                                                    2011 Nissan Altima 108,000 miles
                                                                                    VIN No.: 1N4AL2AP4BC156519
            Po Box 259407                                                           As of the date you file, the claim is: C h e c k a ll th a t a p p ly .
            Plano, TX 75025                                                               C o n tin g e n t
            N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e                        U n liq u id a te d
                                                                                          D is p u te d
 W ho owes the debt? C h e c k o n e .                                              Nature of lien. C h e c k a ll th a t a p p ly .
        D e b to r 1 o n ly                                                               A n a g re e m e n t y o u m a d e (s u c h a s m o rtg a g e o r s e c u re d c a r
        D e b to r 2 o n ly                                                                lo a n )
        D e b to r 1 a n d D e b to r 2 o n ly                                            S ta tu to ry lie n (s u c h a s ta x lie n , m e c h a n ic 's lie n )
        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                       J u d g m e n t lie n f ro m a la w s u it

        Check if this claim relates to a community                                        O th e r (in c lu d in g a rig h t to o f f s e t)
         debt

                                                  Opened
                                                  04/14 Last
 Date debt was incurred                           Active 06/19                                  L ast 4 digits of account number                                1001

 2 .3       Specialized Loan Servicing                                              Describe the property that secures the claim:                                                    $198,680.00                    $243,753.00                    $0.00
            C re d ito r's N a m e
                                                                                    1431 Waterview Drive Deltona, FL
                                                                                    32738 Volusia County
            8742 Lucent Blvd., Suite
            300                                                                     As of the date you file, the claim is: C h e c k a ll th a t a p p ly .
            Highland Ranch, CO 80129                                                      C o n tin g e n t
            N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e                        U n liq u id a te d
                                                                                          D is p u te d
 W ho owes the debt? C h e c k o n e .                                              Nature of lien. C h e c k a ll th a t a p p ly .
        D e b to r 1 o n ly                                                               A n a g re e m e n t y o u m a d e (s u c h a s m o rtg a g e o r s e c u re d c a r
        D e b to r 2 o n ly                                                                lo a n )

        D e b to r 1 a n d D e b to r 2 o n ly                                            S ta tu to ry lie n (s u c h a s ta x lie n , m e c h a n ic 's lie n )
        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                       J u d g m e n t lie n f ro m a la w s u it
        Check if this claim relates to a community                                        O th e r (in c lu d in g a rig h t to o f f s e t)
         debt

 Date debt was incurred                                                                         L ast 4 digits of account number                                3108

 2 .4       Suntrust Bank                                                           Describe the property that secures the claim:                                                       $40,549.00                  $243,753.00                    $0.00
            C re d ito r's N a m e
                                                                                    1431 Waterview Drive Deltona, FL
            Attn: Bankruptcy                                                        32738 Volusia County
            Mail Code VA-RVW-6290
                                                                                    As of the date you file, the claim is: C h e c k a ll th a t a p p ly .
            PO Box 85092
                                                                                          C o n tin g e n t
            Richmon, VA 23286
            N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e                        U n liq u id a te d
                                                                                          D is p u te d
 W ho owes the debt? C h e c k o n e .                                              Nature of lien. C h e c k a ll th a t a p p ly .
        D e b to r 1 o n ly                                                               A n a g re e m e n t y o u m a d e (s u c h a s m o rtg a g e o r s e c u re d c a r
        D e b to r 2 o n ly                                                                lo a n )

        D e b to r 1 a n d D e b to r 2 o n ly                                            S ta tu to ry lie n (s u c h a s ta x lie n , m e c h a n ic 's lie n )
        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                       J u d g m e n t lie n f ro m a la w s u it
        Check if this claim relates to a community                                        O th e r (in c lu d in g a rig h t to o f f s e t)
         debt

                                                  Opened
                                                  09/09 Last
                                                  Active
 Date debt was incurred                           6/10/19                                       L ast 4 digits of account number                                0123


O f f ic ia l F o rm 1 0 6 D                                 A d d itio n a l P a g e o f Schedule D: Creditors W ho H ave Claims Secured by Property                                                                                       page 2 of 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                      B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                    Doc 1   Filed 08/28/19                                Page 22 of 83

 D e b to r 1                                                                                                                                        C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
                       F irs t N a m e                            M id d le N a m e                            L ast N am e




     Add the dollar value of your entries in Column A on this page. W rite that number here:                                                                                 $259,286.00
     I f this is the last page of your form, add the dollar value totals from all pages.
     W rite that number here:                                                                                                                                                $259,286.00

 Part 2:            L ist Others to Be Notified for a Debt T hat Y ou A lready L isted

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
 you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
 you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

              N a m e , N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e
                                                                                                                                       O n w h ic h lin e in P a rt 1 d id y o u e n te r th e c re d ito r?   2.1
              Capital One Auto Finance
              PO Box 60511                                                                                                             L a s t 4 d ig its o f a c c o u n t n u m b e r
              City of Industry, CA 91716-0511

              N a m e , N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e
                                                                                                                                       O n w h ic h lin e in P a rt 1 d id y o u e n te r th e c re d ito r?   2.2
              Capital One Auto Finance
              PO Box 60511                                                                                                             L a s t 4 d ig its o f a c c o u n t n u m b e r
              City of Industry, CA 91716-0511

              N a m e , N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e
                                                                                                                                       O n w h ic h lin e in P a rt 1 d id y o u e n te r th e c re d ito r?   2.3
              Specialized Loan Servicing
              PO Box 60535                                                                                                             L a s t 4 d ig its o f a c c o u n t n u m b e r
              City of Industry, CA 91716-0535

              N a m e , N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e
                                                                                                                                       O n w h ic h lin e in P a rt 1 d id y o u e n te r th e c re d ito r?   2.4
              Suntrust Bank
              PO Box 305053                                                                                                            L a s t 4 d ig its o f a c c o u n t n u m b e r
              Nashville, TN 37230-5053

              N a m e , N u m b e r, S tre e t, C ity , S ta te & Z ip C o d e
                                                                                                                                       O n w h ic h lin e in P a rt 1 d id y o u e n te r th e c re d ito r?   2.4
              Suntrust Bank
              PO Box 79282                                                                                                             L a s t 4 d ig its o f a c c o u n t n u m b e r
              Baltimore, MD 21279-0282




O f f ic ia l F o rm 1 0 6 D                                 A d d itio n a l P a g e o f Schedule D: Creditors W ho H ave Claims Secured by Property                                                                          page 3 of 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1                  Filed 08/28/19                                   Page 23 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                                    La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                                    La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                                                                     C h e c k if th is is a n
                                                                                                                                                                                                                                                     a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 E /F
Schedule E/F: Creditors W ho H ave Unsecured Claims                                                                                                                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRI ORI T Y claims and Part 2 for creditors with NONPRI ORI T Y claims. L ist the other party to any executory
contracts or unexpired leases that could result in a claim. A lso list executory contracts on Schedule A/B: Pr operty (Official Form 106A/B) and on Schedule G: Executory Contracts
and Unexpired L eases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors W ho H ave Claims Secured by
Pr operty. I f more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. I f you have no
information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case number (if known).

 Part 1:               L ist A ll of Y our PRI ORI T Y Unsecured Claims
 1.      Do any creditors have priority unsecured claims against you?
               N o . G o to P a rt 2 .
               Y es.


 Part 2:               L ist All of Y our NONPRI ORI T Y Unsecured Claims

 3.      Do any creditors have nonpriority unsecured claims against you?
               N o . Y o u h a v e n o th in g to re p o rt in th is p a rt. S u b m it th is f o rm to th e c o u rt w ith y o u r o th e r s c h e d u le s .

               Y es.

 4.      L ist all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a c re d ito r h a s m o re th a n o n e n o n p rio rity u n s e c u re d c la im , lis t th e
         c re d ito r s e p a ra te ly f o r e a c h c la im . F o r e a c h c la im lis te d , id e n tif y w h a t ty p e o f c la im it is . D o n o t lis t c la im s a lre a d y in c lu d e d in P a rt 1 . If m o re th a n o n e c re d ito r h o ld s a p a rtic u la r c la im ,
         lis t th e o th e r c re d ito rs in P a rt 3 .If y o u h a v e m o re th a n th re e n o n p rio rity u n s e c u re d c la im s f ill o u t th e C o n tin u a tio n P a g e o f P a rt 2 .
                                                                                                                                                                                                                                                         T otal claim
 4 .1                                                                                                           L ast 4 digits of account number
                   Aes/citz Bk                                                                                                                                                   0001                                                                                      Unknown
                   N o n p rio rity C re d ito r's N a m e
                   Attn: Bankruptcy                                                                                                                                              Opened 11/14/07 Last Active
                   Po Box 2461                                                                                  W hen was the debt incurred?                                     3/18/19
                   Harrisburg, PA 17105
                   N u m b e r S tre e t C ity S ta te Z ip C o d e                                             As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                   W ho incurred the debt? C h e c k o n e .                                                           C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                       U n liq u id a te d
                        D e b to r 2 o n ly                                                                            D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly                                                  T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                    S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                   O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                   I s the claim subject to offset?                                                             a s p rio rity c la im s

                        No                                                                                             D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                           O th e r. S p e c if y

                                                                                                                                                   Charge Off




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                              Page 1 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                        31040                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1                  Filed 08/28/19                                   Page 24 of 83
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 4 .2                                                                                                          L ast 4 digits of account number
                 Capital One                                                                                                                                                  5473                                                                          $3,469.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 09/10 Last Active 05/19
                 Po Box 30285
                 Salt Lake City, UT 84130
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card


 4 .3                                                                                                          L ast 4 digits of account number
                 Capital One                                                                                                                                                  8089                                                                          $2,026.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 01/10 Last Active 05/19
                 Po Box 30285
                 Salt Lake City, UT 84130
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card


 4 .4                                                                                                          L ast 4 digits of account number
                 Citizens Bank                                                                                                                                                0001                                                                       $23,753.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 11/07 Last Active
                 1 Citizens Dr                                                                                 W hen was the debt incurred?                                   3/18/19
                 Riverside, RI 02915
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .                                                          C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly                                                                         D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly                                                 T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y

                                                                                                                                                Educational




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                Page 2 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1                  Filed 08/28/19                                   Page 25 of 83
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 4 .5                                                                                                          L ast 4 digits of account number
                 Credence Resource Management                                                                                                                                 4979                                                                              $913.00
                 N o n p rio rity C re d ito r's N a m e
                 17000 Dallas Parkway                                                                          W hen was the debt incurred?                                   Opened 02/18
                 Suite 204
                 Dallas, TX 75248
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Collection Attorney Att Mobility


                 Deptartment Store National
 4 .6
                 Bank/Macy's                                                                                   L ast 4 digits of account number                               2579                                                                          $3,005.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 08/13 Last Active 09/18
                 9111 Duke Boulevard
                 Mason, OH 45040
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


                 Deptartment Store National
 4 .7
                 Bank/Macy's                                                                                   L ast 4 digits of account number                               0130                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 05/14 Last Active
                 9111 Duke Boulevard                                                                           W hen was the debt incurred?                                   6/22/15
                 Mason, OH 45040
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Off




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                Page 3 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1                  Filed 08/28/19                                   Page 26 of 83
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre

                 Dillard?s Card Services/Wells Fargo
 4 .8
                 Bank                                                                                          L ast 4 digits of account number                               9321                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 8/25/13 Last Active
                 Po Box 10347                                                                                  W hen was the debt incurred?                                   2/19/19
                 Des Moines, IA 50306
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Settled Less Than Full Balance


 4 .9                                                                                                          L ast 4 digits of account number
                 Kohls/Capital One                                                                                                                                            4428                                                                          $3,665.00
                 N o n p rio rity C re d ito r's N a m e
                                                                                                                                                                              Opened 08/06 Last Active
                 Po Box 3115                                                                                   W hen was the debt incurred?                                   2/03/19
                 Milwaukee, WI 53201
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account


 4 .1 0                                                                                                        L ast 4 digits of account number
                 LendingClub                                                                                                                                                  0310                                                                       $11,164.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 6/13/17 Last Active
                 595 Market St, Ste 200                                                                        W hen was the debt incurred?                                   07/19
                 San Francisco, CA 94105
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Unsecured




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                Page 4 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1                  Filed 08/28/19                                   Page 27 of 83
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 4 .1 1                                                                                                        L ast 4 digits of account number
                 Mariner Finance                                                                                                                                              8412                                                                              $562.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy Department                                                                                                                                  Opened 07/18 Last Active
                 8211 Town Center Dr.                                                                          W hen was the debt incurred?                                   6/08/19
                 Baltimore, MD 21236
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Unsecured


 4 .1 2                                                                                                        L ast 4 digits of account number
                 Mercury/FBT                                                                                                                                                  6796                                                                          $3,894.00
                 N o n p rio rity C re d ito r's N a m e
                 1415 Warm Springs Rd                                                                          W hen was the debt incurred?                                   Opened 10/11 Last Active 09/18
                 Columbus, GA 31904
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card


 4 .1 3                                                                                                        L ast 4 digits of account number
                 Merrick Bank/CardWorks                                                                                                                                       8468                                                                          $5,504.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 06/11 Last Active
                 Po Box 9201                                                                                   W hen was the debt incurred?                                   3/16/19
                 Old Bethpage, NY 11804
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Credit Card




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                Page 5 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1                  Filed 08/28/19                                   Page 28 of 83
 D e b to r 1                                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 4 .1 4                                                                                                        L ast 4 digits of account number
                 Navient                                                                                                                                                      3329                                                                          $6,673.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 11/07 Last Active
                 Po Box 9640                                                                                   W hen was the debt incurred?                                   3/19/18
                 Wiles-Barr, PA 18773
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .                                                          C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly                                                                         D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly                                                 T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y

                                                                                                                                                Educational
 4 .1 5                                                                                                        L ast 4 digits of account number
                 Synchrony Bank/Lowes                                                                                                                                         0085                                                                           Unknown
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                                                                             Opened 05/14 Last Active
                 Po Box 965060                                                                                 W hen was the debt incurred?                                   2/04/19
                 Orlando, FL 32896
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Settled Less Than Full Balance


 4 .1 6                                                                                                        L ast 4 digits of account number
                 Synchrony/Ashley Furniture Homestore                                                                                                                         8908                                                                          $2,050.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                              W hen was the debt incurred?                                   Opened 10/16 Last Active 02/19
                 Po Box 965060
                 Orlando, FL 32896
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                              As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                    C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                    U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                    D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                               T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                 S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                  O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                              a s p rio rity c la im s

                        No                                                                                          D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                        O th e r. S p e c if y      Charge Account




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                Page 6 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                        B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1                  Filed 08/28/19                                   Page 29 of 83
 D e b to r 1                                                                                                                                                                    C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 4 .1 7                                                                                                           L ast 4 digits of account number
                 Wells Fargo Bank NA                                                                                                                                             7619                                                                               $6,187.00
                 N o n p rio rity C re d ito r's N a m e
                 Attn: Bankruptcy                                                                                 W hen was the debt incurred?                                   Opened 07/13 Last Active 10/18
                 1 Home Campus Mac X2303-01a
                 Des Moines, IA 50328
                 N u m b e r S tre e t C ity S ta te Z ip C o d e                                                 As of the date you file, the claim is: C h e c k a l l th a t a p p ly
                 W ho incurred the debt? C h e c k o n e .
                                                                                                                       C o n tin g e n t
                        D e b to r 1 o n ly
                                                                                                                       U n liq u id a te d
                        D e b to r 2 o n ly
                                                                                                                       D is p u te d
                        D e b to r 1 a n d D e b to r 2 o n ly
                                                                                                                  T ype of NONPRI ORI T Y unsecured claim:
                        A t l e a s t o n e o f th e d e b to rs a n d a n o th e r                                    S tu d e n t lo a n s
                        Check if this claim is for a community debt                                                     O b lig a tio n s a ris in g o u t o f a s e p a ra tio n a g re e m e n t o r d iv o rc e th a t y o u d id n o t re p o rt
                 I s the claim subject to offset?                                                                 a s p rio rity c la im s

                        No                                                                                             D e b ts to p e n s io n o r p ro f it- s h a rin g p la n s , a n d o th e r s im ila r d e b ts

                        Y es                                                                                           O th e r. S p e c if y       Credit Card

 Part 3:               L ist Others to Be Notified A bout a Debt T hat Y ou A lready L isted

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to collect
   from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of
   the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit
   this page.
 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Ashley Furniture                                                                                       L in e   4.16 o f ( Check one):                                        P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 965036                                                                                                                                                                 P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Orlando, FL 32896
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Capital One                                                                                            L in e   4.2 o f ( Check one):                                         P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 60599                                                                                                                                                                  P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 City of Industry, CA 91716-0599
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Capital One                                                                                            L in e   4.2 o f ( Check one):                                         P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 30281                                                                                                                                                                  P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Salt Lake City, UT 84130
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Capital One                                                                                            L in e   4.3 o f ( Check one):                                         P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 60599                                                                                                                                                                  P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 City of Industry, CA 91716-0599
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 GC Services Limited Partnership                                                                        L in e   4.6 o f ( Check one):                                         P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 857                                                                                                                                                                    P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Oaks, PA 19456-0857
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Jefferson Capital                                                                                      L in e   4.12 o f ( Check one):                                        P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 16 McLeland Road                                                                                                                                                              P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Saint Cloud, MN 56303-2198
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Kohls                                                                                                  L in e   4.9 o f ( Check one):                                         P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 2983                                                                                                                                                                   P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Milwaukee, WI 53201-2983
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r



O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        Page 7 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1               Filed 08/28/19                                Page 30 of 83
 D e b to r 1                                                                                                                                                              C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Macys                                                                                                  L in e   4.6 o f ( Check one):                                    P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 7 West Seventh Street                                                                                                                                                    P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Cincinnati, OH 45202
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Macys Department Stores                                                                                L in e   4.6 o f ( Check one):                                    P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 8218                                                                                                                                                              P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Mason, OH 45040
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Mariner Finance                                                                                        L in e   4.11 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 8211 Town Center Drive                                                                                                                                                   P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Nottingham, MD 21236
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Mercury Card                                                                                           L in e   4.12 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 70168                                                                                                                                                             P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Philadelphia, PA 19176-0168
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Merrick Bank                                                                                           L in e   4.13 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 9201                                                                                                                                                              P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Old Bethpage, NY 11804
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Naderpour & Associates, PA                                                                             L in e   4.17 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 2743 Hollywood Blvd                                                                                                                                                      P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Hollywood, FL 33020
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 Synchrony Bank                                                                                         L in e   4.16 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 PO Box 965033                                                                                                                                                            P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Orlando, FL 32896
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r

 N a m e a n d A d d re s s                                                                             O n w h ic h e n try in P a rt 1 o r P a rt 2 d id y o u lis t th e o rig in a l c re d ito r?
 True Accord                                                                                            L in e   4.13 o f ( Check one):                                   P a rt 1 : C re d ito rs w ith P rio rity U n s e c u re d C la im s
 303 2nd St                                                                                                                                                               P a rt 2 : C re d ito rs w ith N o n p rio rity U n s e c u re d C la im s
 Suite 750 South
 San Francisco, CA 94107
                                                                                                        L a s t 4 d ig its o f a c c o u n t n u m b e r



 Part 4:               A dd the A mounts for Each T ype of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type of unsecured
   claim.

                                                                                                                                                                                                           T otal Claim
                                      6a.       Domestic support obligations                                                                                                6a.             $
                                                                                                                                                                                                                                      0.00
 T otal claims
 from Part 1                          6b.       T axes and certain other debts you owe the government                                                                       6b.             $
                                                                                                                                                                                                                                      0.00
                                      6c.       Claims for death or personal injury while you were intoxicated                                                              6c.             $
                                                                                                                                                                                                                                      0.00
                                      6d.       Other. A d d a ll o th e r p rio rity u n s e c u re d c la im s . W rite th a t a m o u n t h e re .                       6d.             $
                                                                                                                                                                                                                                      0.00

                                      6e.       T otal Priority. A d d lin e s 6 a th ro u g h 6 d .                                                                        6e.             $
                                                                                                                                                                                                                                      0.00

                                                                                                                                                                                                           T otal Claim
                                      6f.       Student loans                                                                                                               6f.             $
                                                                                                                                                                                                                           30,426.00
 T otal claims


O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   Page 8 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                 Doc 1                 Filed 08/28/19                           Page 31 of 83
 D e b to r 1                                                                                                                                                 C a s e n u m b e r ( if k n o w n )
                       Gail S. Andre
 from Part 2                          6g.       Obligations arising out of a separation agreement or divorce that you did
                                                not report as priority claims
                                                                                                                                                              6g.             $                           0.00
                                      6h.       Debts to pension or profit-sharing plans, and other similar debts                                             6h.             $
                                                                                                                                                                                                          0.00
                                      6 i.      Other. A d d a ll o th e r n o n p rio rity u n s e c u re d c la im s . W rite th a t a m o u n t h e re .   6 i.            $
                                                                                                                                                                                                     42,439.00

                                      6 j.      T otal Nonpriority. A d d lin e s 6 f th ro u g h 6 i.                                                        6 j.            $
                                                                                                                                                                                                     72,865.00




O ffic ia l F o rm 1 0 6 E /F                                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                             Page 9 of 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                             Doc 1        Filed 08/28/19             Page 32 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                           M id d le N a m e                          La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                           M id d le N a m e                          La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                               M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                   C h e c k if th is is a n
                                                                                                                                                                                                   a m e n d e d filin g



O ffic ia l F o rm 1 0 6 G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                                                        12/15

Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

1.          Do you have any executory contracts or unexpired leases?
              N o . C h e c k th is b o x a n d f ile th is f o rm w ith th e c o u rt w ith y o u r o th e r s c h e d u le s . Y o u h a v e n o th in g e ls e to re p o rt o n th is f o rm .
              Y e s . F ill in a ll o f th e in f o rm a tio n b e lo w e v e n if th e c o n ta c ts o f le a s e s a re lis te d o n Schedule A/B:Property (O f f ic ia l F o rm 1 0 6 A /B ).

2.          L ist separately each person or company with whom you have the contract or lease. T hen state what each contract or lease is for (for example, rent,
            vehicle lease, cell phone). S e e th e in s tru c tio n s f o r th is f o rm in th e in s tru c tio n b o o k l e t f o r m o re e x a m p le s o f e x e c u to ry c o n tra c ts a n d u n e x p ire d le a s e s .


                   Person or company with whom you have the contract or lease                                                                      State what the contract or lease is for
                                              N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e
     2 .1
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .2
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .3
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e
     2 .4
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                            Z IP C o d e




O ffic ia l F o rm 1 0 6 G                                                        Schedule G: Executory Contracts and Unexpired Leases                                                                                      Page           of
                                                                                                                                                                                                                                       1        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                          Doc 1   Filed 08/28/19                Page 33 of 83
 D e b to r 1                                                                                                                                             C ase num ber
                           Gail S. Andre                                                                                                                                  ( if known)




                    Additional Page if Y ou H ave M ore Contracts or L eases

                   Person or company with whom you have the contract or lease                                                               State what the contract or lease is for
                                              N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e
    2 .5
               Na m e


               Num be r               S tre e t


               C ity                                                                 S ta te                         Z IP C o d e




O ffic ia l F o rm 1 0 6 G                                                        Schedule G: Executory Contracts and Unexpired Leases                                                               Page           of
                                                                                                                                                                                                                2        2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1            Filed 08/28/19                      Page 34 of 83

 Fill in this information to identify your case:

 D e b to r 1
                                           Gail S. Andre
                                           F irs t N a m e                                         M id d le N a m e                  La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )                F irs t N a m e                                         M id d le N a m e                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                                  M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                       C h e c k if th is is a n
                                                                                                                                                                                                       a m e n d e d filin g


O f f ic ia l F o rm 1 0 6 H
Schedule H : Y our Codebtors                                                                                                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. I f two married people are filing
together, both are equally responsible for supplying correct information. I f more space is needed, copy the A dditional Page, fill it out, and number the entries
in the boxes on the left. Attach the A dditional Page to this page. On the top of any A dditional Pages, write your name and case number (if known). Answer
every question.

          1. Do you have any codebtors? (If y o u a re f ilin g a j o in t c a s e , d o n o t lis t e ith e r s p o u s e a s a c o d e b to r.

               No
               Y es

          2. W ithin the last 8 years, have you lived in a community property state or territory? ( Community property states and territories in c lu d e A riz o n a ,
          C a lif o rn ia , Id a h o , L o u is ia n a , N e v a d a , N e w M e x ic o , P u e rto R ic o , T e x a s , W a s h in g to n , a n d W is c o n s in .)

               N o . G o to lin e 3 .
               Y e s . D id y o u r s p o u s e , f o rm e r s p o u s e , o r le g a l e q u iv a le n t liv e w ith y o u a t th e tim e ?


     3. I n Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. L ist the person shown in line 2 again as
        a codebtor only if that person is a guarantor or cosigner. M ake sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F
        (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

                      Column 1: Y our codebtor                                                                                                                    Column 2: T he creditor to whom you owe the debt
                      N a m e , N u m b e r, S tre e t, C ity , S ta te a n d Z IP C o d e                                                                        C h e c k a l l s c h e d u le s th a t a p p ly :


      3 .1            Kimberly Andre                                                                                                                                  S c h e d u le D , lin e   2.2
                      1431 Waterview Drive
                                                                                                                                                                    S c h e d u le E /F , lin e
                      Deltona, FL 32738
                                                                                                                                                                    S c h e d u le G
                                                                                                                                                                  Capital One Auto Finance




O f f ic ia l F o rm 1 0 6 H                                                                                                  S c h e d u le H : Y o u r C o d e b to rs                                                      Page 1 of 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                        B e s t C a s e B a n k ru p tc y
                                           Case 6:19-bk-05672-LVV                                   Doc 1               Filed 08/28/19                     Page 35 of 83



 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :

 D e b to r 1
                                          Gail S. Andre
 D e b to r 2
 (S p o u s e , if filin g )


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :     M ID D L E D IS T R IC T O F F L O R ID A

 C a s e num be r                                                                                                                                      C h e c k if th is is :
 (If k n o w n )                                                                                                                                            A n a m e n d e d filin g
                                                                                                                                                             A s u p p le m e n t s h o w in g p o s tp e titio n c h a p te r
                                                                                                                                                             1 3 in c o m e a s o f th e fo llo w in g d a te :
 O ffic ia l F o rm 1 0 6 I                                                                                                                                  MM / DD/ YYYY

 Schedule I: Your Income                                                                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated
and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the
top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:                       Describe Employment

 1.         Fill in your employment
            information.                                                                          Debtor 1                                                      Debtor 2 or non-filing spouse

            If y o u h a v e m o re th a n o n e jo b ,                                                E m p lo y e d                                                E m p lo y e d
                                                               Employment status
            a tta c h a s e p a ra te p a g e w ith                                                    N o t e m p lo y e d                                          N o t e m p lo y e d
            in fo rm a tio n a b o u t a d d itio n a l
            e m p lo y e rs .
                                                               Occupation                         Corp. Paralegal
            In c lu d e p a rt- tim e , s e a s o n a l, o r
            s e lf- e m p lo y e d w o rk .                                                       Lowndes Drosdick Doster Kantor
                                                               Employer's name
                                                                                                  & Reed
            O c c u p a tio n m a y in c lu d e s tu d e n t
                                                               Employer's address
            o r h o m e m a k e r, if it a p p lie s .
                                                                                                  215 North Eola Dr.
                                                                                                  Orlando, FL 32810

                                                               How long employed there?                          Since 11/30/92

 Part 2:                       Give Details About Monthly Income


Estimate monthly income as of the date you file this form. If y o u h a v e n o th in g to re p o rt fo r a n y lin e , w rite $ 0 in th e s p a c e . In c lu d e y o u r n o n - filin g s p o u s e
u n le s s y o u a re s e p a ra te d .

If y o u o r y o u r n o n - filin g s p o u s e h a v e m o re th a n o n e e m p lo y e r, c o m b in e th e in fo rm a tio n fo r a ll e m p lo y e rs fo r th a t p e rs o n o n th e lin e s b e lo w . If y o u n e e d
m o re s p a c e , a tta c h a s e p a ra te s h e e t to th is fo rm .


                                                                                                                                                   For Debtor 1                   For Debtor 2 or
                                                                                                                                                                                  non-filing spouse


            List monthly gross wages, salary, and commissions (b e fo re a ll p a y ro ll d e d u c tio n s ).
 2.                                                                                                                                   2.       $                                  $
            If n o t p a id m o n th ly , c a lc u la te w h a t th e m o n th ly w a g e w o u ld b e .                                                     7,400.00                                     N/A

 3.         Estimate and list monthly overtime pay.                                                                                   3.     +$                                   +$
                                                                                                                                                                    0.00                                  N/A

 4.                                                                                                                                   4.       $                                       $
            Calculate gross Income. A d d lin e 2 + lin e 3 .                                                                                            7,400.00                                     N/A

O ffic ia l F o rm 1 0 6 I                                                                               Schedule I: Your Income                                                                                    pa ge
                                                                                                                                                                                                                             1
                                       Case 6:19-bk-05672-LVV                                            Doc 1               Filed 08/28/19                      Page 36 of 83


 D e b to r 1                                                                                                                                        Ca s e num be r (              )
                Gail S. Andre                                                                                                                                            if known




                                                                                                                                                         For Debtor 1                   For Debtor 2 or
                                                                                                                                                                                        non-filing spouse
         Copy line 4 here                                                                                                                   4.           $                              $
                                                                                                                                                                  7,400.00                                N/A

 5.      List all payroll deductions:
         5a.      Tax, Medicare, and Social Security deductions                                                                             5a.          $                   $
                                                                                                                                                                  1,238.91                                N/A
         5b.      Mandatory contributions for retirement plans                                                                              5b.          $                   $
                                                                                                                                                                      0.00                                N/A
         5c.      Voluntary contributions for retirement plans                                                                              5c.          $                   $
                                                                                                                                                                      0.00                                N/A
         5d.      Required repayments of retirement fund loans                                                                              5d.          $                   $
                                                                                                                                                                    681.66                                N/A
         5e.      Insurance                                                                                                                 5e.          $                   $
                                                                                                                                                                      0.00                                N/A
         5 f.     Domestic support obligations                                                                                              5 f.         $                   $
                                                                                                                                                                      0.00                                N/A
         5g.      Union dues                                                                                                                5g.          $                   $
                                                                                                                                                                      0.00                                N/A
         5h.                                                                                                                                5 h .+       $                 + $
                  Other deductions. S p e c ify :                 Life Ins                                                                                          227.45                                N/A
                                                                                                                                                         $                   $
                  Health Savings Account                                                                                                                             78.96                                N/A
 6.                                                                                                                                         6.           $                              $
         Add the payroll deductions. A d d lin e s 5 a + 5 b + 5 c + 5 d + 5 e + 5 f+ 5 g + 5 h .                                                                 2,226.98                                N/A
 7.                                                                                                                                         7.           $                              $
         Calculate total monthly take-home pay. S u b tra c t lin e 6 fro m lin e 4 .                                                                             5,173.02                                N/A
 8.      List all other income regularly received:
         8a.     Net income from rental property and from operating a business,
                  profession, or farm
                  A tta c h a s ta te m e n t fo r e a c h p ro p e rty a n d b u s in e s s s h o w in g g ro s s
                  re c e ip ts , o rd in a ry a n d n e c e s s a ry b u s in e s s e x p e n s e s , a n d th e to ta l
                  m o n th ly n e t in c o m e .                                                                                            8a.          $                              $
                                                                                                                                                                           0.00                           N/A
         8b.      Interest and dividends                                                                                                    8b.          $                              $
                                                                                                                                                                           0.00                           N/A
         8c.      Family support payments that you, a non-filing spouse, or a dependent
                  regularly receive
                  In c lu d e a lim o n y , s p o u s a l s u p p o rt, c h ild s u p p o rt, m a in te n a n c e , d iv o rc e
                  s e ttle m e n t, a n d p ro p e rty s e ttle m e n t.                                                                    8c.          $                              $
                                                                                                                                                                           0.00                           N/A
         8d.      Unemployment compensation                                                                                                 8d.          $                              $
                                                                                                                                                                           0.00                           N/A
         8e.      Social Security                                                                                                           8e.          $                              $
                                                                                                                                                                           0.00                           N/A
         8 f.     Other government assistance that you regularly receive
                  In c lu d e c a s h a s s is ta n c e a n d th e v a lu e (if k n o w n ) o f a n y n o n - c a s h a s s is ta n c e
                  th a t y o u re c e iv e , s u c h a s fo o d s ta m p s (b e n e fits u n d e r th e S u p p le m e n ta l
                  N u tritio n A s s is ta n c e P ro g ra m ) o r h o u s in g s u b s id ie s .
                  S p e c ify :                                                                                                             8 f.         $                        $
                                                                                                                                                                           0.00                           N/A
         8g.      Pension or retirement income                                                                                              8g.          $                        $
                                                                                                                                                                           0.00                           N/A
         8h.                                                                                                                                8 h .+       $                      + $
                  Other monthly income. S p e c ify :                                                                                                                      0.00                           N/A

 9.                                                                                                                                         9.       $                                  $
         Add all other income. A d d lin e s 8 a + 8 b + 8 c + 8 d + 8 e + 8 f+ 8 g + 8 h .                                                                                0.00                             N/A

 10.                                                                                                                                      10. $
         Calculate monthly income. A d d lin e 7 + lin e 9 .                                                                                                 5,173.02 + $                      N/A = $            5,173.02
         A d d th e e n trie s in lin e 1 0 fo r D e b to r 1 a n d D e b to r 2 o r n o n - filin g s p o u s e .

 1 1 . State all other regular contributions to the expenses that you list in
                                                                                                        Schedule J.
       In c lu d e c o n trib u tio n s fro m a n u n m a rrie d p a rtn e r, m e m b e rs o f y o u r h o u s e h o ld , y o u r d e p e n d e n ts , y o u r ro o m m a te s , a n d
       o th e r frie n d s o r re la tiv e s .
       D o n o t in c lu d e a n y a m o u n ts a lre a d y in c lu d e d in lin e s 2 - 1 0 o r a m o u n ts th a t a re n o t a v a ila b le to p a y e x p e n s e s lis te d in              .
                                                                                                                                                                                       Schedule J
       S p e c ify :                                                                                                                                                                       11.
                                                                                                                                                                                                +$                     0.00




O ffic ia l F o rm 1 0 6 I                                                                                     Schedule I: Your Income                                                                             pa ge
                                                                                                                                                                                                                           2
                                      Case 6:19-bk-05672-LVV                     Doc 1          Filed 08/28/19                Page 37 of 83


 D e b to r 1                                                                                                     Ca s e num be r (              )
                Gail S. Andre                                                                                                         if known


 12.
         Add the amount in the last column of line 10 to the amount in line 11. T h e re s u lt is th e c o m b in e d m o n th ly in c o m e .
         W rite th a t a m o u n t o n th e                      a nd                                                        a n d R e la te d
                                            Summary of Schedules      Statistical Summary of Certain Liabilities                                Data,   12.   $
         if it a p p lie s                                                                                                                                           5,173.02

                                                                                                                                                              Combined
                                                                                                                                                              monthly income
 1 3 . Do you expect an increase or decrease within the year after you file this form?
              No.
                   Y e s . E x p la in :




O ffic ia l F o rm 1 0 6 I                                                           Schedule I: Your Income                                                             pa ge
                                                                                                                                                                                 3
                                         Case 6:19-bk-05672-LVV                                                        Doc 1          Filed 08/28/19                   Page 38 of 83



 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :

 D e b to r 1                                                                                                                                                   C h e c k if th is is :
                                    Gail S. Andre
                                                                                                                                                                        A n a m e n d e d filin g
 D e b to r 2                                                                                                                                                           A s u p p le m e n t s h o w in g p o s tp e titio n c h a p te r
 (S p o u s e , if filin g )                                                                                                                                            1 3 e x p e n s e s a s o f th e fo llo w in g d a te :


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :   M ID D L E D IS T R IC T O F F L O R ID A                                                                MM / DD / YYYY

 Ca s e num be r
 (If k n o w n )




 O ffic ia l F o rm 1 0 6 J
 Schedule J: Your Expenses                                                                                                                                                                                                          12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.

 P a rt 1 :           Describe Your Household
 1.       Is this a joint case?
                N o . G o to lin e 2 .
                Y e s . Does Debtor 2 live in a separate household?

                               No
                               Y e s . D e b to r 2 m u s t file O ffic ia l F o rm 1 0 6 J - 2 ,                                                               o f D e b to r 2 .
                                                                                                             Expenses for Separate Household

 2.       Do you have dependents?                                No

          D o n o t lis t D e b to r 1 a n d                     Yes.      F ill o u t th is in fo rm a tio n fo r                Dependent’s relationship to                Dependent’s                  Does dependent
          D e b to r 2 .                                                   e a c h d e p e n d e n t. . . . . . . . . . . . . .   Debtor 1 or Debtor 2                       age                          live with you?

          D o n o t s ta te th e                                                                                                                                                                               No
          d e p e n d e n ts n a m e s .                                                                                                                                                                       Yes
                                                                                                                                  Grandson                                   12
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
                                                                                                                                  Granddaughter                              13
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
                                                                                                                                  Daughter                                   32
                                                                                                                                                                                                               No
                                                                                                                                                                                                               Yes
 3.       Do your expenses include                                        No
          expenses of people other than                                   Yes
          yourself and your dependents?

 P a rt 2 :           Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of
 a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official
 Form 106I.)                                                                                                                                                                          Your expenses


 4.
          The rental or home ownership expenses for your residence. In c lu d e firs t m o rtg a g e
                                                                                                                                                                4. $
          p a y m e n ts a n d a n y re n t fo r th e g ro u n d o r lo t.                                                                                                                                    1,594.03

O ffic ia l F o rm 1 0 6 J                                                                                  Schedule J: Your Expenses                                                                                              pa ge 1
                                   Case 6:19-bk-05672-LVV                                      Doc 1      Filed 08/28/19                   Page 39 of 83


 D e b to r 1                                                                                                         C a s e n u m b e r (if k n o w n )
                  Gail S. Andre


        If not included in line 4:

        4a.       R e a l e s ta te ta x e s                                                                                  4a.      $
                                                                                                                                                              0.00
        4b.       P ro p e rty , h o m e o w n e r’s , o r re n te r’s in s u ra n c e                                        4b.      $
                                                                                                                                                              0.00
        4c.       H o m e m a in te n a n c e , re p a ir, a n d u p k e e p e x p e n s e s                                  4c.      $
                                                                                                                                                            280.00
        4d.       H o m e o w n e r’s a s s o c ia tio n o r c o n d o m in iu m d u e s                                      4d.      $
                                                                                                                                                             18.00
 5.                                                                                                                            5.      $
        Additional mortgage payments for your residence, s u c h a s h o m e e q u ity lo a n s                                                               0.00




O ffic ia l F o rm 1 0 6 J                                                                Schedule J: Your Expenses                                                  pa ge 2
                                      Case 6:19-bk-05672-LVV                                                  Doc 1                Filed 08/28/19                               Page 40 of 83


 D e b to r 1                                                                                                                                              C a s e n u m b e r (if k n o w n )
                   Gail S. Andre

 6.     Utilities:
        6a.     E le c tric ity , h e a t, n a tu ra l g a s                                                                                                        6a.     $
                                                                                                                                                                                                                             215.00
        6b.     W a te r, s e w e r, g a rb a g e c o lle c tio n                                                                                                   6b.     $
                                                                                                                                                                                                                             348.00
        6c.     T e le p h o n e , c e ll p h o n e , In te rn e t, s a te llite , a n d c a b le s e rv ic e s                                                     6c.     $
                                                                                                                                                                                                                             415.00
        6d.     O th e r. S p e c ify :                                                                                                                             6d.     $
                                                                                                                                                                                                                               0.00
 7.     Food and housekeeping supplies                                                                                                                               7.     $
                                                                                                                                                                                                                             690.00
 8.     Childcare and children’s education costs                                                                                                                      8. $
                                                                                                                                                                                                                             100.00
 9.    Clothing, laundry, and dry cleaning                                                                                                                            9. $
                                                                                                                                                                                                                              50.00
 1 0 . Personal care products and services                                                                                                                          10. $
                                                                                                                                                                                                                              50.00
 1 1 . Medical and dental expenses                                                                                                                                  11. $
                                                                                                                                                                                                                              50.00
 12.
        Transportation. In c lu d e g a s , m a in te n a n c e , b u s o r tra in fa re .
                                                                                                                                                                    12. $
        D o n o t in c lu d e c a r p a y m e n ts .                                                                                                                                                                         200.00
 1 3 . Entertainment, clubs, recreation, newspapers, magazines, and books                                                                                           13. $
                                                                                                                                                                                                                              50.00
 1 4 . Charitable contributions and religious donations                                                                                                             14. $
                                                                                                                                                                                                                              40.00
 1 5 . Insurance.
       D o n o t in c lu d e in s u ra n c e d e d u c te d fro m y o u r p a y o r in c lu d e d in lin e s 4 o r 2 0 .
       1 5 a . L ife in s u ra n c e                                                                                                                              15a.      $
                                                                                                                                                                                                                               0.00
       1 5 b . H e a lth in s u ra n c e                                                                                                                          15b.      $
                                                                                                                                                                                                                               0.00
       1 5 c . V e h ic le in s u ra n c e                                                                                                                        15c.      $
                                                                                                                                                                                                                             273.99
       1 5 d . O th e r in s u ra n c e . S p e c ify :                                                                                                           15d.      $
                                                                                                                                                                                                                               0.00
 16.
       Taxes. D o n o t in c lu d e ta x e s d e d u c te d fro m y o u r p a y o r in c lu d e d in lin e s 4 o r 2 0 .
       S p e c ify :                                                                                                                                                16. $
                                                                                                                                                                                                                                  0.00
 1 7 . Installment or lease payments:
        17a.       C a r p a y m e n ts fo r V e h ic le 1                                                                                                        17a.      $
                                                                                                                                                                                                                             383.35
        17b.       C a r p a y m e n ts fo r V e h ic le 2                                                                                                        17b.      $
                                                                                                                                                                                                                             362.14
        17c.       O th e r. S p e c ify :                                                                                                                        17c.      $
                                                                                                                                                                                                                               0.00
        17d.       O th e r. S p e c ify :                                                                                                                        17d.      $
                                                                                                                                                                                                                               0.00
 1 8 . Your payments of alimony, maintenance, and support that you did not report as deducted
                                                                                                     18. $
       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                                                                                                     0.00
 1 9 . Other payments you make to support others who do not live with you.                               $
                                                                                                                                                                                                                                  0.00
       S p e c ify :                                                                                 19.
 2 0 . Other real property expenses not included in lines 4 or 5 of this form or on
                                                                                      Schedule I: Your Income.
       2 0 a . M o rtg a g e s o n o th e r p ro p e rty                                            20a. $
                                                                                                                                                                                                                                  0.00
       2 0 b . R e a l e s ta te ta x e s                                                           20b. $
                                                                                                                                                                                                                                  0.00
       2 0 c . P ro p e rty , h o m e o w n e r’s , o r re n te r’s in s u ra n c e                 20c. $
                                                                                                                                                                                                                                  0.00
       2 0 d . M a in te n a n c e , re p a ir, a n d u p k e e p e x p e n s e s                   20d. $
                                                                                                                                                                                                                                  0.00
       2 0 e . H o m e o w n e r’s a s s o c ia tio n o r c o n d o m in iu m d u e s               20e. $
                                                                                                                                                                                                                                  0.00
 21.              S  p e c ify :                                                                     21. +$
       Other:                                                                                                                                                                                                                     0.00
 2 2 . Calculate your monthly expenses
       2 2 a . A d d lin e s 4 th ro u g h 2 1 .                                                                                                                                $
                                                                                                                                                                                                                      5,119.51
        2 2 b . C o p y lin e 2 2 (m o n th ly e x p e n s e s fo r D e b to r 2 ), if a n y , fro m O ffic ia l F o rm 1 0 6 J - 2                                             $
        2 2 c . A d d lin e 2 2 a a n d 2 2 b . T h e re s u lt is y o u r m o n th ly e x p e n s e s .                                                                        $
                                                                                                                                                                                                                      5,119.51
 2 3 . Calculate your monthly net income.
       2 3 a . C o p y lin e 1 2                                                         fro m S c h e d u le I.                                                  23a. $
                                  (your combined monthly income)                                                                                                                                                          5,173.02
       2 3 b . C o p y y o u r m o n th ly e x p e n s e s fro m lin e 2 2 c a b o v e .                                                                          2 3 b . -$
                                                                                                                                                                                                                          5,119.51

        23c.       S u b tra c t y o u r m o n th ly e x p e n s e s fro m y o u r m o n th ly in c o m e .
                                                                                                                                                                  23c. $
                   T h e re s u lt is y o u r
                                              monthly net income
                                                                              .                                                                                                                                                 53.51

 2 4 . Do you expect an increase or decrease in your expenses within the year after you file this form?
        F o r e x a m p le , d o y o u e x p e c t to fin is h p a y in g fo r y o u r c a r lo a n w ith in th e y e a r o r d o y o u e x p e c t y o u r m o rtg a g e p a y m e n t to in c re a s e o r d e c re a s e b e c a u s e o f a
        m o d ific a tio n to th e te rm s o f y o u r m o rtg a g e ?
                No.
                Yes.                  E x p la in h e re :


O ffic ia l F o rm 1 0 6 J                                                                           Schedule J: Your Expenses                                                                                                                    pa ge 3
                                                    Case 6:19-bk-05672-LVV                                              Doc 1         Filed 08/28/19                       Page 41 of 83




 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e             La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e             La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                                        C h e c k if th is is a n
                                                                                                                                                                                                        a m e n d e d f ilin g




O f f ic i a l F o rm 1 0 6 D e c
Declaration A bout an I ndividual Debtor's Schedules                                                                                                                                                               12/15


I f two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. M aking a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                              Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                      No

                      Y e s . N a m e o f p e rs o n                                                                                                                     A tta c h
                                                                                                                                                                                     Bankruptcy Petition Preparer s Notice,
                                                                                                                                                                                                        (O ffic ia l F o rm 1 1 9 )
                                                                                                                                                                         Declaration, and Signature


          Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.

            X /s/ Gail S. Andre                                                                                                  X
                                                                                                                                       S ig n a tu re o f D e b to r 2
                   Gail S. Andre
                   S ig n a tu re o f D e b to r 1

                   D a te                                                                                                              D a te
                                  August 28, 2019




O f f ic ia l F o rm 1 0 6 D e c                                                                       Declaration A bout an I ndividual Debtor's Schedules
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                     Doc 1        Filed 08/28/19                    Page 42 of 83




 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                   La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                   La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                              M ID D L E D IS T R IC T O F F L O R ID A


 C a s e num be r
 (if k n o w n )                                                                                                                                                                                               C h e c k if th is is a n
                                                                                                                                                                                                               a m e n d e d filin g



O f f ic ia l F o rm 1 0 7
Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                                                                                                               4/19
Be as complete and accurate as possible. I f two married people are filing together, both are equally responsible for supplying correct information. I f more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). A nswer every question.

 Part 1:               Give Details About Y our M arital Status and W here Y ou L ived Before

1.        W hat is your current marital status?

                    M a rrie d
                    N o t m a rrie d

2.        During the last 3 years, have you lived anywhere other than where you live now?

                    No
                    Y e s . L is t a ll o f th e p la c e s y o u liv e d in th e la s t 3 y e a rs . D o n o t in c lu d e w h e re y o u liv e n o w .

            Debtor 1 Prior Address:                                                                        Dates Debtor 1 lived            Debtor 2 Prior Address:                                                  Dates Debtor 2
                                                                                                           there
                                                                                                                                                                                                                    lived there

3. W ithin the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? ( Community property states and
territories in c l u d e A riz o n a , C a lif o rn ia , Id a h o , L o u is ia n a , N e v a d a , N e w M e x i c o , P u e rto R ic o , T e x a s , W a s h in g to n a n d W is c o n s in .)

                    No
                    Y e s . M a k e s u re y o u f ill o u t Schedule H: Your Codebtors (O f f ic ia l F o rm 1 0 6 H ).


 Part 2                Explain the Sources of Y our I ncome


4.        Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          F ill in th e to ta l a m o u n t o f in c o m e y o u re c e iv e d f ro m a ll j o b s a n d a ll b u s in e s s e s , in c lu d in g p a rt- tim e a c tiv itie s .
          If y o u a re f ilin g a j o in t c a s e a n d y o u h a v e in c o m e th a t y o u re c e iv e to g e th e r, lis t it o n ly o n c e u n d e r D e b to r 1 .

                    No
                    Y e s . F ill in th e d e ta ils .

                                                                                    Debtor 1                                                                          Debtor 2

                                                                                    Sources of income                            Gross income                         Sources of income                              Gross income
                                                                                    C h e c k a ll th a t a p p ly .             (b e fo re d e d u c tio n s a n d   C h e c k a ll th a t a p p ly .               (b e fo re d e d u c tio n s
                                                                                                                                 e x c lu s io n s )                                                                 a n d e x c lu s io n s )

 From January 1 of current year until                                                      W a g e s , c o m m is s io n s ,                                               W a g e s , c o m m is s io n s ,
                                                                                                                                                  $52,039.78
 the date you filed for bankruptcy:                                                 b o n u s e s , tip s                                                             b o n u s e s , tip s

                                                                                           O p e ra tin g a b u s in e s s                                                 O p e ra tin g a b u s in e s s

O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                               page 1

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                     Doc 1         Filed 08/28/19                            Page 43 of 83
 D e b to r 1                                                                                                                                                      C ase num ber
                        Gail S. Andre                                                                                                                                                   ( if known)




                                                                                    Debtor 1                                                                                   Debtor 2

                                                                                    Sources of income                            Gross income                                  Sources of income                                  Gross income
                                                                                    C h e c k a ll th a t a p p ly .             (b e fo re d e d u c tio n s a n d            C h e c k a ll th a t a p p ly .                   (b e fo re d e d u c tio n s
                                                                                                                                 e x c lu s io n s )                                                                              a n d e x c lu s io n s )

 For last calendar year:                                                                   W a g e s , c o m m is s io n s ,                                                        W a g e s , c o m m is s io n s ,
                                                                                                                                                  $84,937.00
 (January 1 to December 31, 2018 )                                                  b o n u s e s , tip s                                                                      b o n u s e s , tip s

                                                                                           O p e ra tin g a b u s in e s s                                                          O p e ra tin g a b u s in e s s


                                                                                           W a g e s , c o m m is s io n s ,                                                        W a g e s , c o m m is s io n s ,
                                                                                                                                                 $-14,477.00
                                                                                    b o n u s e s , tip s                                                                      b o n u s e s , tip s

                                                                                           O p e ra tin g a b u s in e s s                                                          O p e ra tin g a b u s in e s s


 For the calendar year before that:                                                        W a g e s , c o m m is s io n s ,                                                        W a g e s , c o m m is s io n s ,
                                                                                                                                                  $82,693.00
 (January 1 to December 31, 2017 )                                                  b o n u s e s , tip s                                                                      b o n u s e s , tip s

                                                                                           O p e ra tin g a b u s in e s s                                                          O p e ra tin g a b u s in e s s


                                                                                           W a g e s , c o m m is s io n s ,                                                        W a g e s , c o m m is s io n s ,
                                                                                                                                                 $-20,540.00
                                                                                    b o n u s e s , tip s                                                                      b o n u s e s , tip s

                                                                                           O p e ra tin g a b u s in e s s                                                          O p e ra tin g a b u s in e s s



5.        Did you receive any other income during this year or the two previous calendar years?
          In c l u d e in c o m e re g a rd le s s o f w h e th e r th a t in c o m e is ta x a b le . E x a m p le s o f other income a re a lim o n y ; c h ild s u p p o rt; S o c ia l S e c u rity , u n e m p lo y m e n t, a n d o th e r
          p u b lic b e n e f it p a y m e n ts ; p e n s io n s ; re n ta l in c o m e ; in te re s t; d i v id e n d s ; m o n e y c o lle c te d f ro m la w s u i ts ; ro y a ltie s ; a n d g a m b lin g a n d lo tte ry w in n in g s . If y o u a re
          f ilin g a j o in t c a s e a n d y o u h a v e in c o m e th a t y o u re c e iv e d to g e th e r, lis t it o n ly o n c e u n d e r D e b to r 1 .

          L is t e a c h s o u rc e a n d th e g ro s s in c o m e f ro m e a c h s o u rc e s e p a ra te ly . D o n o t in c lu d e in c o m e th a t y o u lis te d in lin e 4 .

                    No
                    Y e s . F ill in th e d e ta ils .

                                                                                    Debtor 1                                                                                   Debtor 2
                                                                                    Sources of income                            Gross income from                             Sources of income                                  Gross income
                                                                                    D e s c rib e b e lo w .                     each source                                   D e s c rib e b e lo w .                           (b e fo re d e d u c tio n s
                                                                                                                                 (b e fo re d e d u c tio n s a n d                                                               a n d e x c lu s io n s )
                                                                                                                                 e x c lu s io n s )

 For last calendar year:                                                            IRA Distribution                                              $16,536.00
 (January 1 to December 31, 2018 )


 Part 3:               L ist Certain Payments Y ou M ade Before Y ou Filed for Bankruptcy

6.        A re either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
                N o . Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts a re d e f in e d in 1 1 U .S .C . § 1 0 1 (8 ) a s “ in c u rre d b y a n in d iv id u a l
                       p rim a rily f o r a p e rs o n a l, f a m ily , o r h o u s e h o ld p u rp o s e .”

                                 D u rin g th e 9 0 d a y s b e f o re y o u f ile d f o r b a n k ru p tc y , d id y o u p a y a n y c re d ito r a to ta l o f $ 6 ,8 2 5 * o r m o re ?
                                          No.             G o to lin e 7 .
                                          Y es        L is t b e lo w e a c h c re d ito r to w h o m y o u p a id a to ta l o f $ 6 ,8 2 5 * o r m o re in o n e o r m o re p a y m e n ts a n d th e to ta l a m o u n t y o u p a id th a t
                                                      c re d ito r. D o n o t in c l u d e p a y m e n ts f o r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d a lim o n y . A ls o , d o n o t in c l u d e p a y m e n ts
                                                      to a n a tto rn e y f o r th is b a n k ru p tc y c a s e .
                                   * S u b j e c t to a d j u s tm e n t o n 4 /0 1 /2 2 a n d e v e ry 3 y e a rs a f te r th a t f o r c a s e s f ile d o n o r a f te r th e d a te o f a d j u s tm e n t.




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                             page 2

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                 Doc 1                Filed 08/28/19                            Page 44 of 83
 D e b to r 1                                                                                                                                                         C ase num ber
                        Gail S. Andre                                                                                                                                                      ( if known)




                    Y es.        Debtor 1 or Debtor 2 or both have primarily consumer debts.
                                 D u rin g th e 9 0 d a y s b e f o re y o u f ile d f o r b a n k ru p tc y , d id y o u p a y a n y c re d ito r a to ta l o f $ 6 0 0 o r m o re ?

                                          No.             G o to lin e 7 .
                                          Y es            L is t b e lo w e a c h c re d ito r to w h o m y o u p a id a to ta l o f $ 6 0 0 o r m o re a n d th e to ta l a m o u n t y o u p a id th a t c re d ito r. D o n o t in c lu d e
                                                          p a y m e n ts f o r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d a lim o n y . A ls o , d o n o t in c lu d e p a y m e n ts to a n a tto rn e y f o r th is
                                                          b a n k ru p tc y c a s e .



            Creditor's Name and Address                                                                    Dates of payment                       Total amount                     Amount you                 Was this payment for ...
                                                                                                                                                                paid                      still owe
                                                                                                                                                                                                                    M o rtg a g e
            Specialized Loan Servicing                                                                     June, July & August                       $3,928.35                  $198,680.00
            8742 Lucent Blvd., Suite 300                                                                   2019                                                                                                     Car
            Highland Ranch, CO 80129                                                                                                                                                                                C re d it C a rd
                                                                                                                                                                                                                    Loa n R e pa ym e nt
                                                                                                                                                                                                                    S u p p lie rs o r v e n d o rs
                                                                                                                                                                                                                    O th e r


                                                                                                                                                                                                                    M o rtg a g e
            Suntrust Bank                                                                                  June, July & August                          $853.74                   $40,549.00
            Attn: Bankruptcy                                                                               2019                                                                                                     Car
            Mail Code VA-RVW-6290 PO Box                                                                                                                                                                            C re d it C a rd
            85092
                                                                                                                                                                                                                    Loa n R e pa ym e nt
            Richmon, VA 23286
                                                                                                                                                                                                                    S u p p lie rs o r v e n d o rs
                                                                                                                                                                                                                    O th e r


                                                                                                                                                                                                                    M o rtg a g e
            Capital One Auto Finance                                                                       June, July & August                       $1,150.05                    $15,263.00
            Attn: Bankruptcy                                                                               2019                                                                                                     Car
            Po Box 30285                                                                                                                                                                                            C re d it C a rd
            Salt Lake City, UT 84130
                                                                                                                                                                                                                    Loa n R e pa ym e nt
                                                                                                                                                                                                                    S u p p lie rs o r v e n d o rs
                                                                                                                                                                                                                    O th e r


                                                                                                                                                                                                                    M o rtg a g e
            Capital One Auto Finance                                                                       June, July & August                       $1,086.42                       $4,794.00
            Po Box 259407                                                                                  2019                                                                                                     Car
            Plano, TX 75025                                                                                                                                                                                         C re d it C a rd
                                                                                                                                                                                                                    Loa n R e pa ym e nt
                                                                                                                                                                                                                    S u p p lie rs o r v e n d o rs
                                                                                                                                                                                                                    O th e r



7.        Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
                      in c lu d e y o u r re la tiv e s ; a n y g e n e ra l p a rtn e rs ; re la tiv e s o f a n y g e n e ra l p a rtn e rs ; p a rtn e rs h ip s o f w h ic h y o u a re a g e n e ra l p a rtn e r; c o rp o ra tio n s
          Insiders
          o f w h ic h y o u a re a n o ffic e r, d ire c to r, p e rs o n in c o n tro l, o r o w n e r o f 2 0 % o r m o re o f th e ir v o tin g s e c u ritie s ; a n d a n y m a n a g in g a g e n t, in c lu d in g o n e fo r
          a b u s in e s s y o u o p e ra te a s a s o le p ro p rie to r. 1 1 U . S . C . § 1 0 1 . In c lu d e p a y m e n ts fo r d o m e s tic s u p p o rt o b lig a tio n s , s u c h a s c h ild s u p p o rt a n d
          a lim o n y .


                    No
                    Y e s . L is t a ll p a y m e n ts to a n in s id e r.

            Insider's Name and Address                                                                     Dates of payment                       Total amount                     Amount you                 Reason for this payment
                                                                                                                                                                paid                      still owe

O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                               page 3

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                Doc 1        Filed 08/28/19                     Page 45 of 83
 D e b to r 1                                                                                                                                         C ase num ber
                        Gail S. Andre                                                                                                                                     ( if known)




8.        Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
          In c lu d e p a y m e n ts o n d e b ts g u a ra n te e d o r c o s ig n e d b y a n in s id e r.


                    No
                    Y e s . L is t a ll p a y m e n ts to a n in s id e r

            Insider's Name and Address                                                                     Dates of payment             Total amount               Amount you                Reason for this payment
                                                                                                                                                   paid                  still owe           In c lu d e c re d ito r's n a m e


 Part 4:               I dentify L egal A ctions, Repossessions, and Foreclosures

9.        Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          L is t a ll s u c h m a tte rs , in c lu d in g p e rs o n a l in ju ry c a s e s , s m a ll c la im s a c tio n s , d iv o rc e s , c o lle c tio n s u its , p a te rn ity a c tio n s , s u p p o rt o r c u s to d y
          m o d ific a tio n s , a n d c o n tra c t d is p u te s .


                    No
                    Y e s . F ill in th e d e ta ils .

            Case title                                                                                     Nature of the case         Court or agency                                        Status of the case
            Case number

            Wells Fargo Bank NA vs. Gail S. Andre                                                          Collection                 Volusia County                                               P e n d in g
            2019-12548-CODL                                                                                                           Deland, FL 32724                                             On appeal
                                                                                                                                                                                                   C o nc lud e d



1 0 . Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      C h e c k a ll th a t a p p ly a n d fill in th e d e ta ils b e lo w .


                    N o . G o to lin e 1 1 .
                    Y e s . F ill in th e in fo rm a tio n b e lo w .

            Creditor Name and Address                                                                      Describe the Property                                                 Date                                           Value of the
                                                                                                                                                                                                                                        property
                                                                                                           Explain what happened

11.       W ithin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
          refuse to make a payment because you owed a debt?
               No
               Y e s . F ill in th e d e ta ils .

            Creditor Name and Address                                                                      Describe the action the creditor took                                 Date action was                                         Amount
                                                                                                                                                                                 taken

1 2 . Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
      receiver, a custodian, or another official?

                    No
                    Yes




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                            page 4

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                     Doc 1              Filed 08/28/19                            Page 46 of 83
 D e b to r 1                                                                                                                                                          C ase num ber
                        Gail S. Andre                                                                                                                                                       ( if known)




 Part 5:               L ist Certain Gifts and Contributions

13.       W ithin 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Y e s . F ill in th e d e ta ils f o r e a c h g if t.

            Gifts with a total value of more than $600 per                                                      Describe the gifts                                                                Dates you gave                             Value
            person                                                                                                                                                                                the gifts


            Person to Whom You Gave the Gift and
            Address:

1 4 . Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Y e s . F ill in th e d e ta ils f o r e a c h g if t o r c o n trib u tio n .

            Gifts or contributions to charities that total more                                                 Describe what you contributed                                                     Dates you                                  Value
            than $600                                                                                                                                                                             contributed
            Charity's Name
            Address (Number, Street, City, State and ZI P Code)

 Part 6:               L ist Certain L osses

15.       W ithin 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

                    No
                    Y e s . F ill in th e d e ta ils .

            Describe the property you lost and how                                                 Describe any insurance coverage for the loss                                                   Date of your loss    Value of property
            the loss occurred                                                                      In c lu d e th e a m o u n t th a t in s u ra n c e h a s p a id . L is t p e n d in g                                                        lost
                                                                                                   in s u ra n c e c la im s o n lin e 3 3 o f
                                                                                                                                                 Schedule A/B: Property.

 Part 7:               L ist Certain Payments or T ransfers

16.       W ithin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
          seeking bankruptcy or preparing a bankruptcy petition?
          In c l u d e a n y a tto rn e y s , b a n k ru p tc y p e titio n p re p a re rs , o r c re d it c o u n s e lin g a g e n c ie s f o r s e rv ic e s re q u ire d in y o u r b a n k ru p tc y .

                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Was Paid                                                                                 Description and value of any property                                             Date payment or     Amount of payment
            Address                                                                                             transferred                                                                       transfer was
            Email or website address                                                                                                                                                              made
            Person Who Made the Payment, if Not You

            Sheryl S Zust PA                                                                                    Attorney Fees- $1900                                                              July 2019                       $1,900.00
            4649 Clyde Morris Blvd.                                                                             Filing Fee- $335
            Suite 610                                                                                           Credit Report- $40
            Port Orange, FL 32129




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                            page 5

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                             B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                    Doc 1    Filed 08/28/19                        Page 47 of 83
 D e b to r 1                                                                                                                                              C ase num ber
                        Gail S. Andre                                                                                                                                         ( if known)




17.       W ithin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help
          you deal with your creditors or to make payments to your creditors?
          D o n o t in c lu d e a n y p a y m e n t o r tra n s f e r th a t y o u lis te d o n lin e 1 6 .

                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Was Paid                                                                                 Description and value of any property                               Date payment or                     Amount of payment
            Address                                                                                             transferred                                                         transfer was
                                                                                                                                                                                    made

18.       W ithin 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
          ordinary course of your business or financial affairs?
          In c lu d e b o th o u trig h t tra n s f e rs a n d tra n s f e rs m a d e a s s e c u rity (s u c h a s th e g ra n tin g o f a s e c u rity in te re s t o r m o rtg a g e o n y o u r p ro p e rty ). D o n o t in c lu d e g if ts a n d
          tra n s f e rs th a t y o u h a v e a lre a d y lis te d o n th is s ta te m e n t.
                    No
                    Y e s . F ill in th e d e ta ils .

            Person Who Received Transfer                                                                        Description and value of property               Describe any property or                               Date transfer was
                                                                                                                transferred                                     payments received or debts
            Address                                                                                                                                                                                                    made
                                                                                                                                                                paid in exchange

            Person's relationship to you

1 9 . Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
      (T h e s e a re o fte n c a lle d                            )
                                          asset-protection devices.
              No
              Y e s . F ill in th e d e ta ils .

            Name of trust                                                                                       Description and value of the property transferred                                                      Date Transfer was
                                                                                                                                                                                                                       made

 Part 8:               L ist of Certain Financial A ccounts, I nstruments, Safe Deposit Boxes, and Storage Units

20.       W ithin 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
          transferred?
          I nclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
          funds, cooperatives, associations, and other financial institutions.
                No
                    Yes. Fill in the details.

            Name of Financial Institution and Address                                                      Last 4 digits of           Type of account or                    Date account was                            Last balance before
            (Number, Street, City, State and ZI P Code)                                                    account number             instrument                            closed, sold, moved,                          closing or transfer
                                                                                                                                                                            or transferred
                                                                                                           XXXX-                         C h e c k in g
            Wells Fargo                                                                                                                                                                                                                          $0.00
                                                                                                                                         S a v in g s
                                                                                                                                         M o n e y M a rk e t
                                                                                                                                         B ro k e ra g e
                                                                                                                                         O th e r




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                                                 page 6

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                  Doc 1             Filed 08/28/19              Page 48 of 83
 D e b to r 1                                                                                                                                             C ase num ber
                        Gail S. Andre                                                                                                                                     ( if known)




2 1 . Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
      valuables?


                    No
                    Yes. Fill in the details.

            Name of Financial Institution                                                                      Who else had access to it?                 Describe the contents                   Do you still have
            Address (Number, Street, City, State and ZI P Code)                                                Address (Number, Street, City, State                                               it?
                                                                                                               and ZI P Code)


2 2 . Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


                    No
                    Yes. Fill in the details.

            Name of Storage Facility                                                                           Who else has or had access to              Describe the contents                   Do you still have
            Address (Number, Street, City, State and ZI P Code)                                                it?                                                                                it?
                                                                                                               Address (Number, Street, City, State
                                                                                                               and ZI P Code)


 Part 9:               I dentify Property Y ou H old or Control for Someone Else

23.       Do you hold or control any property that someone else owns? I nclude any property you borrowed from, are storing for, or hold in trust for someone.

                    No
                    Y es. Fill in the details.
            Owner's Name                                                                                       Where is the property? (Number,            Describe the property                                        Value
            Address (Number, Street, City, State and ZI P Code)                                                Street, City, State and ZI P Code)



 Part 10:              Give Details About Environmental I nformation


For the purpose of Part 10, the following definitions apply:


          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
          substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
          cleanup of these substances, wastes, or material.

          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own,
          operate, or utilize it, including disposal sites.

          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
          pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


                    No
                    Y es. Fill in the details.
            Name of site                                                                                       Governmental unit                              Environmental law, if you know it   Date of notice
            Address (Number, Street, City, State and ZI P Code)                                                Address (Number, Street, City, State and
                                                                                                               ZI P Code)




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                      page 7

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                       B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                   Doc 1         Filed 08/28/19                  Page 49 of 83
 D e b to r 1                                                                                                                                              C ase num ber
                        Gail S. Andre                                                                                                                                      ( if known)




25. Have you notified any governmental unit of any release of hazardous material?


                    No
                    Yes. Fill in the details.

            Name of site                                                                                        Governmental unit                              Environmental law, if you know it     Date of notice
            Address (Number, Street, City, State and ZI P Code)                                                 Address (Number, Street, City, State and
                                                                                                                ZI P Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


                    No
                    Yes. Fill in the details.

            Case Title                                                                                          Court or agency                            Nature of the case                        Status of the
            Case Number                                                                                         Name                                                                                 case
                                                                                                                Address (Number, Street, City, State
                                                                                                                and ZI P Code)


 Part 11:              Give Details A bout Y our Business or Connections to A ny Business


27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                          A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                          A member of a limited liability company (LLC) or limited liability partnership (LLP)

                          A partner in a partnership

                          An officer, director, or managing executive of a corporation

                          An owner of at least 5% of the voting or equity securities of a corporation

                    No. None of the above applies. Go to Part 12.

                    Yes. Check all that apply above and fill in the details below for each business.

            Business Name                                                                                  Describe the nature of the business                  Employer Identification number
            Address                                                                                                                                             Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZI P Code)                                                    Name of accountant or bookkeeper
                                                                                                                                                                Dates business existed

            Keitmo LLC                                                                                     Online Retail.                                       EIN:
            1431 Waterview Drive
            Deltona, FL 32738                                                                                                                                   From-To
                                                                                                                                                                                 05/23/17-12/31/18


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
          creditors, or other parties.


                    No
                    Yes. Fill in the details below.

            Name                                                                                           Date Issued
            Address
            (Number, Street, City, State and ZI P Code)


 Part 12:              Sign Below


I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and

O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                         page 8

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                             Doc 1          Filed 08/28/19                   Page 50 of 83
 D e b to r 1                                                                                                                                         C ase num ber
                        Gail S. Andre                                                                                                                                   ( if known)




correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 /s/ Gail S. Andre
 Gail S. Andre                                                                                                  Signature of Debtor 2
 Signature of Debtor 1

 Date            August 28, 2019                                                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
      Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
      Y e s . N a m e o f P e rs o n                            . A tta c h th e                                                                                       (O ffic ia l F o rm 1 1 9 ).
                                                                                         Bankruptcy Petition Preparer's Notice, Declaration, and Signature




O f f ic ia l F o rm 1 0 7                                                                     Statement of Financial Affairs for I ndividuals Filing for Bankruptcy                                                         page 9

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                          B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                             Doc 1               Filed 08/28/19                   Page 51 of 83


 Fill in this information to identify your case:

 D e b to r 1
                                          Gail S. Andre
                                          F irs t N a m e                                          M id d le N a m e                  La s t Na m e

 D e b to r 2
 (S p o u s e if, filin g )               F irs t N a m e                                          M id d le N a m e                  La s t Na m e


 U n ite d S ta te s B a n k ru p tc y C o u rt f o r th e :                             M ID D L E D IS T R IC T O F F L O R ID A

 C ase num ber
 (if k n o w n )                                                                                                                                                                            C h e c k if th is is a n
                                                                                                                                                                                            a m e n d e d f ilin g



O f f ic ia l F o rm 1 0 8
Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                                                                                     12/15


I f you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
Y ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is
          earlier, unless the court extends the time for cause. Y ou must also send copies to the creditors and lessors you list on the form

I f two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
           form.

Be as complete and accurate as possible. I f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
         and case number (if known).

 P a rt 1 :           L ist Y our Creditors W ho Have Secured Claims

1 . For any creditors that you listed in Part 1 of Schedule D: Creditors W ho H ave Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral        W hat do you intend to do with the property that         Did you claim the property as
                                                                      secures a debt?                                          exempt on Schedule C?



      C re d ito r's
                                Capital One Auto Finance                                                               S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es
      D e s c rip tio n o f
                                        2014 Honda CR-V 143,000 miles                                                   Agreement.
      p ro p e rty                      VIN No.: 2HKRM3H31EH540057                                                     R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:



      C re d ito r's
                                Capital One Auto Finance                                                               S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es
      D e s c rip tio n o f
                                        2011 Nissan Altima 108,000 miles                                                Agreement.
      p ro p e rty                      VIN No.: 1N4AL2AP4BC156519                                                     R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:



      C re d ito r's
                                Specialized Loan Servicing                                                             S u rre n d e r th e p ro p e rty .                                No
      nam e:                                                                                                            R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                       R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation   Y es


O f f ic ia l F o rm 1 0 8                                                                  Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                    pag e 1

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                         Doc 1              Filed 08/28/19                        Page 52 of 83


 D e b to r 1                                                                                                                                               C ase num ber
                        Gail S. Andre                                                                                                                                       ( if known)



      D e s c rip tio n o f                                                                                        Agreement.
                                        1431 Waterview Drive Deltona, FL
      p ro p e rty                                                                                                R e ta in th e p ro p e rty a n d [e x p la in ]:
                                        32738 Volusia County
      s e c u rin g d e b t:



      C re d ito r's
                                Suntrust Bank                                                                     S u rre n d e r th e p ro p e rty .                                               No
      nam e:                                                                                                       R e ta in th e p ro p e rty a n d re d e e m it.
                                                                                                                  R e ta in th e p ro p e rty a n d e n te r in to a Reaffirmation                  Y es
      D e s c rip tio n o f
                                        1431 Waterview Drive Deltona, FL                                           Agreement.
      p ro p e rty                      32738 Volusia County                                                      R e ta in th e p ro p e rty a n d [e x p la in ]:
      s e c u rin g d e b t:


 P a rt 2 : L ist Y our Unexpired Personal Property L eases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired L eases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                                                                         W ill the lease be assumed?

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 L e s s o r's n a m e :                                                                                                                                                                     No
 D e s c rip tio n o f le a s e d
 P ro p e rty :                                                                                                                                                                              Y es

 P a rt 3 :           Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that is
subject to an unexpired lease.

 X          /s/ Gail S. Andre                                                                                                  X
                                                                                                                                     S ig n a tu re o f D e b to r 2
            Gail S. Andre

O f f ic ia l F o rm 1 0 8                                                                  Statement of I ntention for I ndividuals Filing Under Chapter 7                                                                        pag e 2

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                         Doc 1            Filed 08/28/19            Page 53 of 83


 D e b to r 1                                                                                                                                 C ase num ber
                        Gail S. Andre                                                                                                                         ( if known)



            S ig n a tu re o f D e b to r 1


            D a te                                                                                                         D a te
                                August 28, 2019




O f f ic ia l F o rm 1 0 8                                                                  Statement of I ntention for I ndividuals Filing Under Chapter 7                                        pag e 3

S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                   Doc 1    Filed 08/28/19                          Page 54 of 83


 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :                                                                                 C h e c k o n e b o x o n ly a s d ire c te d in th is fo rm a n d in F o rm
                                                                                                                                                  1 2 2 A -1 S u p p :
 D e b to r 1
                                   Gail S. Andre
 D e b to r 2                                                                                                                                               1 . T h e re is n o p re s u m p tio n o f a b u s e
 (S p o u s e , if filin g )
                                                                                                                                                            2 . T h e c a lc u la tio n to d e te rm in e if a p re s u m p tio n o f a b u s e
 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                           M id d le D is tric t o f F lo rid a                                       a p p lie s w ill b e m a d e u n d e r
                                                                                                                                                                                                          Chapter 7 Means Test
                                                                                                                                                                                     (O ffic ia l F o rm 1 2 2 A - 2 ).
 C a s e num be r                                                                                                                                                Calculation
 (if k n o w n )                                                                                                                                            3 . T h e M e a n s T e s t d o e s n o t a p p ly n o w b e c a u s e o f
                                                                                                                                                                 q u a lifie d m ilita ry s e rv ic e b u t it c o u ld a p p ly la te r.

                                                                                                                                                            C h e c k if th is is a n a m e n d e d filin g

O ffic ia l F o rm 1 2 2 A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case number (if known). If you
believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military service, complete and file
Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:                   Calculate Your Current Monthly Income

    1 . What is your marital and filing status? C h e c k o n e o n ly .

          Not married. F ill o u t C o lu m n A , lin e s 2 - 1 1 .

                   Married and your spouse is filing with you. F ill o u t b o th C o lu m n s A a n d B , lin e s 2 - 1 1 .
                   Married and your spouse is NOT filing with you. You and your spouse are:

                        Living in the same household and are not legally separated. F ill o u t b o th C o lu m n s A a n d B , lin e s 2 - 1 1 .

                        Living separately or are legally separated. F ill o u t C o lu m n A , lin e s 2 - 1 1 ; d o n o t fill o u t C o lu m n B . B y c h e c k in g th is b o x , y o u d e c la re u n d e r
                         p e n a lty o f p e rju ry th a t y o u a n d y o u r s p o u s e a re le g a lly s e p a ra te d u n d e r n o n b a n k ru p tc y la w th a t a p p lie s o r th a t y o u a n d y o u r s p o u s e a re
                         liv in g a p a rt fo r re a s o n s th a t d o n o t in c lu d e e v a d in g th e M e a n s T e s t re q u ire m e n ts . 1 1 U . S . C § 7 0 7 (b )(7 )(B ).

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 1 1 U . S . C . § 1 0 1 (1 0 A ). F o r
      e x a m p le , if y o u a re filin g o n S e p te m b e r 1 5 , th e 6 - m o n th p e rio d w o u ld b e M a rc h 1 th ro u g h A u g u s t 3 1 . If th e a m o u n t o f y o u r m o n th ly in c o m e v a rie d d u rin g th e 6 m o n th s ,
      a d d th e in c o m e fo r a ll 6 m o n th s a n d d iv id e th e to ta l b y 6 . F ill in th e re s u lt. D o n o t in c lu d e a n y in c o m e a m o u n t m o re th a n o n c e . F o r e x a m p le , if b o th s p o u s e s o w n th e
      s a m e re n ta l p ro p e rty , p u t th e in c o m e fro m th a t p ro p e rty in o n e c o lu m n o n ly . If y o u h a v e n o th in g to re p o rt fo r a n y lin e , w rite $ 0 in th e s p a c e .

                                                                                                                                                        Column A                              Column B
                                                                                                                                                        Debtor 1                              Debtor 2 or
                                                                                                                                                                                              non-filing spouse
    2 . Your gross wages, salary, tips, bonuses, overtime, and commissions (b e fo re a ll
                                                                                                                                                        $                                     $
        p a y ro ll d e d u c tio n s ).                                                                                                                               7,400.00
    3 . Alimony and maintenance payments. D o n o t in c lu d e p a y m e n ts fro m a s p o u s e if
                                                                                                                                                        $                                     $
        C o lu m n B is fille d in .                                                                                                                                           0.00
    4 . All amounts from any source which are regularly paid for household expenses of you

        or your dependents, including child support. In c lu d e re g u la r c o n trib u tio n s fro m a n
        u n m a rrie d p a rtn e r, m e m b e rs o f y o u r h o u s e h o ld , y o u r d e p e n d e n ts , p a re n ts , a n d
        ro o m m a te s . In c lu d e re g u la r c o n trib u tio n s fro m a s p o u s e o n ly if C o lu m n B is n o t fille d
                                                                                                                                                        $                                     $
            in . D o n o t in c lu d e p a y m e n ts y o u lis te d o n lin e 3 .                                                                                             0.00
    5 . Net income from operating a business, profession, or farm
                                                                                                                                Debtor 1
                                                                                                                      $
            G ro s s re c e ip ts (b e fo re a ll d e d u c tio n s )                                                         0.00
            O rd in a ry a n d n e c e s s a ry o p e ra tin g e x p e n s e s                                       -$       0.00
                                                                                                                                                                                              $
            N e t m o n th ly in c o m e fro m a b u s in e s s , p ro fe s s io n , o r fa rm $                              0.00   Copy here -> $                            0.00
   6 . Net income from rental and other real property
O ffic ia l F o rm 1 2 2 A - 1                     Chapter 7 Statement of Your Current Monthly Income                                                                                                                                         page 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                              Doc 1    Filed 08/28/19                      Page 55 of 83
 D e b to r 1                                                                                                                                    Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                  if known


                                                                                                                           Debtor 1
                                                                                                                    $
            G ro s s re c e ip ts (b e fo re a ll d e d u c tio n s )                                                    0.00
            O rd in a ry a n d n e c e s s a ry o p e ra tin g e x p e n s e s                                  -$       0.00
                                                                                                                                                                                    $
            N e t m o n th ly in c o m e fro m re n ta l o r o th e r re a l p ro p e rty                       $        0.00   Copy here -> $                        0.00
                                                                                                                                             $                                      $
    7 . Interest, dividends, and royalties                                                                                                                            0.00




O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                                page 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                            B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                          Doc 1       Filed 08/28/19                        Page 56 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known




                                                                                                                                              Column A                               Column B
                                                                                                                                              Debtor 1                               Debtor 2 or
                                                                                                                                                                                     non-filing spouse
    8 . Unemployment compensation                                                                                                             $                                      $
                                                                                                                                                                       0.00
        D o n o t e n te r th e a m o u n t if y o u c o n te n d th a t th e a m o u n t re c e iv e d w a s a b e n e fit
        u n d e r th e S o c ia l S e c u rity A c t. In s te a d , lis t it h e re :
                 F or you                                                                                      $
                                                                                                                                 0.00
                 F or your s pous e                                                                            $

    9 . Pension or retirement income. D o n o t in c lu d e a n y a m o u n t re c e iv e d th a t w a s a
                                                                                                                                              $                                      $
        b e n e fit u n d e r th e S o c ia l S e c u rity A c t.                                                                                                      0.00
    1 0 . Income from all other sources not listed above. S p e c ify th e s o u rc e a n d a m o u n t. D o
          n o t in c lu d e a n y b e n e fits re c e iv e d u n d e r th e S o c ia l S e c u rity A c t o r p a y m e n ts re c e iv e d
          a s a v ic tim o f a w a r c rim e , a c rim e a g a in s t h u m a n ity , o r in te rn a tio n a l o r d o m e s tic
          te rro ris m . If n e c e s s a ry , lis t o th e r s o u rc e s o n a s e p a ra te p a g e a n d p u t th e to ta l b e lo w .
                         .                                                                                                                    $                                      $
                                                                                                                                                                       0.00
                                                                                                                                              $                                      $
                                                                                                                                                                       0.00
                              T o ta l a m o u n ts fro m s e p a ra te p a g e s , if a n y .                                           +    $
                                                                                                                                                                       0.00          $

    1 1 . Calculate your total current monthly income. A d d lin e s 2 th ro u g h 1 0 fo r e a c h
                                                                                                                                     $                                +   $                        =    $
          c o lu m n . T h e n a d d th e to ta l fo r C o lu m n A to th e to ta l fo r C o lu m n B .                                      7,400.00                                                            7,400.00

                                                                                                                                                                                                        Total current monthly
                                                                                                                                                                                                        income

 Part 2:                  Determine Whether the Means Test Applies to You

    1 2 . Calculate your current monthly income for the year. F o llo w th e s e s te p s :

            1 2 a . C o p y y o u r to ta l c u rre n t m o n th ly in c o m e fro m lin e 1 1                                                                                                      $
                                                                                                                                                         Copy line 11 here=>                                     7,400.00


                                                                                                                                                                                                            x 12
                      M u ltip ly b y 1 2 (th e n u m b e r o f m o n th s in a y e a r)

            1 2 b . T h e re s u lt is y o u r a n n u a l in c o m e fo r th is p a rt o f th e fo rm                                                                                      12b. $            88,800.00

    1 3 . Calculate the median family income that applies to you. F o llo w th e s e s te p s :

            F ill in th e s ta te in w h ic h y o u liv e .
                                                                                                                      FL

            F ill in th e n u m b e r o f p e o p le in y o u r h o u s e h o ld .
                                                                                                                       4
            F ill in th e m e d ia n fa m ily in c o m e fo r y o u r s ta te a n d s iz e o f h o u s e h o ld .                                                                           13.     $         78,833.00
            T o fin d a lis t o f a p p lic a b le m e d ia n in c o m e a m o u n ts , g o o n lin e u s in g th e lin k s p e c ifie d in th e s e p a ra te in s tru c tio n s
            fo r th is fo rm . T h is lis t m a y a ls o b e a v a ila b le a t th e b a n k ru p tc y c le rk ’s o ffic e .

    1 4 . How do the lines compare?
          14a.         L in e 1 2 b is le s s th a n o r e q u a l to lin e 1 3 . O n th e to p o f p a g e 1 , c h e c k b o x 1 ,
                                                                                                                                                  There is no presumption of abuse.
                                     G o to P a rt 3 .
            14b.                     L in e 1 2 b is m o re th a n lin e 1 3 . O n th e to p o f p a g e 1 , c h e c k b o x 2 ,
                                                                                                                                    The presumption of abuse is determined by Form 122A-2.
                                     G o to P a rt 3 a n d fill o u t F o rm 1 2 2 A - 2 .

 Part 3:                  Sign Below
                      B y s ig n in g h e re , I d e c la re u n d e r p e n a lty o f p e rju ry th a t th e in fo rm a tio n o n th is s ta te m e n t a n d in a n y a tta c h m e n ts is tru e a n d c o rre c t.


                    X /s/ Gail S. Andre
                             Gail S. Andre
O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                                                      page 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                          Doc 1       Filed 08/28/19                   Page 57 of 83
 D e b to r 1                                                                                                                                Ca s e num be r (              )
                      Gail S. Andre                                                                                                                              if known

                           S ig n a tu re o f D e b to r 1
                D a te
                           August 28, 2019
                           MM / DD / YYYY
                      If y o u c h e c k e d lin e 1 4 a , d o N O T fill o u t o r file F o rm 1 2 2 A - 2 .

                      If y o u c h e c k e d lin e 1 4 b , fill o u t F o rm 1 2 2 A - 2 a n d file it w ith th is fo rm .




O ffic ia l F o rm 1 2 2 A - 1                                                                      Chapter 7 Statement of Your Current Monthly Income                                         page 4
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                    Doc 1         Filed 08/28/19                Page 58 of 83


 F ill in th is in fo rm a tio n to id e n tify y o u r c a s e :                                                                                                      C h e c k th e a p p ro p ria te b o x a s d ire c te d in
                                                                                                                                                                       lin e s 4 0 o r 4 2 :
 D e b to r 1
                                   Gail S. Andre
                                                                                                                                                                          A c c o rd in g to th e c a lc u la tio n s re q u ire d b y th is
 D e b to r 2                                                                                                                                                             S ta te m e n t:
 (S p o u s e , if filin g )
                                                                                                                                                                              1 . T h e re is n o p re s u m p tio n o f a b u s e .
 U n ite d S ta te s B a n k ru p tc y C o u rt fo r th e :                           M id d le D is tric t o f F lo rid a

                                                                                                                                                                              2 . T h e re is a p re s u m p tio n o f a b u s e .
 C a s e num be r
 (if k n o w n )
                                                                                                                                                                          C h e c k if th is is a n a m e n d e d filin g

O ffic ia l F o rm 1 2 2 A - 2
Chapter 7 Means Test Calculation                                                                                                                                                                                                            04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages, write your
name and case number (if known).


 Part 1:                  Determine Your Adjusted Income


 1.                                                                                                                                                                                                     $
            Copy your total current monthly income.                                                                          Copy line 11 from Official Form 122A-1 here=>. . . . . . . .                                     7,400.00

 2.         Did you fill out Column B in Part 1 of Form 122A-1?
               N o . F ill in $ 0 fo r th e to ta l o n lin e 3 .
                  Y e s . Is y o u r s p o u s e F ilin g w ith y o u ?
                       No.                G o to lin e 3 .
                       Yes.               F ill in $ 0 fo r th e to ta l o n lin e 3 .


 3.         Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
            household expenses of you or your dependents. F o llo w th e s e s te p s :

            O n lin e 1 1 , C o lu m n B o f F o rm 1 2 2 A –1 , w a s a n y a m o u n t o f th e in c o m e y o u re p o rte d fo r y o u r s p o u s e N O T re g u la rly u s e d fo r th e h o u s e h o ld
            e x p e n s e s o f y o u o r y o u r d e p e n d e n ts ?


                  No.        F ill in 0 fo r th e to ta l o n lin e 3 .
                  Y e s . F ill in th e in fo rm a tio n b e lo w :



                        State each purpose for which the income was used                                                                               Fill in the amount you
                        F o r e x a m p le , th e in c o m e is u s e d to p a y y o u r s p o u s e 's ta x d e b t o r to                            are subtracting from
                        s u p p o rt o th e r th a n y o u o r y o u r d e p e n d e n ts .                                                            your spouse's income
                                                                                                                                                   $


                                                                                                                                                   $


                                                                                                                                                   $



O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                                                      page 1
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 59 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known


                                   Total.                                                                                              $                   0.00

                                                                                                                                                                         Copy total here=>...   -$                    0.00



                                                                                                                                                                                                $
 4.         Adjust your current monthly income. S u b tra c t lin e 3 fro m lin e 1 .                                                                                                                  7,400.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                                  page 2
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                     Doc 1           Filed 08/28/19                         Page 60 of 83
 D e b to r 1                                                                                                                                                     Ca s e num be r (              )
                        Gail S. Andre                                                                                                                                                 if known




 Part 2:                  Calculate Your Deductions from Your Income


      The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer
      the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
      information may also be available at the bankruptcy clerk's office.

      D e d u c t th e e x p e n s e a m o u n ts s e t o u t in lin e s 6 - 1 5 re g a rd le s s o f y o u r a c tu a l e x p e n s e . In la te r p a rts o f th e fo rm , y o u w ill u s e s o m e o f
      y o u r a c tu a l e x p e n s e s if th e y a re h ig h e r th a n th e s ta n d a rd s . D o n o t d e d u c t a n y a m o u n ts th a t y o u s u b tra c te d fro y o u r s p o u s e 's
      in c o m e in lin e 3 a n d d o n o t d e d u c t a n y o p e ra tin g e x p e n s e s th a t y o u s u b tra c te d fro m in in c o m e in lin e s 5 a n d 6 o f fo rm 1 2 2 A - 1 .

      If y o u r e x p e n s e s d iffe r fro m m o n th to m o n th , e n te r th e a v e ra g e e x p e n s e .

      W h e n e v e r th is p a rt o f th e fro m re fe rs to                                     it m e a n s b o th y o u a n d y o u r s p o u s e if C o lu m n B o f F o rm 1 2 2 A - 1 is fille d in .
                                                                                       you,


      5.         The number of people used in determining your deductions from income

                 F ill in th e n u m b e r o f p e o p le w h o c o u ld b e c la im e d a s e x e m p tio n s o n y o u r fe d e ra l in c o m e ta x re tu rn ,
                 p lu s th e n u m b e r o f a n y a d d itio n a l d e p e n d e n ts w h o m y o u s u p p o rt. T h is n u m b e r m a y b e d iffe re n t fro m
                                                                                                                                                                                                               4
                 th e n u m b e r o f p e o p le in y o u r h o u s e h o ld .




      National Standards Y o u m u s t u s e th e IR S N a tio n a l S ta n d a rd s to a n s w e r th e q u e s tio n s in lin e s 6 - 7 .



      6.         Food, clothing, and other items: U s in g th e n u m b e r o f p e o p le y o u e n te re d in lin e 5 a n d th e IR S N a tio n a l S ta n d a rd s ,
                                                                                                                                                                                                                   $
                 fill in th e d o lla r a m o u n t fo r fo o d , c lo th in g , a n d o th e r ite m s .                                                                                                                     1,786.00


      7.         Out-of-pocket health care allowance: U s in g th e n u m b e r o f p e o p le y o u e n te re d in lin e 5 a n d th e IR S N a tio n a l S ta n d a rd s , fill in
                 th e d o lla r a m o u n t fo r o u t- o f- p o c k e t h e a lth c a re . T h e n u m b e r o f p e o p le is s p lit in to tw o c a te g o rie s - - p e o p le w h o a re u n d e r 6 5 a n d
                 p e o p le w h o a re 6 5 o r o ld e r- - b e c a u s e o ld e r p e o p le h a v e a h ig h e r IR S a llo w a n c e fo r h e a lth c a re c o s ts . If y o u r a c tu a l e x p e n s e s a re
                 h ig h e r th a n th is IR S a m o u n t, y o u m a y d e d u c t th e a d d itio n a l a m o u n t o n lin e 2 2 .




      People who are under 65 years of age


                 7 a . O u t- o f- p o c k e t h e a lth c a re a llo w a n c e p e r p e rs o n                           $
                                                                                                                                          55.00
                 7 b . N u m b e r o f p e o p le w h o a re u n d e r 6 5                                                 X
                                                                                                                                           4

                 7c.                                                                                                       $                                                               $
                           Subtotal. M u ltip ly lin e 7 a b y lin e 7 b .                                                              220.00                     Copy here=>                        220.00



      People who are 65 years of age or older


                 7 d . O u t- o f- p o c k e t h e a lth c a re a llo w a n c e p e r p e rs o n                           $
                                                                                                                                        114.00
                 7 e . N u m b e r o f p e o p le w h o a re 6 5 o r o ld e r                                              X
                                                                                                                                           0

                 7 f.                                                                                                      $                                                              +$
                           Subtotal. M u ltip ly lin e 7 d b y lin e 7 e .                                                                  0.00                   Copy here=>                            0.00



O ffic ia l F o rm 1 2 2 A - 2                                                                                   Chapter 7 Means Test Calculation                                                                                  page 3
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                           B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 61 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known



                 7 g . T otal. A d d lin e 7 c a n d lin e 7 f                                                                         $                                             Copy total here=> $
                                                                                                                                                  220.00                                                         220.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                                        page 4
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                               B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                           Doc 1                    Filed 08/28/19                       Page 62 of 83
 D e b to r 1                                                                                                                                                                 Ca s e num be r (                )
                      Gail S. Andre                                                                                                                                                               if known



      Local Standards                          Y o u m u s t u s e th e IR S L o c a l S ta n d a rd s to a n s w e r th e q u e s tio n s in lin e s 8 - 1 5 .


      Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
      purposes into two parts:


             Housing and utilities - Insurance and operating expenses
             Housing and utilities - Mortgage or rent expenses


      To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

      T o fin d th e c h a rt, g o o n lin e u s in g th e lin k s p e c ifie d in th e s e p a ra te in s tru c tio n s fo r th is fo rm .
      T h is c h a rt m a y a ls o b e a v a ila b le a t th e b a n k ru p tc y c le rk 's o ffic e .



      8.         Housing and utilities - Insurance and operating expenses: U s in g th e n u m b e r o f p e o p le y o u e n te re d in lin e 5 , fill in
                                                                                                                                                                                                                                    $
                 th e d o lla r a m o u n t lis te d fo r y o u r c o u n ty fo r in s u ra n c e a n d o p e ra tin g e x p e n s e s . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  624.00

      9.         Housing and utilities - Mortgage or rent expenses:

                 9 a . U s in g th e n u m b e r o f p e o p le y o u e n te re d in lin e 5 , fill in th e d o lla r a m o u n t
                                                                                                                                                                                                           $
                       lis te d fo r y o u r c o u n ty fo r m o rtg a g e o r re n t e x p e n s e s . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             1,141.00

                 9 b . T o ta l a v e ra g e m o n th ly p a y m e n t fo r a ll m o rtg a g e s a n d o th e r d e b ts s e c u re d b y y o u r h o m e .

                           T o c a lc u la te th e to ta l a v e ra g e m o n th ly p a y m e n t, a d d a ll a m o u n ts th a t a re
                           c o n tra c tu a lly d u e to e a c h s e c u re d c re d ito r in th e 6 0 m o n th s a fte r y o u file
                           fo r b a n k ru p tc y . T h e n d iv id e b y 6 0 .


                           N a m e o f th e c re d ito r                                                                                   A v e ra g e m o n th ly
                                                                                                                                           pa ym e nt

                                                                                                                                           $
                           Specialized Loan Servicing                                                                                                          1,309.45
                                                                                                                                           $
                           Suntrust Bank                                                                                                                           284.58


                                                                                                                                                                                                                                          R e p e a t th is
                                                                                                                                                                                Copy                                                      a m ount on
                                                                    T o ta l a v e ra g e m o n th ly p a y m e n t                        $                                    here=>               -$
                                                                                                                                                               1,594.03                                                   1,594.03        lin e 3 3 a .


                 9c.       N e t m o rtg a g e o r re n t e x p e n s e .

                           S u b tra c t lin e 9 b (                                             ) fro m lin e 9 a
                                                     total average monthly payment
                           (                                    ). If th is a m o u n t is le s s th a n $ 0 , e n te r $ 0 .                                                                                                    Copy
                             mortgage or rent expense                                                                                                                               $
                           ........................                                                                                                                                                                0.00          here=>     $
                                                                                                                                                                                                                                                                      0.00


      1 0 . If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects the
                                                                                                                                                                                                                                           $
            calculation of your monthly expenses, fill in any additional amount you claim.                                                                                                                                                                            0.00

                   E x p la in w h y :


      1 1 . Local transportation expenses: C h e c k th e n u m b e r o f v e h ic le s fo r w h ic h y o u c la im a n o w n e rs h ip o r o p e ra tin g e x p e n s e .




O ffic ia l F o rm 1 2 2 A - 2                                                                                       Chapter 7 Means Test Calculation                                                                                                            page 5
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                         B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 63 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known


                       0 . G o to lin e 1 4 .

                       1 . G o to lin e 1 2 .

                       2 o r m o re . G o to lin e 1 2 .



      1 2 . Vehicle operation expense: U s in g th e IR S L o c a l S ta n d a rd s a n d th e n u m b e r o f v e h ic le s fo r w h ic h y o u c la im th e
                                                                                                                                                                                      $
            o p e ra tin g e x p e n s e s , fill in th e
                                                          Operating Costs
                                                                          th a t a p p ly fo r y o u r C e n s u s re g io n o r m e tro p o lita n s ta tis tic a l a re a .                        420.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                       page 6
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                                  Doc 1                      Filed 08/28/19                                    Page 64 of 83
 D e b to r 1                                                                                                                                                                                        Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                                                                      if known




      1 3 . Vehicle ownership or lease expense: U s in g th e IR S L o c a l S ta n d a rd s , c a lc u la te th e n e t o w n e rs h ip o r le a s e e x p e n s e fo r e a c h v e h ic le b e lo w . Y o u
            m a y n o t c la im th e e x p e n s e if y o u d o n o t m a k e a n y lo a n o r le a s e p a y m e n ts o n th e v e h ic le . In a d d itio n , y o u m a y n o t c la im th e e x p e n s e fo r m o re
            th a n tw o v e h ic le s .



         Vehicle 1                   Describe Vehicle 1:
                                                                                     2014 Honda CR-V 143,000 miles VIN No.: 2HKRM3H31EH540057

      1 3 a . O w n e rs h ip o r le a s in g c o s ts u s in g IR S L o c a l S ta n d a rd . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            $
                                                                                                                                                                                                                             508.00
      1 3 b . A v e ra g e m o n th ly p a y m e n t fo r a ll d e b ts s e c u re d b y V e h ic le 1 .
                 D o n o t in c lu d e c o s ts fo r le a s e d v e h ic le s .

                 T o c a lc u la te th e a v e ra g e m o n th ly p a y m e n t h e re a n d o n lin e 1 3 e , a d d a ll a m o u n ts th a t
                 a re c o n tra c tu a lly d u e to e a c h s e c u re d c re d ito r in th e 6 0 m o n th s a fte r y o u file d fo r
                 b a n k ru p tc y . T h e n d iv id e b y 6 0 .


                           Name of each creditor for Vehicle 1                                                                                    Average monthly
                                                                                                                                                  payment

                                                                                                                                                  $
                           Capital One Auto Finance                                                                                                                         255.70

                                                                                                                                                                                                                                                      R e p e a t th is
                                                                                                                                                                                                      Copy
                                                                     T o ta l A v e ra g e M o n th ly P a y m e n t                              $                                                                                                   a m ount on
                                                                                                                                                                                                                     -$
                                                                                                                                                                            255.70                    here =>                           255.70        lin e 3 3 b .




                                                                                                                                                                                                                                                Copy net
      1 3 c . N e t V e h ic le 1 o w n e rs h ip o r le a s e e x p e n s e
                                                                                                                                                                                                                                                Vehicle 1
                 S u b tra c t lin e 1 3 b fro m lin e 1 3 a . if th is a m o u n t is le s s th a n $ 0 , e n te r $ 0 .                                                                                                                       expense
                                                                                                                                                                                                            $
                                                                                                                                                                                                                             252.30             here =>
                                                                                                                                                                                                                                                               $                     252.30




         Vehicle 2                   Describe Vehicle 2:
                                                                                     2011 Nissan Altima 108,000 miles VIN No.: 1N4AL2AP4BC156519

      1 3 d . O w n e rs h ip o r le a s in g c o s ts u s in g IR S L o c a l S ta n d a rd . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          $
                                                                                                                                                                                                                             508.00
      1 3 e . A v e ra g e m o n th ly p a y m e n t fo r a ll d e b ts s e c u re d b y V e h ic le 2 . D o n o t in c lu d e c o s ts fo r
              le a s e d v e h ic le s .


                           Name of each creditor for Vehicle 2                                                                                    Average monthly
                                                                                                                                                  payment

                                                                                                                                                  $
                           Capital One Auto Finance                                                                                                                            72.43

                                                                                                                                                                                                      Copy
                                                                                                                                                                                                                                                 R e p e a t th is
                                                                                                                                                                                                      here =>                                    a m ount on
                                                                     T o ta l A v e ra g e M o n th ly P a y m e n t                              $
                                                                                                                                                                               72.43                  -$                                72.43    lin e 3 3 c .




                                                                                                                                                                                                                                                Copy net
      1 3 f. N e t V e h ic le 2 o w n e rs h ip o r le a s e e x p e n s e
                                                                                                                                                                                                                                                Vehicle 2
                 S u b tra c t lin e 1 3 e fro m lin e 1 3 d . if th is a m o u n t is le s s th a n $ 0 , e n te r $ 0 . . . . . . . . . . . . . . . . . . . . . . .                                                                           expense
                                                                                                                                                                                                            $
                                                                                                                                                                                                                             435.57             here =>
                                                                                                                                                                                                                                                               $                     435.57


O ffic ia l F o rm 1 2 2 A - 2                                                                                             Chapter 7 Means Test Calculation                                                                                                                           page 7
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 65 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known




      1 4 . Public transportation expense: If y o u c la im e d 0 v e h ic le s in lin e 1 1 , u s in g th e IR S L o c a l S ta n d a rd s , fill in th e
                                                                                                                                                           Public                           $
            Transportation
                             e x p e n s e a llo w a n c e re g a rd le s s o f w h e th e r y o u u s e p u b lic tra n s p o rta tio n .                                                                       0.00

      1 5 . Additional public transportation expense: If y o u c la im e d 1 o r m o re v e h ic le s in lin e 1 1 a n d if y o u c la im th a t y o u m a y a ls o
            d e d u c t a p u b lic tra n s p o rta tio n e x p e n s e , y o u m a y fill in w h a t y o u b e lie v e is th e a p p ro p ria te e x p e n s e , b u t y o u m a y n o t
                                                                                                                                                                                            $
            c la im m o re th a n th e IR S L o c a l S ta n d a rd fo r
                                                                                Public Transportation
                                                                                                                  .                                                                                              0.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                             page 8
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                    B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                             Doc 1              Filed 08/28/19                          Page 66 of 83
 D e b to r 1                                                                                                                                                 Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                               if known




      Other Necessary Expenses                                           In a d d itio n to th e e x p e n s e d e d u c tio n s lis te d a b o v e , y o u a re a llo w e d y o u r m o n th ly e x p e n s e s fo r
                                                                         th e fo llo w in g IR S c a te g o rie s .


      1 6 . Taxes: T h e to ta l m o n th ly a m o u n t th a t y o u w ill a c tu a lly o w e fo r fe d e ra l, s ta te a n d lo c a l ta x e s , s u c h a s in c o m e ta x e s ,
            s e lf- e m p lo y m e n t ta x e s , s o c ia l s e c u rity ta x e s , a n d M e d ic a re ta x e s . Y o u m a y in c lu d e th e m o n th ly a m o u n t w ith h e ld fro m
            y o u r p a y fo r th e s e ta x e s . H o w e v e r, if y o u e x p e c t to re c e iv e a ta x re fu n d , y o u m u s t d iv id e th e e x p e c te d re fu n d b y 1 2
            a n d s u b tra c t th a t n u m b e r fro m th e to ta l m o n th ly a m o u n t th a t is w ith h e ld to p a y fo r ta x e s .
                                                                                                                                                                                                                       $
                 D o n o t in c lu d e re a l e s ta te , s a le s , o r u s e ta x e s .                                                                                                                                         1,238.91

      1 7 . Involuntary deductions: T h e to ta l m o n th ly p a y ro ll d e d u c tio n s th a t y o u r jo b re q u ire s , s u c h a s re tire m e n t c o n trib u tio n s ,
            u n io n d u e s , a n d u n ifo rm c o s ts .
                                                                                                                                                                                                                       $
                 D o n o t in c lu d e a m o u n ts th a t a re n o t re q u ire d b y y o u r jo b , s u c h a s v o lu n ta ry 4 0 1 (k ) c o n trib u tio n s o r p a y ro ll s a v in g s .                                             0.00

      1 8 . Life Insurance: T h e to ta l m o n th ly p re m iu m s th a t y o u p a y fo r y o u r o w n te rm life in s u ra n c e . If tw o m a rrie d p e o p le a re
            filin g to g e th e r, in c lu d e p a y m e n ts th a t y o u m a k e fo r y o u r s p o u s e 's te rm life in s u ra n c e . D o n o t in c lu d e p re m iu m s fo r life
            in s u ra n c e o n y o u r d e p e n d e n ts , fo r a n o n - filin g s p o u s e 's life in s u ra n c e , o r fo r a n y fo rm o f life in s u ra n c e o th e r th a n
                                                                                                                                                                                                                       $
            te rm .                                                                                                                                                                                                                   113.73

      1 9 . Court-ordered payments: T h e to ta l m o n th ly a m o u n t th a t y o u p a y a s re q u ire d b y th e o rd e r o f a c o u rt o r a d m in is tra tiv e
            a g e n c y , s u c h a s s p o u s a l o r c h ild s u p p o rt p a y m e n ts .
                                                                                                                                                                                                                       $
                 D o n o t in c lu d e p a y m e n ts o n p a s t d u e o b lig a tio n s fo r s p o u s a l o r c h ild s u p p o rt. Y o u w ill lis t th e s e o b lig a tio n s in lin e 3 5 .                                          0.00

      2 0 . Education: T h e to ta l m o n th ly a m o u n t th a t y o u p a y fo r e d u c a tio n th a t is e ith e r re q u ire d :
              a s a c o n d itio n fo r y o u r jo b , o r
                       fo r y o u r p h y s ic a lly o r m e n ta lly c h a lle n g e d d e p e n d e n t c h ild if n o p u b lic e d u c a tio n is a v a ila b le fo r s im ila r s e rv ic e s .                   $
                                                                                                                                                                                                                                            0.00

      2 1 . Childcare: T h e to ta l m o n th ly a m o u n t th a t y o u p a y fo r c h ild c a re , s u c h a s b a b y s ittin g , d a y c a re , n u rs e ry , a n d p re s c h o o l.
                                                                                                                                                                                                                       $
            D o n o t in c lu d e p a y m e n ts fo r a n y e le m e n ta ry o r s e c o n d a ry s c h o o l e d u c a tio n .                                                                                                             0.00

      2 2 . Additional health care expenses, excluding insurance costs: T h e m o n th ly a m o u n t th a t y o u p a y fo r h e a lth c a re th a t is
            re q u ire d fo r th e h e a lth a n d w e lfa re o f y o u o r y o u r d e p e n d e n ts a n d th a t is n o t re im b u rs e d b y in s u ra n c e o r p a id b y a
            h e a lth s a v in g s a c c o u n t. In c lu d e o n ly th e a m o u n t th a t is m o re th a n th e to ta l e n te re d in lin e 7 .
                                                                                                                                                                                                                       $
                 P a y m e n ts fo r h e a lth in s u ra n c e o r h e a lth s a v in g s a c c o u n ts s h o u ld b e lis te d o n ly in lin e 2 5 .                                                                                      0.00

      2 3 . Optional telephone and telephone services: T h e to ta l m o n th ly a m o u n t th a t y o u p a y fo r te le c o m m u n ic a tio n s e rv ic e s fo r
            y o u a n d y o u r d e p e n d e n ts , s u c h a s p a g e rs , c a ll w a itin g , c a lle r id e n tific a tio n , s p e c ia l lo n g d is ta n c e , o r b u s in e s s c e ll
            p h o n e s e rv ic e , to th e e x te n t n e c e s s a ry fo r y o u r h e a lth a n d w e lfa re o r th a t o f y o u r d e p e n d e n ts o r fo r th e p ro d u c tio n o f
            in c o m e , if it is n o t re im b u rs e d b y y o u r e m p lo y e r.
                 D o n o t in c lu d e p a y m e n ts fo r b a s ic h o m e te le p h o n e , in te rn e t a n d c e ll p h o n e s e rv ic e . D o n o t in c lu d e s e lf- e m p lo y m e n t
                 e x p e n s e s , s u c h a s th o s e re p o rte d o n lin e 5 o f O ffic ia l F o rm 1 2 2 A - 1 , o r a n y a m o u n t y o u p re v io u s ly d e d u c te d .                               +$                     25.00



                                                                                                                                                                                                                   $
      2 4 . Add all of the expenses allowed under the IRS expense allowances.                                                                                                                                                5,115.51
            A d d lin e s 6 th ro u g h 2 3 .




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                                                        page 9
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                               B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                      Doc 1            Filed 08/28/19                          Page 67 of 83
 D e b to r 1                                                                                                                                                        Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                                      if known




      Additional Expense Deductions                                                T h e s e a re a d d itio n a l d e d u c tio n s a llo w e d b y th e M e a n s T e s t.

                                                                                              : D o n o t in c lu d e a n y e x p e n s e a llo w a n c e s lis te d in lin e s 6 - 2 4 .
                                                                                   Note
      2 5 . Health insurance, disability insurance, and health savings account expenses. T h e m o n th ly e x p e n s e s fo r h e a lth in s u ra n c e ,
            d is a b ility in s u ra n c e , a n d h e a lth s a v in g s a c c o u n ts th a t a re re a s o n a b ly n e c e s s a ry fo r y o u rs e lf, y o u r s p o u s e , o r y o u r
            d e p e n d e n ts .

                 H e a lth in s u ra n c e                                                                                  $
                                                                                                                                             0.00
                 D is a b ility in s u ra n c e                                                                             $
                                                                                                                                             0.00
                 H e a lth s a v in g s a c c o u n t                                                                   +$                 78.96


                 T o ta l                                                                                                   $                                                                            $
                                                                                                                                             78.96             Copy total here=>                                               78.96


                 D o y o u a c tu a lly s p e n d th is to ta l a m o u n t?

                                N o . H o w m u c h d o y o u a c tu a lly s p e n d ?
                                Yes                                                                                         $

      2 6 . Continued contributions to the care of household or family members. T h e a c tu a l m o n th ly e x p e n s e s th a t y o u w ill
            c o n tin u e to p a y fo r th e re a s o n a b le a n d n e c e s s a ry c a re a n d s u p p o rt o f a n e ld e rly , c h ro n ic a lly ill, o r d is a b le d m e m b e r o f
            y o u r h o u s e h o ld o r m e m b e r o f y o u r im m e d ia te fa m ily w h o is u n a b le to p a y fo r s u c h e x p e n s e s . T h e s e e x p e n s e s m a y
                                                                                                                                                                                                             $
            in c lu d e c o n trib u tio n s to a n a c c o u n t o f a q u a lifie d A B L E p ro g ra m . 2 6 U . S . C . § 5 2 9 A (b ).                                                                                       0.00
      2 7 . Protection against family violence. T h e re a s o n a b ly n e c e s s a ry m o n th ly e x p e n s e s th a t y o u in c u r to m a in ta in th e s a fe ty o f
            y o u a n d y o u r fa m ily u n d e r th e F a m ily V io le n c e P re v e n tio n a n d S e rv ic e s A c t o r o th e r fe d e ra l la w s th a t a p p ly .

                                                                                                                                                                                                             $
                 B y la w , th e c o u rt m u s t k e e p th e n a tu re o f th e s e e x p e n s e s c o n fid e n tia l.                                                                                                        0.00
      2 8 . Additional home energy costs. Y o u r h o m e e n e rg y c o s ts a re in c lu d e d in y o u r in s u ra n c e a n d o p e ra tin g e x p e n s e s o n lin e
            8.

                 If y o u b e lie v e th a t y o u h a v e h o m e e n e rg y c o s ts th a t a re m o re th a n th e h o m e e n e rg y c o s ts in c lu d e d in e x p e n s e s o n lin e
                 8 , th e n fill in th e e x c e s s a m o u n t o f h o m e e n e rg y c o s ts .

                 Y o u m u s t g iv e y o u r c a s e tru s te e d o c u m e n ta tio n o f y o u r a c tu a l e x p e n s e s , a n d y o u m u s t s h o w th a t th e a d d itio n a l
                                                                                                                                                                                                             $
                 a m o u n t c la im e d is re a s o n a b le a n d n e c e s s a ry .                                                                                                                                            0.00
      2 9 . Education expenses for dependent children who are younger than 18. T h e m o n th ly e x p e n s e s (n o t m o re th a n $ 1 7 0 . 8 3 *
            p e r c h ild ) th a t y o u p a y fo r y o u r d e p e n d e n t c h ild re n w h o a re y o u n g e r th a n 1 8 y e a rs o ld to a tte n d a p riv a te o r p u b lic
            e le m e n ta ry o r s e c o n d a ry s c h o o l.

                 Y o u m u s t g iv e y o u r c a s e tru s te e d o c u m e n ta tio n o f y o u r a c tu a l e x p e n s e s , a n d y o u m u s t e x p la in w h y th e a m o u n t
                 c la im e d is re a s o n a b le a n d n e c e s s a ry a n d n o t a lre a d y a c c o u n te d fo r in lin e s 6 - 2 3 .

                                                                                                                                                                                                             $
                 * S u b je c t to a d ju s tm e n t o n 4 /0 1 /2 2 , a n d e v e ry 3 y e a rs a fte r th a t fo r c a s e s b e g u n o n o r a fte r th e d a te o f a d ju s tm e n t.                                       0.00
      3 0 . Additional food and clothing expense. T h e m o n th ly a m o u n t b y w h ic h y o u r a c tu a l fo o d a n d c lo th in g e x p e n s e s a re h ig h e r
            th a n th e c o m b in e d fo o d a n d c lo th in g a llo w a n c e s in th e IR S N a tio n a l S ta n d a rd s . T h a t a m o u n t c a n n o t b e m o re th a n 5 %
            o f th e fo o d a n d c lo th in g a llo w a n c e s in th e IR S N a tio n a l S ta n d a rd s .

                 T o fin d a c h a rt s h o w in g th e m a x im u m a d d itio n a l a llo w a n c e , g o o n lin e u s in g th e lin k s p e c ifie d in th e s e p a ra te
                 in s tru c tio n s fo r th is fo rm . T h is c h a rt m a y a ls o b e a v a ila b le a t th e b a n k ru p tc y c le rk 's o ffic e .

                                                                                                                                                                                                             $
                 Y o u m u s t s h o w th a t th e a d d itio n a l a m o u n t c la im e d is re a s o n a b le a n d n e c e s s a ry .                                                                                         0.00
      3 1 . Continuing charitable contributions. T h e a m o u n t th a t y o u w ill c o n tin u e to c o n trib u te in th e fo rm o f c a s h o r fin a n c ia l
                                                                                                                                                                                                         +$
            in s tru m e n ts to a re lig io u s o r c h a rita b le o rg a n iz a tio n . 2 6 U .S . C . § 1 7 0 (c )(1 )- (2 ).                                                                                              40.00

O ffic ia l F o rm 1 2 2 A - 2                                                                                   Chapter 7 Means Test Calculation                                                                            page 10
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 68 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known




                                                                                                                                                                                      $
      3 2 . Add all of the additional expense deductions.                                                                                                                                       118.96
            A d d lin e s 2 5 th ro u g h 3 1 .




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                       page 11
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                     Doc 1          Filed 08/28/19                    Page 69 of 83
 D e b to r 1                                                                                                                                               Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                             if known




      Deductions for Debt Payment

      3 3 . For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and
            other secured debt, fill in lines 33a through 33e.
                T o c a lc u la te th e to ta l a v e ra g e m o n th ly p a y m e n t, a d d a ll a m o u n ts th a t a re c o n tra c tu a lly d u e to e a c h s e c u re d
                c re d ito r in th e 6 0 m o n th s a fte r y o u file fo r b a n k ru p tc y . T h e n d iv id e b y 6 0 .

                      Mortgages on your home:                                                                                                                                                                   Average monthly
                                                                                                                                                                                                                payment
      33a.            C o p y lin e 9 b h e re                                                                                                                                                                  $
                                                                                                                                                                                                      =>                     1,594.03
                      Loans on your first two vehicles:
      33b.            C o p y lin e 1 3 b h e re                                                                                                                                                                $
                                                                                                                                                                                                      =>                         255.70
      33c.            C o p y lin e 1 3 e h e re                                                                                                                                                                $
                                                                                                                                                                                                      =>                           72.43
      33d.            L is t o th e r s e c u re d d e b ts :

      Name of each creditor for other secured debt                                                             Identify property that secures the debt                           Does payment
                                                                                                                                                                                 include taxes or
                                                                                                                                                                                 insurance?

                                                                                                                                                                                               No

                                                                                                                                                                                               Yes
                   -NONE-                                                                                                                                                                                       $

                                                                                                                                                                                               No

                                                                                                                                                                                               Yes              $

                                                                                                                                                                                               No

                                                                                                                                                                                               Yes
                                                                                                                                                                                                               +$


                                                                                                                                                                                                        Copy
                                                                                                                                                                                                        total
      3 3 e . T o ta l a v e ra g e m o n th ly p a y m e n t. A d d lin e s 3 3 a th ro u g h 3 3 d                                                             $                                                      $
                                                                                                                                                                                   1,922.16             here=>                 1,922.16

      3 4 . Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other
            property necessary for your support or the support of your dependents?
                      No.          G o to lin e 3 5 .
                      Y e s . S ta te a n y a m o u n t th a t y o u m u s t p a y to a c re d ito r, in a d d itio n to th e p a y m e n ts
                                   lis te d in lin e 3 3 , to k e e p p o s s e s s io n o f y o u r p ro p e rty (c a lle d th e            ).
                                                                                                                                  cure amount
                                   N e x t, d iv id e b y 6 0 a n d fill in th e in fo rm a tio n b e lo w .

         Name of the creditor                                                                        Identify property that secures the debt                               Total cure                                   Monthly cure
                                                                                                                                                                           amount                                       amount

                                                                                                                                                                       $                              ÷ 60 =        $
         -NONE-


                                                                                                                                                                                                        Copy
                                                                                                                                                                                                        total
                                                                                                                                                         T o ta l $                                                     $
                                                                                                                                                                                               0.00     here=>                                0.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                       Chapter 7 Means Test Calculation                                                                                    page 12
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                 B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 70 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known


      3 5 . Do you owe any priority claims such as a priority tax, child support, or alimony - that are past

            due as of the filing date of your bankruptcy case? 1 1 U .S . C . § 5 0 7 .
                      No.          G o to lin e 3 6 .
                      Y e s . F ill in th e to ta l a m o u n t o f a ll o f th e s e p rio rity c la im s . D o n o t in c lu d e c u rre n t o r
                                   o n g o in g p rio rity c la im s , s u c h a s th o s e y o u lis te d in lin e 1 9 .
                                     T o ta l a m o u n t o f a ll p a s t- d u e p rio rity c la im s                                                 $
                                                                                                                                                                                     0.00 ÷ 6 0 =   $                    0.00




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                                     page 13
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                            B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                                        Doc 1      Filed 08/28/19                      Page 71 of 83
 D e b to r 1                                                                                                                                               Ca s e num be r (                )
                      Gail S. Andre                                                                                                                                             if known



      3 6 . Are you eligible to file a case under Chapter 13? 1 1 U .S . C . § 1 0 9 (e ).
            F o r m o re in fo rm a tio n , g o o n lin e u s in g th e lin k fo r                               s p e c ifie d in th e s e p a ra te
                                                                                   Bankruptcy Basics
            in s tru c tio n s fo r th is fo rm .                             m a y a ls o b e a v a ila b le a t th e b a n k ru p tc y c le rk 's o ffic e .
                                                  Bankruptcy Basics
                      No.          G o to lin e 3 7 .
                      Y e s . F ill in th e fo llo w in g in fo rm a tio n .

                                   P ro je c te d m o n th ly p la n p a y m e n t if y o u w e re filin g u n d e r C h a p te r 1 3                             $
                                                                                                                                                                                     2,100.00
                                   C u rre n t m u ltip lie r fo r y o u r d is tric t a s s ta te d o n th e lis t is s u e d b y th e
                                   A d m in is tra tiv e O ffic e o f th e U n ite d S ta te s C o u rts (fo r d is tric ts in A la b a m a
                                   a n d N o rth C a ro lin a ) o r b y th e E x e c u tiv e O ffic e fo r U n ite d S ta te s T ru s te e s
                                                                                                                                                                X
                                   (fo r a ll o th e r d is tric ts ).                                                                                                            10.00

                                   T o fin d a lis t o f d is tric t m u ltip lie rs th a t in c lu d e s y o u r d is tric t, g o o n lin e u s in g
                                   th e lin k s p e c ifie d in th e s e p a ra te in s tru c tio n s fo r th is fo rm . T h is lis t m a y a ls o
                                   b e a v a ila b le a t th e b a n k ru p tc y c le rk ’s o ffic e .
                                                                                                                                                                                                          Copy total
                                                                                                                                                                      $                                                  $
                                   A v e ra g e m o n th ly a d m in is tra tiv e e x p e n s e if y o u w e re filin g u n d e r C h a p te r 1 3                                  210.00                here=>                            210.00



                                                                                                                                                                                                                             $
      3 7 . Add all of the deductions for debt payment.                                                                                                                                                                            2,132.16
            A d d lin e s 3 3 e th ro u g h 3 6 .


      Total Deductions from Income

      3 8 . Add all of the allowed deductions.

                 C o p y lin e 2 4 ,
                             All of the expenses allowed under IRS                                                                      $
                 expense allowances                                                                                                                    5,115.51
                 C o p y lin e 3 2 ,                                                                                                    $
                                             All of the additional expense deductions                                                                   118.96
                 C o p y lin e 3 7 ,
                                             All of the deductions for debt payment                                                    +$              2,132.16


                                                                                                          T o ta l d e d u c tio n s    $                                                                                $
                                                                                                                                                       7,366.63           Copy total here. . . . . . . . . . . =>                       7,366.63


 Part 3:                  Determine Whether There is a Presumption of Abuse

      3 9 . Calculate monthly disposable income for 60 months

                 3 9 a . C o p y lin e 4 ,                                                                                              $
                                           adjusted current monthly income                                                                             7,400.00
                 3 9 b . C o p y lin e 3 8 ,
                                             Total deductions                                                                          -$              7,366.63
                 3 9 c . M o n th ly d is p o s a b le in c o m e . 1 1 U .S . C . § 7 0 7 (b )(2 ).                                                                      Copy
                         S u b tra c t lin e 3 9 b fro m lin e 3 9 a                                                                    $                                            $
                                                                                                                                                         33.37            here=>                                        33.37


                 F o r th e n e x t 6 0 m o n th s (5 y e a rs )                                                                                                                                  x 60


                                                                                                                                                                                                 Copy
                 3 9 d . Total. M u ltip ly lin e 3 9 c b y 6 0                                                                             39d.   $                                                                $
                                                                                                                                                                      2,002.20                   here=>                            2,002.20




O ffic ia l F o rm 1 2 2 A - 2                                                                                       Chapter 7 Means Test Calculation                                                                                        page 14
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 72 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known


      4 0 . Find out whether there is a presumption of abuse. C h e c k th e b o x th a t a p p lie s :


                      The line 39d is less than $8,175*. O n th e to p o f p a g e 1 o f th is fo rm , c h e c k b o x 1 , There is no presumption of abuse. G o to P a rt 5 .

                      The line 39d is more than $13,650*. O n th e to p o f p a g e 1 o f th is fo rm , c h e c k b o x 2 , There is a presumption of abuse. Y o u m a y fill o u t
                      P a rt 4 if y o u c la im s p e c ia l c irc u m s ta n c e s . G o to P a rt 5 .


                      The line 39d is at least $8,175*, but not more than $13,650*. G o to lin e 4 1 .

                * S u b je c t to a d ju s tm e n t o n 4 /0 1 /2 2 , a n d e v e ry 3 y e a rs a fte r th a t fo r c a s e s file d o n o r a fte r th e d a te o f a d ju s tm e n t.




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                       page 15
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                         Case 6:19-bk-05672-LVV                                                                                          Doc 1                             Filed 08/28/19                                         Page 73 of 83
 D e b to r 1                                                                                                                                                                                                                                 Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                                                                                                               if known




                      4 1 a . Fill in the amount of your total nonpriority unsecured debt. If y o u fille d o u t
      41.                                                                                                                   A
                              Summary of Your Assets and Liabilities and Certain Statistical
                                                         (O ffic ia l F o rm 1 0 6 S u m ), y o u m a y re fe r to lin e 3 b o n
                              Information Schedules                                                                                                                                                                                                    $
                              th a t fo rm .
                                                                                                                                                                                                                                                           x          .2 5

                                                                                                                                                                                                                                                                                 Copy
                      4 1 b . 25% or your total nonpriority unsecured debt. 1 1 U .S . C . § 7 0 7 (b )(2 )(A )(i)(I)                                                                                                                                  $                                  $
                                                                                                                                                                                                                                                                                 here=>
                                   M u ltip ly lin e 4 1 a b y 0 . 2 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


      4 2 . Determine whether the income you have left over after subtracting all allowed deductions is enough to pay 25% of your
            unsecured, nonpriority debt.
            C h e c k th e b o x th a t a p p lie s :


                      Line 39d is less than line 41b. O n th e to p o f p a g e 1 o f th is fo rm , c h e c k b o x 1 , There is no presumption of abuse.
                      G o to P a rt 5 .


                      Line 39d is equal to or more than line 41b. O n th e to p o f p a g e 1 o f th is fo rm , c h e c k b o x 2 , There is a presumption
                                 Y o u m a y fill o u t P a rt 4 if y o u c la im s p e c ia l c irc u m s ta n c e s . T h e n g o to P a rt 5 .
                      of abuse.



 Part 4:                  Give Details About Special Circumstances

 4 3 . Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no reasonable

       alternative? 1 1 U .S . C . § 7 0 7 (b )(2 )(B ).


                 N o . G o to P a rt 5 .


                 Y e s . F ill in th e fo llo w in g in fo rm a tio n . A ll fig u re s s h o u ld re fle c t y o u r a v e ra g e m o n th ly e x p e n s e o r in c o m e a d ju s tm e n t fo r e a c h
                           ite m . Y o u m a y in c lu d e e x p e n s e s y o u lis te d in lin e 2 5 .

                           Y o u m u s t g iv e a d e ta ile d e x p la n a tio n o f th e s p e c ia l c irc u m s ta n c e s th a t m a k e th e e x p e n s e s o r in c o m e a d ju s tm e n ts
                           n e c e s s a ry a n d re a s o n a b le . Y o u m u s t a ls o g iv e y o u r c a s e tru s te e d o c u m e n ta tio n o f y o u r a c tu a l e x p e n s e s o r in c o m e
                           a d ju s tm e n ts .




                             Give a detailed explanation of the special circumstances                                                                                                                                                         Average monthly expense or
                                                                                                                                                                                                                                              income adjustment

                                                                                                                                                                                                                                                   $

                                                                                                                                                                                                                                                   $

                                                                                                                                                                                                                                                   $

                                                                                                                                                                                                                                                   $


 Part 5:                  Sign Below
                      B y s ig n in g h e re , I d e c la re u n d e r p e n a lty o f p e rju ry th a t th e in fo rm a tio n o n th is s ta te m e n t a n d in a n y a tta c h m e n ts is tru e a n d c o rre c t.


                    X /s/ Gail S. Andre
                           Gail S. Andre
O ffic ia l F o rm 1 2 2 A - 2                                                                                                                     Chapter 7 Means Test Calculation                                                                                                                       page 16
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                                                                                                                                  B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                            Doc 1       Filed 08/28/19                      Page 74 of 83
 D e b to r 1                                                                                                                                     Ca s e num be r (              )
                      Gail S. Andre                                                                                                                                   if known

                           S ig n a tu re o f D e b to r 1
                D a te
                           August 28, 2019
                           MM / DD / YYYY




O ffic ia l F o rm 1 2 2 A - 2                                                                                 Chapter 7 Means Test Calculation                                                   page 17
S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                          B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-05672-LVV                                Doc 1   Filed 08/28/19                Page 75 of 83


Notice Required by 11 U.S.C. § 342(b) for
                                  (F o rm 2 0 1 0 )
Individuals Filing for Bankruptcy


                                                                                                                         Chapter 7:                 Liquidation
 This notice is for you if:
                                                                                                                                     $245           filin g fe e
               You are an individual filing for bankruptcy,
               a nd                                                                                                                    $75          a d m in is tra tiv e fe e


               Your debts are primarily consumer debts.                                                                  +             $15      tru s te e s u rc h a rg e
                                            a re d e fin e d in 1 1 U . S . C .
               Consumer debts                                                                                                        $335           to ta l fe e
               § 1 0 1 (8 ) a s “in c u rre d b y a n in d iv id u a l
               p rim a rily fo r a p e rs o n a l, fa m ily , o r                                                        C h a p te r 7 is fo r in d iv id u a ls w h o h a v e fin a n c ia l
               h o u s e h o ld p u rp o s e . ”                                                                         d iffic u lty p re v e n tin g th e m fro m p a y in g th e ir d e b ts
                                                                                                                         a n d w h o a re w illin g to a llo w th e ir n o n e x e m p t
                                                                                                                         p ro p e rty to b e u s e d to p a y th e ir c re d ito rs . T h e
 The types of bankruptcy that are available to individuals                                                               p rim a ry p u rp o s e o f filin g u n d e r c h a p te r 7 is to h a v e
                                                                                                                         y o u r d e b ts d is c h a rg e d . T h e b a n k ru p tc y d is c h a rg e
 In d iv id u a ls w h o m e e t th e q u a lific a tio n s m a y file u n d e r                                         re lie v e s y o u a fte r b a n k ru p tc y fro m h a v in g to p a y
 o n e o f fo u r d iffe re n t c h a p te rs o f B a n k ru p tc y C o d e :                                            m a n y o f y o u r p re - b a n k ru p tc y d e b ts . E x c e p tio n s e x is t
                                                                                                                         fo r p a rtic u la r d e b ts , a n d lie n s o n p ro p e rty m a y s till
               C h a p te r 7 - L iq u id a tio n                                                                        b e e n fo rc e d a fte r d is c h a rg e . F o r e x a m p le , a c re d ito r
                                                                                                                         m a y h a v e th e rig h t to fo re c lo s e a h o m e m o rtg a g e o r
               C h a p te r 1 1 - R e o rg a n iz a tio n                                                                re p o s s e s s a n a u to m o b ile .

               C h a p te r 1 2 - V o lu n ta ry re p a y m e n t p la n                                                 H o w e v e r, if th e c o u rt fin d s th a t y o u h a v e c o m m itte d
                                 fo r fa m ily fa rm e rs o r                                                            c e rta in k in d s o f im p ro p e r c o n d u c t d e s c rib e d in th e
                                 fis h e rm e n                                                                          B a n k ru p tc y C o d e , th e c o u rt m a y d e n y y o u r
                                                                                                                         d is c h a rg e .
               C h a p te r 1 3 - V o lu n ta ry re p a y m e n t p la n
                                 fo r in d iv id u a ls w ith re g u la r                                                Y o u s h o u ld k n o w th a t e v e n if y o u file c h a p te r 7 a n d
                                 in c o m e                                                                              y o u re c e iv e a d is c h a rg e , s o m e d e b ts a re n o t
                                                                                                                         d is c h a rg e d u n d e r th e la w . T h e re fo re , y o u m a y s till
                                                                                                                         b e re s p o n s ib le to p a y :
 You should have an attorney review your
                                                                                                                               m o s t ta x e s ;
 decision to file for bankruptcy and the choice of
 chapter.
                                                                                                                               m o s t s tu d e n t lo a n s ;

                                                                                                                               d o m e s tic s u p p o rt a n d p ro p e rty s e ttle m e n t
                                                                                                                               o b lig a tio n s ;




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                      page 1

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                              B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-05672-LVV                                Doc 1   Filed 08/28/19                  Page 76 of 83




               m o s t fin e s , p e n a ltie s , fo rfe itu re s , a n d c rim in a l                                 y o u r in c o m e is m o re th a n th e m e d ia n in c o m e fo r y o u r
               re s titu tio n o b lig a tio n s ; a n d                                                               s ta te o f re s id e n c e a n d fa m ily s iz e , d e p e n d in g o n th e
                                                                                                                       re s u lts o f th e                     , th e U . S . tru s te e , b a n k ru p tc y
                                                                                                                                            Means Test
               c e rta in d e b ts th a t a re n o t lis te d in y o u r b a n k ru p tc y                             a d m in is tra to r, o r c re d ito rs c a n file a m o tio n to d is m is s
               p a p e rs .                                                                                            y o u r c a s e u n d e r § 7 0 7 (b ) o f th e B a n k ru p tc y C o d e . If a
                                                                                                                       m o tio n is file d , th e c o u rt w ill d e c id e if y o u r c a s e s h o u ld
 Y o u m a y a ls o b e re q u ire d to p a y d e b ts a ris in g fro m :                                              b e d is m is s e d . T o a v o id d is m is s a l, y o u m a y c h o o s e to
                                                                                                                       p ro c e e d u n d e r a n o th e r c h a p te r o f th e B a n k ru p tc y
               fra u d o r th e ft;                                                                                    Code .

               fra u d o r d e fa lc a tio n w h ile a c tin g in b re a c h o f                                       If y o u a re a n in d iv id u a l filin g fo r c h a p te r 7 b a n k ru p tc y ,
               fid u c ia ry c a p a c ity ;                                                                           th e tru s te e m a y s e ll y o u r p ro p e rty to p a y y o u r d e b ts ,
                                                                                                                       s u b je c t to y o u r rig h t to e x e m p t th e p ro p e rty o r a p o rtio n
               in te n tio n a l in ju rie s th a t y o u in flic te d ; a n d                                         o f th e p ro c e e d s fro m th e s a le o f th e p ro p e rty . T h e
                                                                                                                       p ro p e rty , a n d th e p ro c e e d s fro m p ro p e rty th a t y o u r
               d e a th o r p e rs o n a l in ju ry c a u s e d b y o p e ra tin g a                                   b a n k ru p tc y tru s te e s e lls o r liq u id a te s th a t y o u a re
               m o to r v e h ic le , v e s s e l, o r a irc ra ft w h ile in to x ic a te d                           e n title d to , is c a lle d                              . E x e m p tio n s
                                                                                                                                                      exempt property
               fro m a lc o h o l o r d ru g s .                                                                       m a y e n a b le y o u to k e e p y o u r h o m e , a c a r, c lo th in g ,
                                                                                                                       a n d h o u s e h o ld ite m s o r to re c e iv e s o m e o f th e
 If y o u r d e b ts a re p rim a rily c o n s u m e r d e b ts , th e c o u rt                                        p ro c e e d s if th e p ro p e rty is s o ld .
 c a n d is m is s y o u r c h a p te r 7 c a s e if it fin d s th a t y o u h a v e
 e n o u g h in c o m e to re p a y c re d ito rs a c e rta in a m o u n t.                                            E x e m p tio n s a re n o t a u to m a tic . T o e x e m p t p ro p e rty ,
 Y o u m u s t file                                                                                                    y o u m u s t lis t it o n
                        Chapter 7 Statement of Your Current                                                                                        Schedule C: The Property You
                               (O ffic ia l F o rm 1 2 2 A –1 ) if y o u a re a n                                                                    (O ffic ia l F o rm 1 0 6 C ). If y o u d o n o t
 Monthly Income                                                                                                        Claim as Exempt
 in d iv id u a l filin g fo r b a n k ru p tc y u n d e r c h a p te r 7 . T h is                                     lis t th e p ro p e rty , th e tru s te e m a y s e ll it a n d p a y a ll o f
 fo rm w ill d e te rm in e y o u r c u rre n t m o n th ly in c o m e a n d                                           th e p ro c e e d s to y o u r c re d ito rs .
 c o m p a re w h e th e r y o u r in c o m e is m o re th a n th e m e d ia n
 in c o m e th a t a p p lie s in y o u r s ta te .

 If y o u r in c o m e is n o t a b o v e th e m e d ia n fo r y o u r s ta te ,
 y o u w ill n o t h a v e to c o m p le te th e o th e r c h a p te r 7 fo rm ,
                                                                                                                       Chapter 11: Reorganization
 th e                                                        (O ffic ia l F o rm
       Chapter 7 Means Test Calculation
 1 2 2 A –2 ).
                                                                                                                                         $ 1 ,1 6 7     filin g fe e
 If y o u r in c o m e is a b o v e th e m e d ia n fo r y o u r s ta te , y o u
 m u s t file a s e c o n d fo rm — th e
                                              Chapter 7 Means Test                                                         +                 $550      a d m in is tra tiv e f e e
                    (O ffic ia l F o rm 1 2 2 A –2 ). T h e c a lc u la tio n s
 Calculation                                                                                                                             $ 1 ,7 1 7     to ta l fe e
 o n th e fo rm — s o m e tim e s c a lle d th e
                                                         Means
         — d e d u c t fro m y o u r in c o m e liv in g e x p e n s e s a n d
 Test                                                                                                                  C h a p te r 1 1 is o fte n u s e d fo r re o rg a n iz in g a b u s in e s s ,
 p a y m e n ts o n c e rta in d e b ts to d e te rm in e a n y a m o u n t
                                                                                                                       b u t is a ls o a v a ila b le to in d iv id u a ls . T h e p ro v is io n s o f
 a v a ila b le to p a y u n s e c u re d c re d ito rs . If
                                                                                                                       c h a p te r 1 1 a re to o c o m p lic a te d to s u m m a riz e b rie fly .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                        page 2

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                                B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-05672-LVV                                Doc 1   Filed 08/28/19             Page 77 of 83


               Read These Important Warnings

                        Because bankruptcy can have serious long-term financial and legal consequences, including loss of your
                        property, you should hire an attorney and carefully consider all of your options before you file. Only an attorney
                        can give you legal advice about what can happen as a result of filing for bankruptcy and what your options are. If
                        you do file for bankruptcy, an attorney can help you fill out the forms properly and protect you, your family, your
                        home, and your possessions.


                        Although the law allows you to represent yourself in bankruptcy court, you should understand that many people
                        find it difficult to represent themselves successfully. The rules are technical, and a mistake or inaction may harm
                        you. If you file without an attorney, you are still responsible for knowing and following all of the legal
                        requirements.


                        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the necessary
                        documents.


                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your bankruptcy
                        case. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                        bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
                        1341, 1519, and 3571.




                                                                                                                       U n d e r c h a p te r 1 3 , y o u m u s t file w ith th e c o u rt a p la n
                                                                                                                       to re p a y y o u r c re d ito rs a ll o r p a rt o f th e m o n e y th a t
 Chapter 12: Repayment plan for family
                                                                                                                       y o u o w e th e m , u s u a lly u s in g y o u r fu tu re e a rn in g s . If
                                      farmers or fishermen
                                                                                                                       th e c o u rt a p p ro v e s y o u r p la n , th e c o u rt w ill a llo w y o u
                                                                                                                       to re p a y y o u r d e b ts , a s a d ju s te d b y th e p la n , w ith in 3
                                                                                                                       y e a rs o r 5 y e a rs , d e p e n d in g o n y o u r in c o m e a n d o th e r
                                                                                                                       fa c to rs .

                                                                                                                       A fte r y o u m a k e a ll th e p a y m e n ts u n d e r y o u r p la n ,
                                                                                                                       m a n y o f y o u r d e b ts a re d is c h a rg e d . T h e d e b ts th a t a re
                                                                                                                       n o t d is c h a rg e d a n d th a t y o u m a y s till b e re s p o n s ib le to
                                                                                                                       p a y in c lu d e :

                                                                                                                                 d o m e s tic s u p p o rt o b lig a tio n s ,

                                                                                                                                 m o s t s tu d e n t lo a n s ,

                                                                                                                                 c e rta in ta x e s ,

                                                                                                                                 d e b ts fo r fra u d o r th e ft,

                                                                                                                                 d e b ts fo r fra u d o r d e fa lc a tio n w h ile a c tin g in a
                                                                                                                                 fid u c ia ry c a p a c ity ,

Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                    page 3

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                            B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-05672-LVV                                Doc 1   Filed 08/28/19         Page 78 of 83

                                   $ 2 0 0 filin g fe e                                                                      m o s t c rim in a l fin e s a n d re s titu tio n o b lig a tio n s ,
 +                                   $ 7 5 a d m in is tra tiv e f e e
                                   $ 2 7 5 to ta l fe e                                                                      c e rta in d e b ts th a t a re n o t lis te d in y o u r
                                                                                                                             b a n k ru p tc y p a p e rs ,
 S im ila r to c h a p te r 1 3 , c h a p te r 1 2 p e rm its fa m ily fa rm e rs
 a n d fis h e rm e n to re p a y th e ir d e b ts o v e r a p e rio d o f tim e                                             c e rta in d e b ts fo r a c ts th a t c a u s e d d e a th o r
 u s in g fu tu re e a rn in g s a n d to d is c h a rg e s o m e d e b ts th a t                                            p e rs o n a l in ju ry , a n d
 a re n o t p a id .
                                                                                                                             c e rta in lo n g - te rm s e c u re d d e b ts .



 Chapter 13: Repayment plan for
                                      individuals with regular
                                      income



                                   $ 2 3 5 filin g fe e
 +                                   $ 7 5 a d m in is tra tiv e f e e
                                   $ 3 1 0 to ta l fe e

 C h a p te r 1 3 is fo r in d iv id u a ls w h o h a v e re g u la r in c o m e
 a n d w o u ld lik e to p a y a ll o r p a rt o f th e ir d e b ts in
 in s ta llm e n ts o v e r a p e rio d o f tim e a n d to d is c h a rg e
 s o m e d e b ts th a t a re n o t p a id . Y o u a re e lig ib le fo r
 c h a p te r 1 3 o n ly if y o u r d e b ts a re n o t m o re th a n c e rta in
 d o lla r a m o u n ts s e t fo rth in 1 1 U . S . C . § 1 0 9 .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                 page 4

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                         B e s t C a s e B a n k ru p tc y
                                                        Case 6:19-bk-05672-LVV                                Doc 1   Filed 08/28/19                 Page 79 of 83

                                                                                                                       A m a rrie d c o u p le m a y file a b a n k ru p tc y c a s e
                               Warning: File Your Forms on Time                                                        to g e th e r— c a lle d a                    . If y o u file a jo in t c a s e
                                                                                                                                                     joint case
                                                                                                                       a n d e a c h s p o u s e lis ts th e s a m e m a ilin g a d d re s s o n th e
 S e c tio n 5 2 1 (a )(1 ) o f th e B a n k ru p tc y C o d e re q u ire s th a t                                     b a n k ru p tc y p e titio n , th e b a n k ru p tc y c o u rt g e n e ra lly w ill
 y o u p ro m p tly file d e ta ile d in fo rm a tio n a b o u t y o u r                                               m a il y o u a n d y o u r s p o u s e o n e c o p y o f e a c h n o tic e ,
 c re d ito rs , a s s e ts , lia b ilitie s , in c o m e , e x p e n s e s a n d                                      u n le s s y o u file a s ta te m e n t w ith th e c o u rt a s k in g th a t
 g e n e ra l fin a n c ia l c o n d itio n . T h e c o u rt m a y d is m is s y o u r                                 e a c h s p o u s e re c e iv e s e p a ra te c o p ie s .
 b a n k ru p tc y c a s e if y o u d o n o t file th is in fo rm a tio n w ith in
 th e d e a d lin e s s e t b y th e B a n k ru p tc y C o d e , th e                                                  Understand which services you could receive from
 B a n k ru p tc y R u le s , a n d th e lo c a l ru le s o f th e c o u rt.                                           credit counseling agencies

 F o r m o re in fo rm a tio n a b o u t th e d o c u m e n ts a n d                                                   T h e la w g e n e ra lly re q u ire s th a t y o u re c e iv e a c re d it
 th e ir d e a d lin e s , g o to :                                                                                    c o u n s e lin g b rie fin g fro m a n a p p ro v e d c re d it c o u n s e lin g
 h ttp : //w w w .u s c o u rts .g o v /b k f o rm s /b a n k ru p tc y _f o rm                                        a g e n c y . 1 1 U . S . C . § 1 0 9 (h ). If y o u a re filin g a jo in t
 s .h tm l# p ro c e d u re .                                                                                          c a s e , b o th s p o u s e s m u s t re c e iv e th e b rie fin g . W ith
                                                                                                                       lim ite d e x c e p tio n s , y o u m u s t re c e iv e it w ith in th e 1 8 0
                                                                                                                       da ys              y o u file y o u r b a n k ru p tc y p e titio n . T h is
 Bankruptcy crimes have serious consequences                                                                                    before
                                                                                                                       b rie fin g is u s u a lly c o n d u c te d b y te le p h o n e o r o n th e
                                                                                                                       In te rn e t.
               If y o u k n o w in g ly a n d fra u d u le n tly c o n c e a l a s s e ts
               o r m a k e a fa ls e o a th o r s ta te m e n t u n d e r p e n a lty
                                                                                                                       In a d d itio n , a fte r filin g a b a n k ru p tc y c a s e , y o u g e n e ra lly
               o f p e rju ry — e ith e r o ra lly o r in w ritin g — in
                                                                                                                       m u s t c o m p le te a fin a n c ia l m a n a g e m e n t in s tru c tio n a l
               c o n n e c tio n w ith a b a n k ru p tc y c a s e , y o u m a y b e
                                                                                                                       c o u rs e b e fo re y o u c a n re c e iv e a d is c h a rg e . If y o u a re
               fin e d , im p ris o n e d , o r b o th .
                                                                                                                       filin g a jo in t c a s e , b o th s p o u s e s m u s t c o m p le te th e
                                                                                                                       c o u rs e .
               A ll in fo rm a tio n y o u s u p p ly in c o n n e c tio n w ith a
               b a n k ru p tc y c a s e is s u b je c t to e x a m in a tio n b y th e
                                                                                                                       Y o u c a n o b ta in th e lis t o f a g e n c ie s a p p ro v e d to p ro v id e
               A tto rn e y G e n e ra l a c tin g th ro u g h th e O ffic e o f th e
                                                                                                                       b o th th e b rie fin g a n d th e in s tru c tio n a l c o u rs e fro m :
               U . S . T ru s te e , th e O ffic e o f th e U . S . A tto rn e y , a n d
               o th e r o ffic e s a n d e m p lo y e e s o f th e U . S .                                             h ttp : //j u s tic e .g o v /u s t/e o /h a p c p a /c c d e /c c _a p p ro v e d .h tm l .
               D e p a rtm e n t o f J u s tic e .
                                                                                                                       In A la b a m a a n d N o rth C a ro lin a , g o to :
                                                                                                                       h ttp : //w w w .u s c o u rts .g o v /F e d e ra lC o u rts /B a n k ru p tc y /
 Make sure the court has your mailing address                                                                          B a n k ru p tc y R e s o u rc e s /A p p ro v e d C re d it
                                                                                                                       A n d D e b tC o u n s e l o rs .a s p x .
 T h e b a n k ru p tc y c o u rt s e n d s n o tic e s to th e m a ilin g
 a d d re s s y o u lis t o n
                               Voluntary Petition for Individuals                                                      If y o u d o n o t h a v e a c c e s s to a c o m p u te r, th e c le rk o f
                                     (O ffic ia l F o rm 1 0 1 ). T o e n s u re
 Filing for Bankruptcy                                                                                                 th e b a n k ru p tc y c o u rt m a y b e a b le to h e lp y o u o b ta in
 th a t y o u re c e iv e in fo rm a tio n a b o u t y o u r c a s e ,                                                 th e lis t.
 B a n k ru p tc y R u le 4 0 0 2 re q u ire s th a t y o u n o tify th e c o u rt
 o f a n y c h a n g e s in y o u r a d d re s s .




Notice Required by 11 U.S.C. § 342(b) for I ndividuals Filing for Bankruptcy (Form 2010)                                                                                                                             page 5

S o f tw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w .b e s tc a s e .c o m                                                                                     B e s t C a s e B a n k ru p tc y
                                                    Case 6:19-bk-05672-LVV                                           Doc 1          Filed 08/28/19   Page 80 of 83




                                                                                                        United States Bankruptcy Court
                                                                                                               Middle District of Florida
   In re             Gail S. Andre                                                                                                                   Case No.
                                                                                                                            Debtor(s)                Chapter    7




                                                                             VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 28, 2019                                                                                          /s/ Gail S. Andre
                                                                                                                Gail S. Andre
                                                                                                                Signature of Debtor

 Date: August 28, 2019                                                                                          /s/ Sheryl S Zust
                                                                                                                Signature of Attorney
                                                                                                                Sheryl S Zust 0934259
                                                                                                                Sheryl S Zust PA
                                                                                                                4649 Clyde Morris Blvd.
                                                                                                                Suite 610
                                                                                                                Port Orange, FL 32129
                                                                                                                (386) 258 3900




S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                         B e s t C a s e B a n k ru p tc y
                                Case 6:19-bk-05672-LVV          Doc 1           Filed 08/28/19           Page 81 of 83



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G a il S . A n d re                              C a p ita l O n e A u to F in a n c e                          K o h ls /C a p ita l O n e
1 4 3 1 W a te rv ie w D riv e                   P O Box 60511                                                  P o Box 3115
D e lto n a F L 3 2 7 3 8                        C ity o f In d u s try C A 9 1 7 1 6 - 0 5 1 1                 M ilw a u k e e W I 5 3 2 0 1



S h e ry l S Z u s t                             C itiz e n s B a n k                                           L e n d in g C lu b
S h e ry l S Z u s t P A                         A ttn : B a n k ru p tc y                                      A ttn : B a n k ru p tc y
4 6 4 9 C ly d e M o rris B lv d .               1 C itiz e n s D r                                             5 9 5 M a rk e t S t, S te 2 0 0
S u ite 6 1 0                                    R iv e rs id e R I 0 2 9 1 5                                   S a n F ra n c is c o C A 9 4 1 0 5
P o rt O ra n g e , F L 3 2 1 2 9

A e s /c itz B k                                 C r e d e n c e R e s o u rc e M a n a g e m e n t             Ma cys
A ttn : B a n k ru p tc y                        1 7 0 0 0 D a lla s P a rk w a y                               7 W e s t S e v e n th S tre e t
P o Box 2461                                     S u ite 2 0 4                                                  C in c in n a ti O H 4 5 2 0 2
H a rris b u rg P A 1 7 1 0 5                    D a lla s T X 7 5 2 4 8


A s h le y F u rn itu re                         D e p ta rtm e n t S to re N a tio n a l B a n k /M a c y 's   M a c y s D e p a rtm e n t S to re s
P O Box 965036                                   A ttn : B a n k ru p tc y                                      P O Box 8218
O rla n d o F L 3 2 8 9 6                        9 1 1 1 D u k e B o u le v a rd                                Mason OH 45040
                                                 Mason OH 45040


C a p ita l O n e                                D illa rd ? s C a rd S e rv ic e s /W e lls F a rg o B a n k M a rin e r F in a n c e
A ttn : B a n k ru p tc y                        A ttn : B a n k ru p tc y                                    A ttn : B a n k ru p tc y D e p a rtm e n t
P o Box 30285                                    P o Box 10347                                                8 2 1 1 T o w n C e n te r D r.
S a lt L a k e C ity U T 8 4 1 3 0               D e s M o in e s IA 5 0 3 0 6                                B a ltim o re M D 2 1 2 3 6


C a p ita l O n e                                G C S e rv ic e s L im ite d P a rtn e rs h ip                 M a rin e r F in a n c e
P O Box 60599                                    P O Box 857                                                    8 2 1 1 T o w n C e n te r D riv e
C ity o f In d u s try C A 9 1 7 1 6 - 0 5 9 9   O a ks P A 1 9 4 5 6 -0 8 5 7                                  N o ttin g h a m M D 2 1 2 3 6



C a p ita l O n e                                J e ffe rs o n C a p ita l                                     M e rc u ry C a rd
P O Box 30281                                    1 6 M c L e la n d R o a d                                     P O Box 70168
S a lt L a k e C ity U T 8 4 1 3 0               S a in t C lo u d M N 5 6 3 0 3 - 2 1 9 8                      P h ila d e lp h ia P A 1 9 1 7 6 - 0 1 6 8



C a p ita l O n e A u to F in a n c e            K im b e rly A n d re                                          M e rc u ry /F B T
A ttn : B a n k ru p tc y                        1 4 3 1 W a te rv ie w D riv e                                 1 4 1 5 W a rm S p rin g s R d
P o Box 30285                                    D e lto n a F L 3 2 7 3 8                                      C o lu m b u s G A 3 1 9 0 4
S a lt L a k e C ity U T 8 4 1 3 0


C a p ita l O n e A u to F in a n c e            K o h ls                                                       M e rric k B a n k
P o Box 259407                                   P O Box 2983                                                   P O Box 9201
P la n o T X 7 5 0 2 5                           M ilw a u k e e W I 5 3 2 0 1 - 2 9 8 3                        O ld B e th p a g e N Y 1 1 8 0 4
                                 Case 6:19-bk-05672-LVV                  Doc 1          Filed 08/28/19                  Page 82 of 83




M e rric k B a n k /C a rd W o rk s                        S y n c h ro n y B a n k /L o w e s
A ttn : B a n k ru p tc y                                  A ttn : B a n k ru p tc y
P o Box 9201                                               P o Box 965060
O ld B e th p a g e N Y 1 1 8 0 4                          O rla n d o F L 3 2 8 9 6


N a d e rp o u r & A s s o c ia te s , P A                 S y n c h ro n y /A s h le y F u rn itu re H o m e s to re
2 7 4 3 H o lly w o o d B lv d                             A ttn : B a n k ru p tc y
H o lly w o o d F L 3 3 0 2 0                              P o Box 965060
                                                           O rla n d o F L 3 2 8 9 6


N a v ie n t                                               T ru e A c c o rd
A ttn : B a n k ru p tc y                                  303 2nd S t
P o Box 9640                                               S u ite 7 5 0 S o u th
W ile s - B a rr P A 1 8 7 7 3                             S a n F ra n c is c o C A 9 4 1 0 7


S p e c ia liz e d L o a n S e rv ic in g                  W e lls F a rg o B a n k N A
8 7 4 2 L u c e n t B lv d . , S u ite 3 0 0               A ttn : B a n k ru p tc y
H ig h la n d R a n c h C O 8 0 1 2 9                      1 H o m e C a m p u s M a c X 2 3 0 3 -0 1 a
                                                           D e s M o in e s IA 5 0 3 2 8


S p e c ia liz e d L o a n S e rv ic in g
P O Box 60535
C ity o f In d u s try C A 9 1 7 1 6 - 0 5 3 5



S u n tru s t B a n k
A ttn : B a n k ru p tc y
M a il C o d e V A - R V W - 6 2 9 0 P O B o x 8 5 0 9 2
R ic h m o n V A 2 3 2 8 6


S u n tru s t B a n k
P O Box 305053
N a s h v ille T N 3 7 2 3 0 - 5 0 5 3



S u n tru s t B a n k
P O Box 79282
B a ltim o re M D 2 1 2 7 9 - 0 2 8 2



S y n c h ro n y B a n k
P O Box 965033
O rla n d o F L 3 2 8 9 6
                                                    Case 6:19-bk-05672-LVV                                           Doc 1     Filed 08/28/19           Page 83 of 83
B 2 0 3 0 (F o rm 2 0 3 0 ) (1 2 /1 5 )

                                                                                                        United States Bankruptcy Court
                                                                                                               Middle District of Florida
   In re             Gail S. Andre                                                                                                                      Case No.
                                                                                                                          Debtor(s)                     Chapter    7

                                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.          Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
            compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
            be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                      For legal services, I have agreed to accept                                                                                   $                  1,900.00
                      Prior to the filing of this statement I have received                                                                         $                  1,900.00
                      Balance Due                                                                                                                   $                      0.00

2.          The source of the compensation paid to me was:

                              Debtor                                 Other (specify):

3.          The source of compensation to be paid to me is:

                              Debtor                                 Other (specify):

4.                  I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                    I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                    copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
            d.     [Other provisions as needed]
                        Drafting of Petition and Schedules; exemption planning; preparation and filing of reaffirmation agreements and applications
                        as needed; attendance at meeting of creditors.

6.          By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                    Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions, redemption
                    actions, relief from stay actions, objections to exemptions, or any other adversary proceeding.
                                                                                                                   CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

         August 28, 2019                                                                                                  /s/ Sheryl S Zust
         Date                                                                                                             Sheryl S Zust 0934259
                                                                                                                          Signature of Attorney
                                                                                                                          Sheryl S Zust PA
                                                                                                                          4649 Clyde Morris Blvd.
                                                                                                                          Suite 610
                                                                                                                          Port Orange, FL 32129
                                                                                                                          (386) 258 3900
                                                                                                                          Name of law firm




S o ftw a re C o p y rig h t (c ) 1 9 9 6 - 2 0 1 9 B e s t C a s e , L L C - w w w . b e s tc a s e . c o m                                                                      B e s t C a s e B a n k ru p tc y
